Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 1 of 111 PageID:
                                  19917




                            Exhibit 9
        Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 2 of 111 PageID:
                                          19918




    015079 Bahnsen, Wendy, et al v. Boston Scientific
                    Fee Summary
                                               Data
TKPR Name                 Rank                Hours      Amount
  Arreola, Norberto       Paralegal          115.50    31,762.50
  Beard, Rebecca          Paralegal          228.50    39,987.50
  Biddle, Taylor          Paralegal            0.50       100.00
  Bruns, Mandi R.         Paralegal          338.20    59,185.00
  Carmody, Bill           Partner            456.50   867,350.00
  Chokshi, Aashka         Paralegal           43.90     9,877.50
  Cobden, Jan             Paralegal           24.00     6,600.00
  Connors, Jordan         Partner          1,998.50 1,199,100.00
  DeGeorges, Simon        Paralegal           93.90    25,822.50
  Dolan, John F.          Paralegal           46.70    12,842.50
  Gervais, Michael        Associate        1,919.50 1,103,712.50
  Henry, Christopher P.   Paralegal            1.80       405.00
  Howell, Chase           Staff Attorney      45.60    13,680.00
  Joshi, Khushbu          Staff Attorney     200.30    65,097.50
  Lusztig, Tamar          Associate           15.50     8,912.50
  Marron, Sara            Paralegal           25.30     3,162.50
  McLaren, Jeffrey W.     Paralegal            8.50     2,337.50
  Musico, Mark            Associate        1,867.50 1,073,812.50
  Polanco, Rodney         Paralegal          584.70   160,792.50
  Santos, Vanessa         Paralegal           22.40     6,160.00
  Schulze, Stacy S.       Paralegal            9.00     2,475.00
  Shepard, Steven         Partner             16.00    12,000.00
  Stanley, Joanna         Paralegal            9.00     2,475.00
  Subramanian, Arun       Partner          1,452.50 1,525,125.00
  Tan, Joel               Paralegal          102.60    27,702.00
  Vedenina, Alisa         Paralegal           77.00    11,550.00
  Vidaurri, Aimeé         Staff Attorney     133.80    36,795.00
  Wojtczak, Richard A.    Paralegal            3.00       825.00
Grand Total                                9,840.20 6,309,647.00
                                   Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 3 of 111 PageID:
                                                                     19919


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                  Hrs   Rate        Amt Narrative                                             Fees
 2086585 12/4/2015 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Reviewing file and conferring with A. Subramanian and
                                                                                                                                   S. Shepard re case.
2086585   12/4/2015 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   575    1,437.50 Researching points of law re False Claims Act claims

2086586   12/5/2015 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   10.50   575    6,037.50 Researching false claims act disqualification issues for
                                                                                                                                   case evaluation.
2086587   12/6/2015 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50   575    3,737.50 Researching disqualification issues and drafting letter
                                                                                                                                   to the court re same.
2086912   12/2/2015 4146 Shepard, Steven    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   750      750.00 Reviewing file and conferring with A. Subramanian re
                                                                                                                                   case.
2086913   12/4/2015 4146 Shepard, Steven    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   750      375.00 Reviewing documents.
2086913   12/4/2015 4146 Shepard, Steven    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   750      375.00 Conferring with M. Gervais.
2089430   12/8/2015 4146 Shepard, Steven    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   750    1,125.00 Participating in call with prospective clients.
2089430   12/8/2015 4146 Shepard, Steven    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   750      750.00 Conferring with M. Gervais and A. Subramanian.
2089464   12/9/2015 4146 Shepard, Steven    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   750      375.00 Reviewing letter. Reviewing research by M. Gervais
                                                                                                                                   and commenting by email.
2089466 12/10/2015 4146 Shepard, Steven     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   750    2,625.00 Drafting letter to Court re scope of disqualification
                                                                                                                                   motion.
2089469 12/12/2015 4146 Shepard, Steven     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   750    1,125.00 Drafting and reviewing case evaluation memorandum
                                                                                                                                   and questions.
2089470 12/13/2015 4146 Shepard, Steven     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   750    1,125.00 Revising case evaluation memorandum.
2089470 12/13/2015 4146 Shepard, Steven     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   750      750.00 Conferring with M. Gervais.
2089473 12/14/2015 4146 Shepard, Steven     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   750      750.00 Calculating damages estimate based on penalties.

2089805   12/7/2015 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   575      862.50 Editing draft letter to court.
2089805   12/7/2015 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   575    3,450.00 Researching false claims act issues for case evaluation.

2089805 12/7/2015 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Attending call with Relators.
2091939 12/13/2015 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Drafting case evaluation memorandum.
2091945 12/12/2015 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Drafting case evaluation memo .
2094644 12/22/2015 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   575      287.50 Responding to emails.
2094649 12/27/2015 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Drafting proposed questions for relators.
2094650 12/28/2015 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   575    2,300.00 Updating case evaluation memorandum.
2094650 12/28/2015 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Attending call with relators.
2094660 12/29/2015 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70   575      402.50 Emailing relators.
2094660 12/29/2015 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.80   575    1,035.00 Responding to inquiries re case evaluation.
2094660 12/29/2015 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Meeting with A. Subramanian and S. Shepard.
2095017 12/29/2015 4146 Shepard, Steven     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   750      750.00 Assisting and conferring with counsel re substitution
                                                                                                                                   issues.
2095054 12/30/2015 4146 Shepard, Steven     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   750    1,125.00 Researching relator share splits.
2096011 12/30/2015 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Researching points of law re case evaluation
2096644   1/6/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20   175       35.00 Reviewing file.



                                                                                           Page 2 of 155
                                   Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 4 of 111 PageID:
                                                                     19920


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                                Fees
 2096674   1/8/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    175       52.50 Reviewing and saving emails and updating file.
 2096790 1/11/2016 7875 Bruns, Mandi R.      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    175       35.00 Reviewing and saving emails.
 2097962   1/4/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575    1,437.50 Drafting release and undertaking to protective order.

2097962    1/4/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Attending call with opposing counsel.
2097962    1/4/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    575    2,012.50 Researching issues related to work product for
                                                                                                                                    successor counsel.
2097996    1/6/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Attending call with A. Subramanian, B. Carmody and J.
                                                                                                                                    Connors.
2097996    1/6/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    575      747.50 Attending call with A. Subramanian, J. Connors , Blank
                                                                                                                                    Rome and Simmer Law.
2097996    1/6/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70     575     402.50 Researching fee relinquishment.
2098019   1/10/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50     575   1,437.50 Researching issues related to DQed counsel fees.
2098025   1/11/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     575   1,150.00 Reviewing discovery materials
2098034    1/4/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to research issues.
2098034    1/4/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to client issues.
2098034    1/4/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,900     950.00 Attending to status issues.
2098036    1/5/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to status issues.
2098038    1/6/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900   5,700.00 Attending to status issues. Attending team call.
2098074    1/4/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2098075    1/5/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2098077    1/6/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2098078    1/7/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2098079    1/8/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2099067   1/11/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Reviewing background documents.
2099070   1/12/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     575   1,150.00 Conducting expert search.
2099070   1/12/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575     862.50 Preparing for case planning meeting.
2099070   1/12/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Reviewing background documents.
2099175   1/13/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50     575   2,587.50 Reviewing background documents.
2099176   1/14/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575     862.50 Meeting with M. Gervais.
2099176   1/14/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50     575   3,737.50 Preparing case summary memoranda.
2099180   1/15/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50     575   2,012.50 Preparing case summary memoranda.
2099184   1/16/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20     575   1,265.00 Preparing case summary memoranda.
2099184   1/16/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Researching counterclaims.
2099184   1/16/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20     575   1,265.00 Reviewing Piacentile deposition.
2099184   1/16/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10     575     632.50 Reviewing background documents.
2099185   1/17/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80     575   1,035.00 Reviewing Piacentile deposition summary.
2099185   1/17/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70     575     977.50 Researching counterclaims.
2099502   1/12/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80     175     140.00 Attending trial team call.
2099502   1/12/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20     175      35.00 Reviewing and saving documents to file from Boston
                                                                                                                                    Scientific.




                                                                                            Page 3 of 155
                                   Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 5 of 111 PageID:
                                                                     19921


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                             Fees
 2099591 1/13/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    175       87.50 Organizing and saving documents and emails to file.
                                                                                                                                   Conferring with C. DaCosta re same.
2099629   1/14/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     175     350.00 Preparing discovery chart for M. Gervais.
2099664   1/15/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.10     175     717.50 Finishing discovery chart for M. Gervais.
2099683   1/19/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     175      87.50 Reviewing and saving emails.
2099953   1/12/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   1,900   1,520.00 Attending team call.
2099953   1/12/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60   1,900   3,040.00 Attending to research issues.
2099953   1/12/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60   1,900   3,040.00 Attending to calls.
2099976   1/13/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to status and discovery issues.
2100141   1/12/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00     575   2,875.00 Reading discovery materials.
2100141   1/12/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Attending trial team call.
2100141   1/12/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00     575   2,875.00 Creating deposition summary.
2100146   1/13/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00     575   2,300.00 Reading discovery materials.
2100146   1/13/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00     575   2,300.00 Drafting deposition summary.
2100162   1/14/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575     862.50 Meeting with M. Musico.
2100162   1/14/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     575   1,150.00 Drafting deposition summary.
2100162   1/14/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50     575   1,437.50 Reading discovery materials.
2100166   1/15/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00     575   3,450.00 Drafting discovery chart.
2100166   1/15/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     575   1,150.00 Conferring with J. Connors and R. Busch re expert
                                                                                                                                   report.
2100551    1/5/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.20    600    2,520.00 Reviewing case file and electronic filings.
2100552    1/6/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.40    600    3,240.00 Reviewing case file and electronic filings.
2100552    1/6/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40    600      840.00 Conferring with trial team.
2100552    1/6/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    600      780.00 Conferring with Relators' former counsel.
2100553    1/7/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.90    600    3,540.00 Reviewing case file and electronic filings.
2100553    1/7/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60    600      960.00 Conferring with trial team.
2100553    1/7/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    600    1,080.00 Conferring with relators' former counsel.
2100554   1/11/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600      600.00 Attending telephonic hearing.
2100554   1/11/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    600    2,700.00 Reviewing case file and electronic filings.
2100554   1/11/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.10    600    3,060.00 Researching points of law re fee requests by
                                                                                                                                   disqualified counsel.
2100555    1/8/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.40    600    3,240.00 Reviewing case file and electronic filings.
2100555    1/8/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60    600    1,560.00 Conferring with relators' former counsel.
2100556    1/9/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.20    600    2,520.00 Researching points of law re FCA.
2100556    1/9/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    600    1,080.00 Reviewing deposition transcritps.
2100557   1/12/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    600      780.00 Conferring with former counsel for Relators.
2100557   1/12/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    600    3,000.00 Researching points of law re FCA and Medicare.
2100557   1/12/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.20    600    2,520.00 Reviewing case file.
2100558   1/13/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600      600.00 Conferring with former counsel for Relators.
2100558   1/13/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    600    2,700.00 Researching points of law re FCA and Medicare.
2100558   1/13/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    600    2,700.00 Reviewing case file.
2100559   1/14/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    600      480.00 Conferring with trial team on weekly call.



                                                                                           Page 4 of 155
                                   Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 6 of 111 PageID:
                                                                     19922


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                              Fees
 2100559 1/14/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    600    2,400.00 Reviewing deposition transcripts summarizing C.
                                                                                                                                    Fuentes deposition.
2100559   1/14/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00     600   2,400.00 Researching points of law re FCA and Medicare.
2100559   1/14/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10     600   1,260.00 Reviewing case file.
2100560   1/15/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     600     600.00 Reviewing deposition transcripts.
2100560   1/15/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80     600   1,680.00 Summarizing C. Fuentes deposition.
2100560   1/15/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00     600   1,800.00 Researching points of law re FCA and Medicare.
2100560   1/15/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40     600     840.00 Reviewing case file.
2101260   1/11/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery documents.
2101271   1/18/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing discovery.
2101271   1/18/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,050   6,300.00 Drafting letter to court.
2101274   1/19/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.70   1,050   4,935.00 Reviewing discovery.
2101274   1/19/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30   1,050   3,465.00 Drafting letter to court.
2101277   1/20/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.70   1,050   4,935.00 Reviewing discovery.
2101277   1/20/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30   1,050   3,465.00 Drafting letter to court.
2101280   1/21/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30   1,050   3,465.00 Reviewing discovery.
2101280   1/21/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.70   1,050   4,935.00 Drafting letter to court.
2101283   1/22/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   1,050   5,250.00 Reviewing discovery.
2101283   1/22/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,050   3,150.00 Drafting letter to court.
2102678   1/19/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.10     575   2,357.50 Performing case review.
2102678   1/19/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90     575     517.50 Conferring by phone with opposing counsel and
                                                                                                                                    document vendors.
2102682   1/20/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20    575    1,840.00 Performing case review and research.
2102682   1/20/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    575      747.50 Conferring by phone with potential expert and relator.

2102686   1/21/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70    575    1,552.50 Performing case review and research.
2102686   1/21/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    575      460.00 Conferring by phone with opposing counsel.
2102686   1/21/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Attending team meeting. Contacting potential
                                                                                                                                    witnesses.
2102694   1/22/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90     575     517.50 Performing case review and researching.
2102694   1/22/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70     575     402.50 Editing discovery letter.
2102694   1/22/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90     575     517.50 Preparing and editing interrogatory responses.
2102716   1/19/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Attending to status and discovery issues.
2102717   1/20/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Attending to status and discovery issues.
2102719   1/21/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   1,900   4,750.00 Attending to status and discovery issues.
2102721   1/22/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,900   2,850.00 Attending to status and discovery issues.
2102761   1/19/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60     575     920.00 Participating in call with opposing counsel.
2102761   1/19/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575     862.50 Conferring with trial team.
2102761   1/19/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90     575     517.50 Conferring with A. Pickard re prior discovery period.

2102783   1/20/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    575     460.00 Reviewing documents.
2102783   1/20/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    575     690.00 Conducting research related to proof of claim.



                                                                                            Page 5 of 155
                                   Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 7 of 111 PageID:
                                                                     19923


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID      Date       Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                              Fees
 2102798 1/21/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   575      460.00 Participating in call with opposing counsel.
 2102798 1/21/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.70   575    3,277.50 Reviewing documents.
 2102798 1/21/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Participating in discussion with trial team.
 2102801 1/24/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Researching for case.
 2102801 1/24/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Reviewing documents.
 2103518 1/20/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   175       87.50 Reviewing and saving emails and correspondence.

2103518   1/20/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   175      87.50 Researching witnesses for J. Connors.
2103532   1/22/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   175     210.00 Reviewing, saving and renaming Blank Rome work
                                                                                                                                product.
2103552   1/25/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   175      87.50 Reviewing documents sent by R. Busch.
2103552   1/25/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   175      87.50 Conferring with Brattle re bates numbers.
2103552   1/25/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   175      87.50 Reviewing and saving emails and Blank Rome work
                                                                                                                                product.
2103609   1/26/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80   175     315.00 Organizing privilege logs.
2103609   1/26/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   175     175.00 Reviewing and saving emails.
2103609   1/26/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   175     210.00 Sending team chart of bates numbers from Relativity.

2103620   1/27/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   175      87.50 Reviewing and saving emails.
2103620   1/27/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   175      87.50 Downloading files from N. Kustok and reviewing for
                                                                                                                                sealed documents.
2103635   1/28/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   175      87.50 Pulling documents from Relativity for M. Gervais.
2103635   1/28/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   175      87.50 Creating binder for M. Gervais.
2103635   1/28/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   175      87.50 Conferring with M. Gervais re database.
2103771   1/29/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30   175      52.50 Reviewing and saving emails.
2103771   1/29/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20   175      35.00 Corresponding with vendor re searches for M. Gervais.

2104528   1/24/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Conducting document review and custodian research
                                                                                                                                 for call with magistrate.
2104531   1/25/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   575    3,737.50 Conducting document review.
2104531   1/25/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30   575      747.50 Conferring by phone with magistrate.
2104531   1/25/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.20   575    2,415.00 Drafting hot document outline.
2104534   1/26/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.20   575    3,565.00 Conducting document review.
2104534   1/26/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80   575    1,610.00 Drafting hot document outline.
2104537   1/27/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.80   575    2,760.00 Conducting document review.
2104537   1/27/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.20   575    2,415.00 Drafting billing fraud outline.
2104538   1/28/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.40   575    3,105.00 Conducting document review.
2104538   1/28/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60   575    2,070.00 Drafting billing fraud outline.
2104541   1/29/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   575    3,737.50 Traveling to California.
2104541   1/29/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Conducting damages research.
2104541   1/29/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Drafting privilege log review.
2104543   1/30/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50   575    4,312.50 Meetings with relators and A. Pierce.



                                                                                          Page 6 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 8 of 111 PageID:
                                                                    19924


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID      Date       Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                               Fees
 2104549 1/31/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Drafting argument outline.
 2104549 1/31/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Conducting privilege log review.
 2104549 1/31/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   575    2,875.00 Traveling to New York.
 2104845 1/16/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40   600      840.00 Conferring with W. Bahnsen re third party witnesses.

2104845   1/16/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   600    1,200.00 Summarizing C. Fuentes deposition.
2104845   1/16/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40   600    2,040.00 Researching points of law re FCA and Medicare.
2104856   1/17/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   600      480.00 Conferring with C. Fuentes re third party witnesses.

2104856   1/17/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20   600    1,920.00 Researching points of law re FCA and Medicare.
2104860   1/18/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80   600    1,680.00 Reviewing discovery requests and responses.
2104860   1/18/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60   600      960.00 Drafting email to opposing counsel re discovery
                                                                                                                                 deficiencies.
2104860   1/18/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70   600    1,020.00 Preparing outline for meet and confer discussion re
                                                                                                                                 discovery.
2104860   1/18/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50   600    2,100.00 Researching points of law re FCA.
2104865   1/19/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   600      900.00 Attending telephonic meet and confer rediscovery
                                                                                                                                 issues.
2104865   1/19/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.10   600    3,660.00 Drafting discovery requests
2104865   1/19/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   600      900.00 Conferring with trial team.
2104865   1/19/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90   600      540.00 Conferring with A. Pickard re prior discovery period.

2104918   1/20/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70   600    1,020.00 Conferring with R. Busch and trial team during
                                                                                                                                 telephonic conference.
2104918   1/20/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.80   600    3,480.00 Reviewing Medicare national and local policy
                                                                                                                                 determinations.
2104918   1/20/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Searching for R. Nossa contact information.
2104918   1/20/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.30   600    1,380.00 Drafting letterto Court re hearing on discovery
                                                                                                                                 schedule.
2104921   1/21/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60   600    2,160.00 Reviewing case file re discovery agreements and non‐
                                                                                                                                 agreements.
2104921   1/21/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   600      480.00 Conferring with counsel for BSNC.
2104921   1/21/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   600    2,400.00 Drafting letter to Court re hearing on discovery
                                                                                                                                 schedule.
2104921   1/21/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20   600    1,320.00 Revising interrogatory No. 23.
2104927   1/22/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40   600    1,440.00 Revising draft responses to interrogatories served on
                                                                                                                                 relators.
2104927   1/22/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   600    1,800.00 Revising letter to court re discovery.
2104927   1/22/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60   600    1,560.00 Researching points of law re Medicare guidelines.

2104927   1/22/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40   600     840.00 Reviewing "damages spreadsheet".




                                                                                          Page 7 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 9 of 111 PageID:
                                                                    19925


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID      Date       Tkpr TKPR Name            Rank       Matter Matter Name                                 Hrs    Rate        Amt Narrative                                                Fees
 2104931 1/23/2016 4024 Connors, Jordan      Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60    600    1,560.00 Drafting hardest questions and best answers re
                                                                                                                                  discovery hearing.
2104931   1/23/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20    600    1,920.00 Reviewing WebXtender production.
2104936   1/24/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    600    1,800.00 Drafting hardest questions and best answers re
                                                                                                                                  discovery hearing.
2104936   1/24/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.90    600    1,140.00 Reviewing WebXtender production.
2104941   1/25/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    600      780.00 Attending telephonic hearing with Court re discovery
                                                                                                                                  issues.
2104941   1/25/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.50    600    5,100.00 Reviewing documents
2104941   1/25/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    600      300.00 Conferring with Brattle re review of physician orders
                                                                                                                                  in database.
2104941   1/25/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    600      300.00 Conferring with A. Pickard re billing report.
2104950   1/26/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80    600    1,680.00 Reviewing WebXtender production.
2104950   1/26/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    600      900.00 Conferring with Brattle re review of physician orders in
                                                                                                                                  database.
2104950   1/26/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.90    600    2,340.00 Drafting outline of billing fraud claims.
2104966   1/27/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    600    1,320.00 Reviewing WebXtender production.
2104966   1/27/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10    600      660.00 Conferring with Brattle re review of physician orders in
                                                                                                                                  database.
2104966   1/27/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    600    1,800.00 Reviewing hot documents.
2104966   1/27/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    600    1,020.00 Editing discovery talking points.
2104972   1/28/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    600    3,000.00 Reviewing documents.
2104972   1/28/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10    600      660.00 Conferring with Brattle re review of physician orders in
                                                                                                                                  database.
2104972   1/28/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60    600    2,160.00 Drafting outline of billing fraud claims
2104978   1/29/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30    600    1,980.00 Reviewing hot documents.
2104978   1/29/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    600    1,020.00 Conferring with trial team in advance of meeting.
2104984   1/29/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.20    600    2,520.00 Traveling to Los Angeles for trial team meeting and
                                                                                                                                  preparing for same.
2104990   1/30/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    600    2,400.00 Traveling to meet with R. Nossa in Glendora, CA.
2104990   1/30/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600      600.00 Interviewing R. Nossa.
2104990   1/30/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80    600    2,280.00 Meeting with trail team.
2104995   1/31/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30    600    1,980.00 Traveling home from meeting with Relators and trial
                                                                                                                                  team in California.
2104995   1/31/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     600     900.00 Reviewing hot documents.
2104995   1/31/2016 4024 Connors, Jordan     Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     600     600.00 Reviewing Medicare regulations re supplies.
2105012   1/25/2016 3315 Subramanian, Arun   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2105015   1/26/2016 3315 Subramanian, Arun   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2105016   1/27/2016 3315 Subramanian, Arun   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2105032   1/28/2016 3315 Subramanian, Arun   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2105033   1/26/2016 2901 Carmody, Bill       Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,900   2,850.00 Attending to status and discovery issues.
2105035   1/25/2016 2901 Carmody, Bill       Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Attending to status and discovery issues.



                                                                                          Page 8 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 10 of 111 PageID:
                                                                     19926


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                  Hrs     Rate      Amt Narrative                                               Fees
 2105049 1/29/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050 8,400.00 Reviewing discovery.
 2105063 1/30/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050 4,200.00 Reviewing discovery.
 2105063 1/30/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050 4,200.00 Meeting with Relators.
 2105066 1/27/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   1,900 5,700.00 Reviewing file.
 2105067 1/31/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050 8,400.00 Reviewing discovery.
 2105088 1/28/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,900 15,200.00 Traveling to Los Angeles. Preparing for client meeting.

2105096   1/29/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.30   1,900 4,370.00 Reviewing documents.
2105096   1/29/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.70   1,900 3,230.00 Preparing for client meeting.
2105104   1/30/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   1,900 11,400.00 Attending client meeting.
2105554   1/25/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.70     575 1,552.50 Reviewing documents.
2105554   1/25/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00     575 2,300.00 Researching Antikickback statute.
2105554   1/25/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.30     575    747.50 Attending telephonic hearing with Magistrate judge.

2105602   1/26/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50    575    2,012.50 Reviewing documents.
2105602   1/26/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50    575    2,012.50 Researching Antikickback statute.
2105602   1/26/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Attending meeting with B. Carmody, A. Subramanian,
                                                                                                                                    J. Connors and M. Musico.
2105608   1/27/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.00    575    6,325.00 Drafting Antikickback statute outline.
2105619   1/28/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.50    575    2,587.50 Reviewing documents.
2105619   1/28/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50    575    2,012.50 Revising Antikickback statute outline.
2105624   1/29/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50    575    3,737.50 Traveling to LA.
2105624   1/29/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50    575    1,437.50 Researching retaliation claims.
2105644   1/30/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    575      862.50 Traveling with J. Connors to meet R. Nossa.
2105644   1/30/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    575      287.50 Calling witness R. Garcia.
2105644   1/30/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00    575    2,300.00 Attending trial team meeting with relators.
2105644   1/30/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00    575    2,300.00 Attending to due process research issues.
2105649   1/31/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    575    4,600.00 Traveling to New York.
2106243    2/1/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    175      262.50 Searching privilege log correspondence and creating
                                                                                                                                    chronology for M. Musico.
2106243    2/1/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    175      175.00 Pulling document from database for M. Gervais.
2106243    2/1/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    175      350.00 Searching damages spreadsheet for names from
                                                                                                                                    complaint and claim numbers from ZirMed document
                                                                                                                                    for A. Subramanian.
2106247    2/2/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20    175      385.00 Completing search for A. Subramanian re damages
                                                                                                                                    spreadsheet.
2106247    2/2/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    175      175.00 Conferring with M. Gervais, M. Musico and J. Connors
                                                                                                                                    re hot document chronology.
2106247    2/2/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70    175      122.50 Conferring with vendor re adding tag.
2107197    2/1/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50    575    2,012.50 Reviewing privilege log.
2107197    2/1/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50    575    3,162.50 Reviewing documents.
2107200    2/2/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20    575    1,265.00 Reviewing privilege log.



                                                                                           Page 9 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 11 of 111 PageID:
                                                                     19927


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                           Fees
 2107200   2/2/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30    575    1,897.50 Reviewing documents.
 2107203   2/3/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    575    2,587.50 Reviewing documents.
 2107203   2/3/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575    1,437.50 Outlining discovery.
 2107205   2/4/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Reviewing documents and privilege log.
 2107205   2/4/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Conferring by phone with trial team.
 2107211   2/7/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Reviewing documents.
 2107211   2/7/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Conducting Medicare regulation review.
 2107218   2/8/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Reviewing documents.
 2107218   2/8/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Reviewing privilege log.
 2107350   2/4/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    175       87.50 Conferring in office with team re hot document
                                                                                                                                   chronology.
2107386    2/5/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    175      105.00 Conferring with vendor and M. Gervais re adding
                                                                                                                                   witness tags.
2107386    2/5/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    175       87.50 Downloading hot document chronology PDF's from
                                                                                                                                   vendor.
2107386    2/5/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    175      175.00 Reviewing PDF's and conferring with vendor re
                                                                                                                                   families.
2107439    2/8/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    175      175.00 Conferring with vendors re document management

2107652    2/1/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   1,900 12,350.00 Traveling to New York.
2107652    2/1/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,900 2,850.00 Reviewing factual and legal issues.
2107656    2/2/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900 1,900.00 Attending to discovery and status issues.
2107656    2/2/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900 1,900.00 Attending to privilege log issues.
2107658    2/3/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900 1,900.00 Attending to discovery and status issues.
2107659    2/4/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900 3,800.00 Attending to discovery and status issues.
2107661    2/5/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,900 2,850.00 Attending to discovery and status issues.
2107666    2/9/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,900    950.00 Attending to status issues.
2107666    2/9/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,900    950.00 Conferring with M. Musico.
2108014    2/9/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     175    175.00 Going over missing claims for A. Subramanian.
2108014    2/9/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80     175    140.00 Reviewing files re claw back communications for M.
                                                                                                                                  Musico.
2108046    2/1/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00     575 3,450.00 Researching due process and damages question.
2108046    2/1/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00     575 2,875.00 Reviewing documents.
2108047    2/2/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40     575 1,955.00 Researching due process and damages question.
2108047    2/2/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60     575 2,070.00 Reviewing documents.
2108048    2/3/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20     575 1,265.00 Researching due process and damages question.
2108048    2/3/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.30     575 3,622.50 Reviewing documents.
2108052    2/4/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575    287.50 Participating in trial team call.
2108053    2/5/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00     575 1,725.00 Reviewing documents.
2108055    2/8/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50     575 3,162.50 Reviewing documents.
2108062    2/9/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50     575 3,162.50 Reviewing documents.
2108062    2/9/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575    575.00 Attending trial team meeting.



                                                                                          Page 10 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 12 of 111 PageID:
                                                                     19928


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                                Fees
 2108946 2/10/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00   575    5,175.00 Reviewing documents.
 2108950 2/11/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Reviewing documents.
 2108950 2/11/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Conferring by phone with trial team.
 2108950 2/11/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   575    1,437.50 Draft hot document chronology.
 2108956 2/12/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50   575    2,587.50 Reviewing documents. Preparing recent hot
                                                                                                                                  document chronology for B. Carmody and J. Connors.

2108956   2/12/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Meeting with B. Carmody and M. Musico re letter to
                                                                                                                                  court.
2108956   2/12/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Drafting letter to court.
2108957   2/13/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   575    1,725.00 Drafting and revising letter to court.
2108957   2/13/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50   575    2,012.50 Reviewing documents.
2109134    2/1/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   600      720.00 Conferring with C. Fuentes re BSNC billing volume.

2109134    2/1/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.10   600    2,460.00 Drafting outline for R. Nossa interview.
2109134    2/1/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   600    1,800.00 Reviewing Medicare regulations and case law.
2109152    2/2/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40   600      840.00 Reviewing Medicare regulations and case law.
2109152    2/2/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10   600    1,260.00 Reviewing documents re billing volume.
2109152    2/2/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   600    1,200.00 Drafting outline for R. Nossa interview.
2109158    2/3/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   600    1,200.00 Reviewing documents re billing volume.
2109158    2/3/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with M. Bruns re hot document chronology.

2109158    2/3/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50   600    2,700.00 Reviewing Medicare regulations and case law.
2109159    2/4/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   600      900.00 Reviewing documents re Medicare compliance.
2109159    2/4/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80   600    2,280.00 Drafting chronology re Medicare compliance and
                                                                                                                                  regulation changes.
2109159    2/4/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50   600    2,100.00 Reviewing Medicare regulations and case law.
2109159    2/4/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   600      480.00 Conferring with R. Nossa.
2109163    2/5/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.30   600    3,180.00 Drafting memorandum on Medicare compliance.
2109169    2/8/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   600    1,200.00 Reviewing case law re billing fraud and damages.
2109172    2/9/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40   600    1,440.00 Reviewing case law re billing fraud and damages.
2109177   2/10/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40   600    2,040.00 Reviewing hot documents for R. Nossa interview.
2109177   2/10/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring by phone with trial team.
2109177   2/10/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30   600    1,980.00 Revising outline for hearing on discovery issues.
2109178   2/11/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   600    1,500.00 Preparing for R. Nossa interview.
2109178   2/11/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30   600    1,980.00 Reviewing Blank Rome files for 30(b)(6) notice and
                                                                                                                                  subpoenas.
2109178   2/11/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring by phone with trial team.
2109180   2/12/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10   600      660.00 Conferring with AUSA and trial team re billing volume.

2109180   2/12/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   600    1,800.00 Drafting inquiry re Medicare re billing volume.
2109180   2/12/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30   600    1,980.00 Reviewing hot documents for R. Nossa interview.


                                                                                          Page 11 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 13 of 111 PageID:
                                                                     19929


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                                Fees
 2109180 2/12/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40    600      840.00 Drafting outline for R. Nossa interview.
 2109211   2/9/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Conferring by phone re privilege log.
 2109211   2/9/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Attending team meeting.
 2109211   2/9/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    575    2,587.50 Research re claims.
 2109214 2/10/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Conducting research re claims.
 2109221 2/11/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    575      690.00 Conducting document review.
 2109221 2/11/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    575      460.00 Drafting privilege log correspondence.
 2109221 2/11/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing discovery argument deck.
 2109221 2/11/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Attending team call.
 2109223 2/12/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60    575      920.00 Preparing for and call with Department of Justice.
 2109223 2/12/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Drafting letter to court re discovery.
 2109223 2/12/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10    575    1,207.50 Preparing slides for potential discovery argument.

2109223   2/12/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    575     747.50 Preparing slides for potential discovery argument.

2109226   2/13/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Researching and revising letter to court re discovery.

2109227   2/14/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575     862.50 Revising letter to court re discovery.
2110112    2/1/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2110113    2/2/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2110114    2/3/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2110116    2/4/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2110117    2/5/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2110118    2/8/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2110120    2/9/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2110122   2/10/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2110123   2/11/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2110125   2/12/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2110126   2/15/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2110128   2/16/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2111266   2/15/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Meeting with B. Carmody and M. Musico.
2111266   2/15/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00     575   1,725.00 Revising letter to court.
2111266   2/15/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00     575   1,725.00 Reviewing documents.
2111267   2/16/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Responding to emails.
2111267   2/16/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00     575   2,300.00 Reviewing documents.
2111267   2/16/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50     575   3,737.50 Traveling to Palo Alto, CA.
2111268   2/17/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Meeting with J. Connors.
2111268   2/17/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50     575   2,012.50 Interviewing witness R. Nossa.
2111268   2/17/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Emailing summary of witness interview and
                                                                                                                                    performing followup research.
2111269   2/18/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Participating in trial team call.
2111269   2/18/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    575      690.00 Emailing with Blank Rome.



                                                                                           Page 12 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 14 of 111 PageID:
                                                                     19930


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID      Date       Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                              Fees
 2111269 2/18/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    575      747.50 Reviewing documents.
 2111277 2/20/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    575    2,012.50 Traveling to New York.
 2111277 2/20/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Responding to emails.
 2111277 2/20/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575    1,437.50 Attending to various emails and calls with Blank Rome.

2111618   2/10/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    175     175.00 Conferring with vendor re exporting hot chronology to
                                                                                                                                 PDF's and sorting based on date.
2111618   2/10/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    175      87.50 Conferring with R. Shanks re creating .bat file.
2111618   2/10/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    175     297.50 Managing document storage and naming.
2111669   2/12/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    175     385.00 Creating hot document chronology for M. Gervais.
                                                                                                                                 Pulling documents from database for M. Gervais.

2111874   2/10/2016 2901 Carmody, Bill     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to status and discovery issues.
2111891   2/11/2016 2901 Carmody, Bill     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Attending to status and discovery issues.
2111892   2/12/2016 2901 Carmody, Bill     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,900     950.00 Attending to status and discovery issues.
2111893   2/15/2016 2901 Carmody, Bill     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to status and discovery issues.
2111894   2/16/2016 2901 Carmody, Bill     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to status and discovery issues.
2111896   2/18/2016 2901 Carmody, Bill     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,900     950.00 Attending to status and discovery issues.
2111897   2/19/2016 2901 Carmody, Bill     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to status and discovery issues.
2111995   2/15/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00     575   1,725.00 Preparing discovery demonstratives.
2111995   2/15/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     575   1,150.00 Revising letter to court.
2111995   2/15/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50     575   2,012.50 Conducting claims research.
2112008   2/16/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50     575   1,437.50 Revising discovery letter to court and discovery
                                                                                                                                  demonstratives.
2112008   2/16/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50    575    3,162.50 Conducting claims research.
2112010   2/17/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Revising and finalizing discovery letter to court.
2112010   2/17/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Conferring by phone with Department of Justice.
2112016   2/18/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Conducting claims research.
2112016   2/18/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Conducting document review.
2112016   2/18/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Preparing for discovery argument.
2112017   2/19/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    575    2,300.00 Conducting privilege log review.
2112017   2/19/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575    1,437.50 Preparing for discovery argument.
2112017   2/19/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Revising Medicare subpoena.
2112025   2/20/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing discovery argument.
2112025   2/20/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Researching privilege issues research.
2112025   2/20/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Conducting document review.
2112026   2/21/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Researching privilege issues.
2112711   2/17/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    175      210.00 Conferring with team re filing. Reviewing and saving
                                                                                                                                  emails.
2112775   2/19/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20    175      560.00 Pulling and reviewing correspondence re discovery or
                                                                                                                                  privilege logs for A. Subramanian. Corresponding with
                                                                                                                                  vendor re printing same.



                                                                                         Page 13 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 15 of 111 PageID:
                                                                     19931


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate       Amt Narrative                                                 Fees
 2112775 2/19/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    175     140.00 Reviewing and saving emails.
 2113402 2/25/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60    275     440.00 Finalizing list of questionable privilege log entries.

2113403   2/25/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Participating in weekly conference call and reviewing
                                                                                                                                   task list.
2113419   2/24/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70    275      192.50 Reviewing and filing e‐mail correspondence
2113612   2/22/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575    1,437.50 Reviewing documents.
2113612   2/22/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Organizing chart analysis.
2113612   2/22/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Attending calls and emails with A. Pickard and T.
                                                                                                                                   Poulin.
2113612   2/22/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Reviewing custodian.
2113617   2/23/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Participating in call with M. Musico and J. Connors to
                                                                                                                                   discuss tasks.
2113617   2/23/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    575    4,600.00 Organizing chart and custodian analysis.
2113617   2/23/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Participating in call with J. Connors and DTI re de‐
                                                                                                                                   duping and de‐threating database.
2113619   2/24/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    575    2,012.50 Reviewing documents.
2113619   2/24/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Preparing for hearing
2113619   2/24/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Attending call with M. Musico and J. Connors.
2113620   2/25/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Attending trial team call.
2113620   2/25/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.10    575    2,357.50 Reviewing and editing custodian spreadsheet.
2113620   2/25/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.90    575    2,817.50 Preparing for hearing.
2113621   2/26/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Traveling to hearing.
2113621   2/26/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575    1,437.50 Attending hearing.
2113621   2/26/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Attending post hearing trial team call.
2113621   2/26/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    575    2,012.50 Drafting email to opposing counsel re meet and
                                                                                                                                   confer.
2113622   2/27/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00    575    4,025.00 Drafting motion to compel and conducting research re
                                                                                                                                   same.
2113624   2/28/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Reading correspondence between counsel.
2113624   2/28/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Reading letters on docket.
2113624   2/28/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30    575    2,472.50 Revising draft motion to compel.
2113631   2/26/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    275      165.00 Reviewing and filing emails communications between
                                                                                                                                   all parties.
2113958   2/24/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to status issues.
2113959   2/26/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to status issues.
2114271   2/29/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.30     275     632.50 Reviewing of Blank Rome documents for missing items
                                                                                                                                   outlined by M. Gervais and ongoing communication
                                                                                                                                   with trial team regarding same.
2114467   2/22/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Drafting motion to compel privilege documents.
2114467   2/22/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Conducting research on Noridian claims.
2114467   2/22/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Attending team call.



                                                                                          Page 14 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 16 of 111 PageID:
                                                                     19932


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                                Fees
 2114467 2/22/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Preparing for discovery argument.
 2114472 2/23/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Drafting motion to compel privilege documents.
 2114472 2/23/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Preparing for discovery argument.
 2114474 2/24/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50   575    2,587.50 Drafting motion to compel privilege documents.
 2114474 2/24/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   575    1,725.00 Preparing for discovery argument.
 2114482 2/25/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Drafting motion to compel privilege documents.
 2114482 2/25/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50   575    3,162.50 Preparing for discovery argument.
 2114497 2/26/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   575    4,600.00 Preparing for discovery argument.
 2114497 2/26/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   575    1,437.50 Attending argument in District of New Jersey court.

2114497   2/26/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575     862.50 Participating in post hearing follow‐up with team.

2114507   2/27/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Revising motion to compel privilege documents.
                                                                                                                                  Researching discovery adverse inference.
2114508   2/22/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70   175      472.50 Managing document storage and naming.
2114508   2/22/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   175      210.00 Pulling correspondence re privilege logs and discovery
                                                                                                                                  for A. Subramanian.
2114508   2/22/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   175      140.00 Highlighting privilege log in preparation for hearing.

2114515   2/29/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   575    1,437.50 Reviewing privilege log.
2114535   2/23/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20   175      385.00 Uploading Blank Rome emails to imanage.
2114574   2/29/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Editing motion to compel.
2114574   2/29/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Working with Brattle and DTI to set up database for
                                                                                                                                  review of new list of witnesses.
2114574   2/29/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Working with paralegals to track down "missing Blank
                                                                                                                                  Rome" letters and emails.
2114574   2/29/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   575    1,725.00 Reviewing documents.
2114575   2/24/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   175      350.00 Pulling documents from database re physician orders
                                                                                                                                  for J. Connors and A. Subramanian.
2114575   2/24/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10   175      367.50 Working on privilege log project for M. Musico.
2114593   2/25/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60   175      280.00 Preparing privilege log chart for M. Musico.
2114593   2/25/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.40   175      945.00 Searching through physician orders for unsigned
                                                                                                                                  orders for A. Subramanian.
2114593   2/25/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   175      350.00 Preparing hearing documents for A. Subramanian.

2114696   2/29/2016 7875 Bruns, Mandi R.    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   175       87.50 Reviewing and saving emails.
2115087   2/15/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Drafting slides for discovery hearing.
2115091   2/16/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50   600    2,700.00 Preparing for interview with R. Nossa.
2115095   2/16/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.80   600    2,880.00 Preparing for interview with R. Nossa. Traveling to
                                                                                                                                  California for interview with R. Nossa.
2115101   2/17/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.90   600    2,340.00 Interviewing R. Nossa and preparing for same.




                                                                                          Page 15 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 17 of 111 PageID:
                                                                     19933


                                                     015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                      Fee Detail
ID      Date       Tkpr TKPR Name          Rank       Matter Matter Name                                 Hrs   Rate        Amt Narrative                                                 Fees
 2115101 2/17/2016 4024 Connors, Jordan    Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   600      900.00 Conferring with C. Huntley and D. Dauenheimer re
                                                                                                                               Medicare billing records.
2115102   2/17/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30   600    2,580.00 Returning to New York following interview with R.
                                                                                                                               Nossa.
2115110   2/18/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10   600    1,260.00 Reviewing physician orders and related documents.

2115110   2/18/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40   600    1,440.00 Drafting subpoenas to Centers for Medicare and
                                                                                                                               Medicaid Services (CMS) Medicare Administrative
                                                                                                                               Contractors.
2115110   2/18/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with trial team on weekly call.
2115110   2/18/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   600      480.00 Conferring with W. Bahnsen and C. Fuentes re
                                                                                                                               electronic databases.
2115120   2/19/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Drafting letter to Centers for Medicare and Medicaid
                                                                                                                               Services (CMS) with subpoena.
2115122   2/20/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30   600    1,980.00 Searching for and reviewing CMNs and physician
                                                                                                                               orders.
2115129   2/22/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with Ms. Heard of Centers for Medicare and
                                                                                                                               Medicaid Services (CMS) re subpoena.

2115129   2/22/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40   600    2,040.00 Drafting 30(b)(6) notice.
2115129   2/22/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30   600      780.00 Conferring with DTI re email de‐duping and threading.

2115129   2/22/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.90   600    2,340.00 Reviewing BSNC response to Interrogatory 23.
2115133   2/23/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with trial team re discovery hearing
2115133   2/23/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   600      900.00 Drafting and serving amended Centers for Medicare
                                                                                                                               and Medicaid Services (CMS) subpoena.

2115133   2/23/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60   600    1,560.00 Gathering and cataloging physician orders.
2115133   2/23/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Drafting 30(b)(6) notice.
2115133   2/23/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   600      480.00 Drafting email to opposing counsel re discovery issues.

2115133   2/23/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40   600      840.00 Conferring with counsel for National Heritage
                                                                                                                               Insurance Company, Corporation re subpoena.
2115140   2/24/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60   600    1,560.00 Drafting 30(b)(6) notice.
2115140   2/24/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with counsel for National Heritage
                                                                                                                               Insurance Company, Corporation re subpoena.
2115140   2/24/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80   600    2,280.00 Drafting subpoenas duces tecum to Palmetto and
                                                                                                                               National Heritage Insurance Company, Corporation.

2115143   2/25/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with K. Grasso of National Heritage
                                                                                                                               Insurance Company, Corporation re subpoena.
2115143   2/25/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40   600    1,440.00 Drafting subpoena to Noridian.



                                                                                       Page 16 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 18 of 111 PageID:
                                                                     19934


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                                Fees
 2115143 2/25/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30    600    2,580.00 Reviewing Noridian claims data.
 2115143 2/25/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10    600      660.00 Reviewing past Blank Rome correspondence for
                                                                                                                                    information re claims data.
2115143   2/25/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    600    1,200.00 Researching point of law re response to interrogatory
                                                                                                                                    no. 23.
2115149   2/26/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40    600      240.00 Conferring with J. Huheey re BSNC sales interviews.

2115149   2/26/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40    600    2,040.00 Reviewing file and identifying subjects of BSNC sales
                                                                                                                                    interviews.
2115149   2/26/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    600      720.00 Drafting letter to opposing counsel re discovery.
2115154   2/27/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    600      720.00 Conferring with J. Huheey re BSNC sales interviews.

2115154   2/27/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    600      480.00 Conferring with trial team re discovery strategy.
2115156   2/28/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10    600    1,260.00 Identifying potential expert witnesses.
2115156   2/28/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600      600.00 Conferring with J. Huheey re BSNC sales interviews.

2115159   2/29/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600     600.00 Conferring with J. Huheey re BSNC sales interviews.

2115159   2/29/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    600      480.00 Conferring with trial team re discovery strategy.
2115159   2/29/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    600    1,800.00 Reviewing file re Dataflo and drafting memorandum re
                                                                                                                                    same.
2115159   2/29/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    600    1,500.00 Drafting interview outline for sales team interviews.

2115159   2/29/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600     600.00 Conferring with C. Fuentes and W. Bahnsen re Dataflo.

2115357   2/17/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00   1,050   9,450.00 Reviewing documents.
2115374   2/18/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00   1,050   9,450.00 Reviewing documents.
2115381   2/19/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00   1,050   9,450.00 Reviewing documents.
2115390   2/23/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00   1,050   9,450.00 Reviewing documents.
2115392   2/24/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00   1,050   9,450.00 Reviewing documents.
2115395   2/25/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00   1,050   9,450.00 Reviewing documents.
2115398   2/26/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Participating in hearing.
2115398   2/26/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   1,050   5,250.00 Reviewing documents.
2115402   2/29/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to miscellaneous issues.
2115406   2/29/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   1,050   5,250.00 Reviewing documents.
2115406   2/29/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,050   1,050.00 Meeting with B. Carmody.
2116437    3/1/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20     275      55.00 Reviewing incoming email correspondence between all
                                                                                                                                    counsel.
2116438    3/1/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    275      467.50 Reviewing Blank Rome emails to identify any
                                                                                                                                    production letters, discovery responses or any similar
                                                                                                                                    items that indicate documents were produced.




                                                                                           Page 17 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 19 of 111 PageID:
                                                                     19935


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs   Rate       Amt Narrative                                               Fees
 2116439   3/1/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80   275     495.00 Reviewing of Relativity database in attempt to identify
                                                                                                                                 if specific documents were produced. Ongoing
                                                                                                                                 communication with M. Bruns regarding same.

2116541    3/2/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40   275     385.00 Recording and taking notes during conference
                                                                                                                                 between counsel re discovery issues and preparation
                                                                                                                                 for same with C. DaCosta.
2116545    3/2/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30   275      82.50 Reviewing email communications between all counsel.

2116593    3/3/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20   275       55.00 Reviewing incoming email communications between
                                                                                                                                  all counsel.
2116752    3/4/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30   275       82.50 Reviewing incoming email communications between
                                                                                                                                  all parties.
2117014    3/7/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20   275       55.00 Reading daily email communications between all
                                                                                                                                  parties.
2117104    3/1/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   575    1,437.50 Reviewing privilege log.
2117104    3/1/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Reviewing documents.
2117107    3/2/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Attending discovery meet and confer.
2117107    3/2/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Following‐up.
2117107    3/2/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50   575    2,012.50 Planning document review.
2117113    3/3/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Drafting discovery letter to court.
2117114    3/4/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Drafting discovery letter to court.
2117118    3/6/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Drafting discovery letter to court.
2117119    3/1/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   575    4,025.00 Reviewing documents.
2117119    3/1/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50   575    2,012.50 Drafting instructions for staff attorneys for document
                                                                                                                                  review.
2117119    3/1/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Conferring by phone with staff attorneys for document
                                                                                                                                  review.
2117121    3/2/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   575    4,600.00 Reviewing documents.
2117121    3/2/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Participating in trial team meeting.
2117121    3/2/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Attending meet and confer with opposing counsel.

2117122    3/3/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   575    4,600.00 Reviewing documents.
2117123    3/4/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   575    4,600.00 Reviewing documents.
2117123    3/4/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Emailing opposing counsel with objections to third set
                                                                                                                                  of interrogatories.
2117123    3/4/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Participating in trial team call.
2117127    3/6/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50   575    2,587.50 Conducting legal research.
2117127    3/6/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50   575    2,012.50 Editing draft letter to court.
2117128    3/7/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Editing draft letter to court.
2117128    3/7/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Researching prior counsel's emails.
2117128    3/7/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Reviewing documents.



                                                                                          Page 18 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 20 of 111 PageID:
                                                                     19936


                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                               Fee Detail
ID       Date       Tkpr TKPR Name           Rank              Matter Matter Name                                 Hrs    Rate       Amt Narrative                                                  Fees
 2118151   3/8/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    275      82.50 Conferencing with J. Connors re identifying Physician
                                                                                                                                        Orders on Relativity database and how to detail
                                                                                                                                        information in spreadsheet.
2118152    3/8/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60    275     990.00 Reviewing Relativity database to identify Physician
                                                                                                                                        Orders and outlining details of same in spreadsheet.

2118153    3/8/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275      55.00 Reviewing daily email communications between all
                                                                                                                                        counsel.
2118155    3/8/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    275     605.00 Reviewing court docket to identify and upload all letter
                                                                                                                                        correspondence to the court and transfer same to
                                                                                                                                        dropbox file per instructions from M. Gervais..

2118352    3/1/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to discovery and status issues.
2118353    3/2/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,900   2,850.00 Attending to discovery and status issues.
2118354    3/3/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Attending to discovery and status issues.
2118355    3/4/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to discovery and status issues.
2118356    3/8/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,900   2,850.00 Attending to discovery and status issues.
2118357    3/7/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to discovery and status issues.
2118442    3/9/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30     275      82.50 Reviewing email communications between all parties.

2118443    3/9/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    275     467.50 Continuing review of documents in Relativity database
                                                                                                                                        to identify Physician Orders and outlining findings in
                                                                                                                                        spreadsheet.
2118449    3/9/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40    275     660.00 Reviewing selective portion of Zirmed sheet and
                                                                                                                                        outlining patients names contained therein onto a
                                                                                                                                        spreadsheet.
2118607    3/1/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    325      97.50 Meeting with A. Vidaurri, M. Gervais, and J. Connors re
                                                                                                                                        case background and document review process.

2118612    3/1/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    325      552.50 Reviewing documents.
2118616    3/2/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60    325    1,170.00 Reviewing documents.
2118623    3/1/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    275      495.00 Reviewing file; reviewing correspondence; conferring
                                                                                                                                         with M. Gervais and K. Joshi.
2118624    3/2/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10    275      577.50 Reviewing documents; conferring with K. Joshi.
2118682   3/10/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   6.30    275    1,732.50 Reviewing of Relativity database to identify Physician
                                                                                                                                         Orders and Certificates of Medical Necessity and
                                                                                                                                         outlining data identified in spreadsheet per
                                                                                                                                         instructions from J. Connors.
2118728    3/1/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   1,050   6,825.00 Reviewing documents.
2118728    3/1/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,050   1,575.00 Conferring with trial team re discovery.
2118729    3/2/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   1,050   6,825.00 Reviewing documents.
2118729    3/2/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,050   1,575.00 Conferring with trial team re discovery.



                                                                                                Page 19 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 21 of 111 PageID:
                                                                     19937


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                  Hrs     Rate        Amt Narrative                                               Fees
 2118731   3/3/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50   1,050    6,825.00 Reviewing documents.
 2118731   3/3/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   1,050    1,575.00 Conferring with trial team re discovery.
 2118733   3/4/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    7.00   1,050    7,350.00 Reviewing documents.
 2118733   3/4/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050    1,050.00 Conferring with trial team re discovery.
 2119030 3/11/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20     275      605.00 Continuing and finalizing review of Relativity
                                                                                                                                      documents to identify Physician Orders and
                                                                                                                                      Certificates of Medical Necessity and ongoing
                                                                                                                                      communication with M. Burns re same.
2119037   3/11/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20    275        55.00 Reviewing daily email communications between all
                                                                                                                                      parties.
2119492   3/14/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20    275        55.00 Reviewing daily email communications.
2119528    3/1/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.10    175       542.50 Creating privilege chart for M. Musico in preparation
                                                                                                                                      for call with opposing counsel.
2119528    3/1/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.30    175     1,102.50 Searching database for produced documents for J.
                                                                                                                                      Connors.
2119545    3/2/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    175       262.50 Chronning documents for A. Subramanian.
2119545    3/2/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    175        87.50 Searching for missing correspondence from counsel.

2119561    3/8/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.50    575     4,887.50 Reviewing documents.
2119562    3/9/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.00    575     6,325.00 Reviewing documents.
2119564   3/10/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.10    575     1,207.50 Drafting status letter to court.
2119564   3/10/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.40    575     3,680.00 Reviewing documents.
2119564   3/10/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575       575.00 Participating in trial team call.
2119565   3/11/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.60    575       920.00 Drafting status letter to court.
2119565   3/11/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.90    575     3,967.50 Reviewing documents.
2119566   3/14/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    9.70    575     5,577.50 Reviewing documents.
2119566   3/14/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575       575.00 Attending trial team meeting.
2119566   3/14/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60    575       345.00 Sending custodians objections to opposing counsel.

2119595    3/3/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    175      262.50 Reviewing, bates stamping and redacting production
                                                                                                                                     for J. Connors.
2119595    3/3/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.30    175      227.50 Reviewing documents for missing attachments.
2119626    3/4/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    175      175.00 Preparing documents for production and sending to
                                                                                                                                     vendor to upload to Relativity
2119626    3/4/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    175       87.50 Reviewing and saving emails.
2119626    3/4/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.30    175      227.50 Reviewing boxes from Blank Rome.
2119676    3/8/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20    175      385.00 Reviewing physician orders and creating spreadsheet
                                                                                                                                     re same for J. Conners.
2119692    3/9/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    175      350.00 Reviewing ZirMed excel sent from opposing counsel.

2119692    3/9/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.30    175      227.50 Creating chart re names of patients from ZirMed excel.




                                                                                           Page 20 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 22 of 111 PageID:
                                                                     19938


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID       Date       Tkpr TKPR Name         Rank         Matter Matter Name                                  Hrs   Rate        Amt Narrative                                                 Fees
 2119692   3/9/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.00   175    1,225.00 Reviewing physician orders and creating spreadsheet
                                                                                                                                  re same for J. Conners.
2119704   3/10/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.50   175    2,012.50 Working on physician order chart for J. Conners.
                                                                                                                                  Conferring with A. Vedenina, S. Schulze, R. Beard and
                                                                                                                                  R. Polanco re project and explaining details. Finishing
                                                                                                                                  and circulating ZirMed chart with patient names filled
                                                                                                                                  in.
2119710   3/11/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   175      612.50 Finishing physician order chart.
2119718   3/14/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30   175       52.50 Conferring with team re Brattle ZirMed sheet.
2119718   3/14/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30   175       52.50 Attending call re status of case.
2119718   3/14/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30   175       52.50 Creating tags for new physician orders.
2119738    3/7/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.60   575      920.00 Drafting discovery letter to court.
2119738    3/7/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.10   575    1,207.50 Drafting discovery email to opposing counsel.
2119738    3/7/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.80   575    2,185.00 Planning discovery.
2119743    3/8/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   575    2,300.00 Reviewing documents.
2119743    3/8/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   575      862.50 Revising 30(b)(6) notice.
2119743    3/8/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Conducting research re expert.
2119745    3/9/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.10   575    1,207.50 Reviewing documents.
2119745    3/9/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.80   575    1,035.00 Revising 30(b)(6) notice.
2119745    3/9/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.60   575    2,645.00 Conducting research re claims.
2119748   3/10/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.50   575    2,587.50 Reviewing documents.
2119748   3/10/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.10   575    1,207.50 Preparing discovery argument.
2119748   3/10/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.40   575    1,380.00 Researching magistrate appeal.
2119753   3/11/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   575    4,600.00 Reviewing documents.
2119754   3/13/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Revising discovery letter.
2119754   3/13/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   575    1,437.50 Reviewing documents.
2119853    3/1/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60   600      360.00 Conferring with J. Huheey re BSNC sales interviews.

2119853    3/1/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30   600      180.00 Conferring with A. Vidaurri and J. Khushbu re
                                                                                                                                  document review.
2119853    3/1/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.20   600    2,520.00 Revising draft 30(b)(6) notice.
2119853    3/1/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   600    1,800.00 Reviewing Relator production files and drafting outline
                                                                                                                                  of responses to BSNC discovery queries.
2119853    3/1/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   600    1,500.00 Revising document review instructions for staff
                                                                                                                                  attorneys.
2119858    3/2/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   600      600.00 Conferring with T. Hermann re potential engagement.

2119858    3/2/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   600     600.00 Attending meet and confer with BSNC re discovery
                                                                                                                                 issues.
2119858    3/2/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.80   600     480.00 Contacting legal department at Noridian re subpoena.




                                                                                         Page 21 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 23 of 111 PageID:
                                                                     19939


                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                               Fee Detail
ID       Date       Tkpr TKPR Name           Rank              Matter Matter Name                                 Hrs    Rate       Amt Narrative                                             Fees
 2119858   3/2/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    600     720.00 Conferring with R. Schneider re potential engagement.

2119858    3/2/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    600    1,800.00 Reviewing Blank Rome letters re "3% agreement."

2119858    3/2/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    600    2,100.00 Revising letter to Magistrate Judge Wettre re Physician
                                                                                                                                         Orders.
2119867    3/3/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    600    1,200.00 Reviewing and producing tax return documents.
2119867    3/3/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600      600.00 Conferring with trial team on weekly call.
2119867    3/3/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    600    1,500.00 Conferring with counsel for third parties re document
                                                                                                                                         subpoenas.
2119867    3/3/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60    600    1,560.00 Revising letter to Magistrate Judge Wettre re
                                                                                                                                         discovery.
2119867    3/3/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70    600    1,620.00 Revising 30(b)(6) deposition notice.
2119881    3/4/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    600      480.00 Conferring with E. Heard re subpoena to Centers for
                                                                                                                                         Medicare and Medicaid Services.
2119881    3/4/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60    600    1,560.00 Revising letter to Magistrate Judge Wettre re
                                                                                                                                         discovery.
2119881    3/4/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50     600   2,100.00 Revising 30(b)(6) deposition notice.
2119881    3/4/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60     600     960.00 Reviewing documents.
2120007    3/7/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing discovery.
2120007    3/7/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing and revising letter to court.
2120016    3/9/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2120017   3/10/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2120018   3/11/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2120047   3/10/2016 5326 Beard, Rebecca      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30     175     227.50 Assisting M. Bruns with physician chart.
2120179   3/11/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Attending to discovery and status issues.
2120436   3/15/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30     275      82.50 Reviewing daily email communications between all
                                                                                                                                         parties.
2120491   3/10/2016 5327 Vedenina, Alisa     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   9.50     150   1,425.00 Assisting M. Bruns with physician chart.
2120492   3/11/2016 5327 Vedenina, Alisa     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     150     225.00 Assisting M. Bruns with physician chart.
2120632   3/16/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to status and discovery issues.
2120863   3/16/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40     275     110.00 Reviewing daily email communications between all
                                                                                                                                         parties.
2120983   3/17/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Reviewing daily email communications.
2121079    3/9/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    325      325.00 Reviewing documents.
2121112    3/9/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80    275    1,045.00 Reviewing documents.
2121126   3/11/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80    275    1,045.00 Reviewing documents.
2121213   3/17/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    175       87.50 Conferring with vendors re witness kits.
2121213   3/17/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    175       87.50 Attending trial team call.
2121213   3/17/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    175       87.50 Conferring with C. DaCosta re boxes for B. Carmody.




                                                                                                Page 22 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 24 of 111 PageID:
                                                                     19940


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID      Date       Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                               Fees
 2121216 3/18/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50   275    1,512.50 Preparing chronology of documents from LaManna
                                                                                                                                 witness kit and ongoing communication with M. Bruns
                                                                                                                                 re same.
2121221   3/18/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   175    1,050.00 Creating witness kits for Chavez, LaManna and
                                                                                                                                 Guierrez and sending to B. Carmody re same.
                                                                                                                                 Conferring with team re same.
2121221   3/18/2016 7875 Bruns, Mandi R.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70   175      122.50 Reviewing and saving emails.
2121293    3/5/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with B. Carmody re 30(b)(6) notice and
                                                                                                                                 letter to Magistrate Judge Clark.
2121293    3/5/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80   600    2,280.00 Reviewing documents.
2121293    3/5/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   600    1,200.00 Revising 30(b)(6) deposition notice.
2121294    3/6/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   600    1,800.00 Revising 30(b)(6) deposition notice.
2121294    3/6/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with B. Carmody re 30(b)(6) notice and
                                                                                                                                 letter to Magistrate Judge Clark.
2121294    3/6/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20   600    1,920.00 Reviewing documents.
2121294    3/6/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80   600    2,280.00 Researching points of law re letter to Magistrate Judge
                                                                                                                                 Clark.
2121297    3/7/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30   600    2,580.00 Reviewing physician orders.
2121297    3/7/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   600      900.00 Conferring with Brattle re physician order search.
2121297    3/7/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.30   600    1,380.00 Revising 30(b)(6) notice.
2121297    3/7/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with counsel for Noridian re subpoena for
                                                                                                                                 Claims data.
2121312    3/8/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.10   600    2,460.00 Reviewing physician orders
2121312    3/8/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   600      480.00 Conferring with counsel for Noridian re subpoena for
                                                                                                                                 Claims data.
2121312    3/8/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with R. Schneider re potential engagement
                                                                                                                                 as expert.
2121312    3/8/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with M. Bruns and R. Polanco re physician
                                                                                                                                 order review project.
2121312    3/8/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   600      480.00 Conferring with opposing counsel re Claims data.
2121314    3/9/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.90   600    2,940.00 Reviewing physician orders.
2121314    3/9/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Revising 30(b)(6) notice.
2121314    3/9/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.90   600    2,940.00 Conducting search for expert witnesses
2121318   3/10/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60   600      360.00 Conferring with K. Ascher re Claims data.
2121318   3/10/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with E. Heard re Claims data.
2121318   3/10/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   600      900.00 Conferring with C. Mahon re potential engagement as
                                                                                                                                 expert.
2121318   3/10/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Participating in trial team call
2121318   3/10/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50   600    3,300.00 Reviewing documents
2121319   3/11/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10   600      660.00 Conferring with Brattle re physician order matching
                                                                                                                                 project.
2121319   3/11/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.10   600    3,660.00 Reviewing physician orders.



                                                                                         Page 23 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 25 of 111 PageID:
                                                                     19941


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                  Hrs   Rate        Amt Narrative                                               Fees
 2121572 3/21/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20   275       55.00 Reviewing daily email communications between all
                                                                                                                                   parties.
2121701   3/15/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.80   575    6,785.00 Reviewing documents.
2121701   3/15/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20   575      690.00 Meeting and conferring with opposing counsel.
2121702   3/16/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.90   575    4,542.50 Reviewing documents.
2121702   3/16/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Drafting status letter.
2121702   3/16/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60   575      345.00 Attending meet and confer.
2121707   3/17/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   575      287.50 Participating in trial team call.
2121707   3/17/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50   575    4,312.50 Reviewing documents.
2121709   3/18/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.00   575    4,025.00 Reviewing documents.
2121709   3/18/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Conducting research for motion to amend.
2121710   3/19/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   575    1,437.50 Conducting research for motion to amend.
2121711   3/20/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   575    1,725.00 Reviewing documents.
2121711   3/20/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Researching for motion to amend.
2121714   3/21/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50   575    4,312.50 Reviewing documents.
2121714   3/21/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Meeting with b. Carmody, M. Musico, J. Connors.
2121714   3/21/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   575    1,437.50 Creating witness file.
2122518   3/14/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20   575    1,265.00 Preparing for discovery argument.
2122518   3/14/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Attending team meeting.
2122518   3/14/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.80   575    2,185.00 Reviewing documents.
2122526   3/15/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   575    2,300.00 Reviewing documents.
2122526   3/15/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Revising status letter.
2122529   3/16/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.40   575      805.00 Revising and finalizing status letter.
2122529   3/16/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Conducting research re claims.
2122529   3/16/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60   575      345.00 Attending meet and confer.
2122529   3/16/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   575    2,875.00 Reviewing documents.
2122532   3/17/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   575    1,437.50 Reviewing documents.
2122532   3/17/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Conducting expert research.
2122532   3/17/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   575      287.50 Participating in team call.
2122537   3/18/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Reviewing documents.
2122537   3/18/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Preparing witness files.
2122537   3/18/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   575      862.50 Conducting coding research.
2122539   3/19/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Reviewing documents.
2122539   3/19/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Drafting privilege letter to court.
2122540   3/20/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   575    1,725.00 Reviewing documents.
2122553   3/14/2016 5327 Vedenina, Alisa    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.30   150      495.00 Assisting J. Cobden with witness file chronology.
2122887   3/14/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   600      600.00 Conferring with trial team re physician orders.
2122887   3/14/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   600    2,400.00 Reviewing documents.
2122887   3/14/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.80   600      480.00 Conferring with K. Ascher re request for Claims data.




                                                                                          Page 24 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 26 of 111 PageID:
                                                                     19942


                                                            015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                             Fee Detail
ID      Date       Tkpr TKPR Name          Rank              Matter Matter Name                                  Hrs   Rate        Amt Narrative                                                Fees
 2122887 3/14/2016 4024 Connors, Jordan    Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   600    1,800.00 Reviewing subpoenas to Centers for Medicare Services
                                                                                                                                       and Noridain and Claims data for additional HCPC
                                                                                                                                       codes.
2122887   3/14/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70   600      420.00 Conferring with M. Sarrow re project to match
                                                                                                                                       physician orders with claims data.
2122892   3/15/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    6.40   600    3,840.00 Reviewing physician orders.
2122892   3/15/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20   600      720.00 Conferring with Boston Scientific re discovery disputes.

2122892   3/15/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   600     300.00 Conferring with counsel for Noridian re Claims data.

2122908   3/16/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    7.60   600    4,560.00 Reviewing documents.
2122908   3/16/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20   600      720.00 Drafting email to opposing counsel re discovery
                                                                                                                                       disputes.
2122908   3/16/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60   600      360.00 Conferring with counsel for Noridian re claims data.

2122909   3/17/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    3.80   600    2,280.00 Drafting 30(b)(6) outline and document file.
2122909   3/17/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    6.10   600    3,660.00 Reviewing documents.
2122909   3/17/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    1.30   600      780.00 Conferring with expert search firms re coding expert
                                                                                                                                       search.
2122946   3/18/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    2.70   600    1,620.00 Drafting 30(b)(6) outline and document file.
2122946   3/18/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   10.00   600    6,000.00 Reviewing documents.
2122946   3/18/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    1.40   600      840.00 Interviewing R. Schneider re potential engagement as
                                                                                                                                       expert.
2122946   3/18/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70   600      420.00 Conferring with R. Whitten.
2122947   3/19/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    1.80   600    1,080.00 Drafting 30(b)(6) outline.
2122947   3/19/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20   600      720.00 Conferring with D. Whitten.
2122947   3/19/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60   600      360.00 Conferring with expert search firms.
2122959   3/20/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    3.80   600    2,280.00 Conferring with trial team re Medicare regulations and
                                                                                                                                       BSNC compliance policies.
2123087   3/22/2016 5328 Polanco, Rodney   Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30   275       82.50 Reviewing daily email communications between all
                                                                                                                                       parties.
2123413   3/23/2016 5328 Polanco, Rodney   Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30   275       82.50 Reviewing daily email communications between all
                                                                                                                                       parties.
2123416   3/23/2016 5328 Polanco, Rodney   Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    4.80   275    1,320.00 Beginning review of Relativity database to identify
                                                                                                                                       Physician Orders and transcribing specific details from
                                                                                                                                       said orders onto a spreadsheet.

2123445   3/14/2016 4878 Vidaurri, Aimeé   Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.20   275    1,705.00 Reviewing documents.
2123445   3/14/2016 4878 Vidaurri, Aimeé   Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   275      137.50 Corresponding with M. Musico and K. Joshi re
                                                                                                                                       document review tags.
2123446   3/15/2016 4878 Vidaurri, Aimeé   Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.30   275    2,007.50 Reviewing documents.
2123459   3/18/2016 4878 Vidaurri, Aimeé   Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30   275       82.50 Reviewing correspondence.



                                                                                              Page 25 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 27 of 111 PageID:
                                                                    19943


                                                             015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                              Fee Detail
ID      Date       Tkpr TKPR Name           Rank              Matter Matter Name                                  Hrs     Rate        Amt Narrative                                                Fees
 2123462 3/18/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.40     275      385.00 Reviewing documents.
 2123466 3/15/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   10.30     325    3,347.50 Reviewing documents.
 2123467 3/16/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00     325    2,600.00 Reviewing documents.
 2123468 3/17/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50     325    1,137.50 Reviewing documents.
 2123470 3/18/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00     325    1,625.00 Reviewing documents.
 2123572 3/15/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050    8,400.00 Reviewing documents.
 2123576 3/17/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   1,900    5,700.00 Attending to discovery issues.
 2123577 3/18/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,900    7,600.00 Attending to discovery issues.
 2123623 3/24/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30     275       82.50 Reviewing daily email communications between all
                                                                                                                                          parties.
2123627   3/24/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    275       550.00 Continuing review of Relativity database to identify
                                                                                                                                          Physician Orders and transcribing details from same
                                                                                                                                          onto spreadsheet.
2123648   3/25/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20    275        55.00 Reviewing of daily email communications between all
                                                                                                                                          parties.
2123649   3/25/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    3.20    275       880.00 Continuing review of Relativity database to identify
                                                                                                                                          Physician Orders and transcribing details from same
                                                                                                                                          onto spreadsheet.
2123650   3/25/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30    275        82.50 Reviewing Zirm Sheet document in attempt to identify
                                                                                                                                          information for a specific patient per instructions from
                                                                                                                                          M. Musico.
2123667   3/23/2016 5326 Beard, Rebecca     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    3.30    175       577.50 Reviewing physician orders for J. Connors.
2123673   3/24/2016 5326 Beard, Rebecca     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    4.80    175       840.00 Reviewing physician orders for J. Connors.
2123683   3/25/2016 5326 Beard, Rebecca     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.40    175       420.00 Reviewing physician orders for J. Connors.
2124180   3/28/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20    275        55.00 Reviewing of daily email communications between all
                                                                                                                                          parties.
2124185   3/28/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    6.20    275     1,705.00 Preparing Chan and O'Neill witness kits in anticipation
                                                                                                                                          of upcoming depositions.
2124186   3/28/2016 5326 Beard, Rebecca     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    4.10    175       717.50 Reviewing physician orders for J. Connors.
2124190   3/28/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    275       275.00 Continuing review of Relativity database to identify
                                                                                                                                          Physician Orders and transcribing details of said orders
                                                                                                                                          onto Excel spreadsheet.
2124352   3/21/2016 4142 Musico, Mark       Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    4.10    575     2,357.50 Reviewing documents.
2124352   3/21/2016 4142 Musico, Mark       Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.40    575     1,380.00 Revising privilege letter.
2124356   3/22/2016 4142 Musico, Mark       Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    3.60    575     2,070.00 Reviewing documents.
2124356   3/22/2016 4142 Musico, Mark       Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.70    575       977.50 Revising privilege letter.
2124356   3/22/2016 4142 Musico, Mark       Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    575       287.50 Conferring by phone with damages expert.
2124356   3/22/2016 4142 Musico, Mark       Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20    575     1,265.00 Preparing witness kits.
2124375   3/23/2016 4142 Musico, Mark       Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    575     3,450.00 Reviewing documents.
2124375   3/23/2016 4142 Musico, Mark       Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575       575.00 Revising privilege letter.
2124375   3/23/2016 4142 Musico, Mark       Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575     1,150.00 Preparing witness kits.
2124379   3/24/2016 4142 Musico, Mark       Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    575     3,450.00 Reviewing Boston Scientific privilege production.



                                                                                               Page 26 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 28 of 111 PageID:
                                                                     19944


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                                Fees
 2124379 3/24/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Revising privilege letter.
 2124379 3/24/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Preparing witness kits.
 2124383 3/25/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00    575    3,450.00 Reviewing documents.
 2124383 3/25/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    575      747.50 Revising privilege letter.
 2124383 3/25/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    575      690.00 Preparing witness kits.
 2124385 3/26/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    575      460.00 Conducting meet and confer re documents missing
                                                                                                                                    attachments.
2124385   3/26/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    575      977.50 Preparing witness kits.
2124386   3/27/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    575    1,035.00 Reviewing documents.
2124386   3/27/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    575    1,265.00 Preparing witness kits.
2124386   3/27/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Revising privilege letter.
2124543   3/23/2016 5329 DeGeorges, Simon    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.30    275    2,557.50 Reviewing documents on Relativity database and
                                                                                                                                    entering bates, patient, provider, and diagnosis code
                                                                                                                                    information from physician orders into an Excel
                                                                                                                                    spreadsheet to be combined into a master
                                                                                                                                    spreadsheet that contains information from all
                                                                                                                                    reviewers (9.3).
2124550   3/24/2016 5329 DeGeorges, Simon    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.20    275    2,530.00 Reviewing documents on Relativity database and
                                                                                                                                    entering bates, patient, provider, and diagnosis code
                                                                                                                                    information from physician orders into an Excel
                                                                                                                                    spreadsheet to be combined into a master
                                                                                                                                    spreadsheet that contains information from all
                                                                                                                                    reviewers (9.2).
2124558   3/25/2016 5329 DeGeorges, Simon    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    275    2,200.00 Reviewing documents on Relativity database and
                                                                                                                                    entering bates, patient, provider, and diagnosis code
                                                                                                                                    information from physician orders into an Excel
                                                                                                                                    spreadsheet to be combined into a master
                                                                                                                                    spreadsheet that contains information from all
                                                                                                                                    reviewers (8).
2124824   3/16/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Preparing for depositions.
2124828   3/17/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Preparing for depositions.
2124833   3/18/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Preparing for depositions.
2125234   3/29/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30     275      82.50 Reviewing daily email communications between all
                                                                                                                                    parties.
2125276   3/29/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20    275      880.00 Continuing review of Relativity database to identify
                                                                                                                                    Physician Orders and transcribing details of said orders
                                                                                                                                    onto Excel spreadsheet.
2125277   3/22/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.90    575    3,392.50 Reviewing documents.
2125277   3/22/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40    575    1,955.00 Preparing witness file.
2125281   3/23/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.80    575    4,485.00 Reviewing documents.
2125281   3/23/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    575    2,012.50 Preparing witness file.
2125291   3/24/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    575    4,600.00 Reviewing documents.



                                                                                           Page 27 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 29 of 111 PageID:
                                                                     19945


                                                             015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                              Fee Detail
ID      Date       Tkpr TKPR Name           Rank              Matter Matter Name                                 Hrs    Rate         Amt Narrative                                             Fees
 2125294 3/25/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30    575     1,897.50 Reviewing documents.
 2125315 3/28/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.70    575     2,127.50 Reviewing documents.
 2125315 3/28/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30    575     2,472.50 Meeting with expert Dr. Baer.
 2125315 3/28/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575       575.00 Participating in trial team meeting.
 2125318 3/29/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   9.50    575     5,462.50 Reviewing documents.
 2125542 3/29/2016 4883 Howell, Chase       Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40    300       420.00 Conferring with K. Joshi re document review protocol.

2125542   3/29/2016 4883 Howell, Chase      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40    300      120.00 Conferring with J. Connors re document review
                                                                                                                                        protocol. Reviewing documents.
2125543   3/30/2016 4883 Howell, Chase      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    300      900.00 Reviewing documents.
2125591   3/30/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Reviewing daily email communications between all
                                                                                                                                        parties.
2125592   3/30/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    275      605.00 Continuing and finalizing review of Relativity database
                                                                                                                                        to identify Physician Orders and transcribing details of
                                                                                                                                        said orders onto Excel spreadsheet.

2125609   3/30/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   8.30     575    4,772.50 Reviewing documents.
2125674   3/21/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900    3,800.00 Attending to discovery preparation and discovery
                                                                                                                                         issues.
2125675   3/22/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900    5,700.00 Attending to discovery preparation and discovery
                                                                                                                                         issues.
2125676   3/23/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,900    7,600.00 Attending to discovery preparation and discovery
                                                                                                                                         issues.
2125677   3/24/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900    5,700.00 Attending to discovery preparation and discovery
                                                                                                                                         issues.
2125678   3/25/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   1,900    4,750.00 Attending to discovery preparation and discovery
                                                                                                                                         issues.
2125679   3/28/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900    3,800.00 Attending to discovery preparation and discovery
                                                                                                                                         issues.
2125680   3/29/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900    5,700.00 Attending to discovery preparation and discovery
                                                                                                                                         issues.
2125681   3/30/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,900   11,400.00 Conducting deposition preparation.
2125682   3/31/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900    3,800.00 Attending to discovery preparation and discovery
                                                                                                                                         issues.
2125724   3/29/2016 5326 Beard, Rebecca     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30    175       752.50 Reviewing physician orders for J. Connors.
2125726   3/30/2016 5326 Beard, Rebecca     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.60    175       805.00 Reviewing physician orders for J. Connors.
2125938   3/21/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70    175       122.50 Conferring with vendor and team re BS production re
                                                                                                                                         WebXtender documents.
2125938   3/21/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10    175       192.50 Searching privilege log correspondence for M. Musico
                                                                                                                                         and finding production post September 25, 2015 re
                                                                                                                                         same.




                                                                                               Page 28 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 30 of 111 PageID:
                                                                     19946


                                                             015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                              Fee Detail
ID      Date       Tkpr TKPR Name           Rank              Matter Matter Name                                  Hrs   Rate        Amt Narrative                                                Fees
 2125940 3/22/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20   175      385.00 Reviewing documents for missing attachments for J.
                                                                                                                                        Connors.
2125940   3/22/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.60   175      455.00 Creating exhibit chart of objections to BS's privilege
                                                                                                                                        logs for motion to compel.
2125948   3/23/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   10.40   175    1,820.00 Reviewing physician orders and adding to chart.
2125948   3/23/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.80   175      140.00 Conferring with team and vendor re witness kits.
2125949   3/24/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   10.00   175    1,750.00 Reviewing physician orders and adding to chart.
2125949   3/24/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   175      437.50 Creating deposition exhibits for B. Carmody.
2125949   3/24/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   175      175.00 Taking box of deposition exhibits to B. Carmody's
                                                                                                                                        home.
2125954   3/29/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    4.10   175      717.50 Reviewing physician orders for chart.
2125954   3/29/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   175      175.00 Reviewing clawbacks to make sure they are not in
                                                                                                                                        witness kits.
2125954   3/29/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70   175      122.50 Conferring with review team re assignments re
                                                                                                                                        physician orders.
2125958   3/30/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   175       87.50 Conferring with review team re assignments.
2125958   3/30/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.60   175      455.00 Reviewing physician orders for chart.
2125958   3/30/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20   175      385.00 Creating Hernandez deposition exhibits for B.
                                                                                                                                        Carmody.
2125958   3/30/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   175       87.50 Sending third party productions to vendor for
                                                                                                                                        uploading.
2125962   3/31/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    3.20   175      560.00 Creating deposition exhibits for B. Carmody.
2125962   3/31/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.70   175      472.50 Creating copy of hottest Chan witness kit documents
                                                                                                                                        for J. Connors and sending via FTP to N. Kustok.

2125962   3/31/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    4.80   175     840.00 Reviewing physician orders for missing information for
                                                                                                                                       chart.
2126013   3/31/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30   275      82.50 Reviewing email communications between all parties.

2126015   3/31/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70   275      192.50 Assisting review team in finalizing spreadsheet
                                                                                                                                        outlining details of Physician Orders produced by
                                                                                                                                        BSNC.
2126114   3/31/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50   575    3,737.50 Reviewing documents.
2126114   3/31/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Conducting research on motion to amend.
2126114   3/31/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Participating in trial team call.
2126117   3/21/2016 4878 Vidaurri, Aimeé    Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.30   275    2,007.50 Reviewing documents.
2126149   3/22/2016 4878 Vidaurri, Aimeé    Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.80   275    1,870.00 Reviewing documents.
2126155   3/23/2016 4878 Vidaurri, Aimeé    Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    9.60   275    2,640.00 Entering physician order data.
2126163   3/24/2016 4878 Vidaurri, Aimeé    Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.70   275    2,117.50 Entering physician order data into spreadsheet.
2126233   3/22/2016 4882 Joshi, Khushbu     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.30   325    1,397.50 Reviewing documents.
2126238   3/21/2016 4882 Joshi, Khushbu     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50   325    1,787.50 Reviewing documents.




                                                                                               Page 29 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 31 of 111 PageID:
                                                                     19947


                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                               Fee Detail
ID      Date       Tkpr TKPR Name            Rank              Matter Matter Name                                 Hrs    Rate        Amt Narrative                                              Fees
 2126251 3/23/2016 4882 Joshi, Khushbu       Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    325    2,600.00 Entering data from physicians orders into spreadsheet.

2126256   3/24/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.30    325    2,372.50 Entering data from physicians orders into spreadsheet.

2126264   3/30/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.30    325    2,697.50 Entering data from physicians orders into spreadsheet.

2126266   3/28/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00    275    1,925.00 Entering physician order data into spreadsheet.
2126267   3/29/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    325    2,600.00 Entering data from physicians orders into spreadsheet.

2126272   3/28/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    325    2,600.00 Entering data from physicians orders into spreadsheet.

2126284   3/29/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.10    275    1,952.50 Entering data for physician order spreadsheet.
2126288   3/30/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.30    275    1,457.50 Entering data for physician order spreadsheet. Making
                                                                                                                                         corrections on spreadsheet.
2126291   3/30/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.30    275      632.50 Reviewing documents.
2126299   3/31/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.30    275    1,457.50 Reviewing documents.
2126308   3/31/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    275      165.00 Making corrections to physician order spreadsheet.

2126482   3/25/2016 7781 Stanley, Joanna     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    275      825.00 Reviewing physician orders and updating chart.
2126485   3/26/2016 7781 Stanley, Joanna     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    275      275.00 Reviewing physician orders and updating chart.
2126488   3/27/2016 7781 Stanley, Joanna     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    275      825.00 Reviewing physician orders and updating chart.
2126489   3/28/2016 7781 Stanley, Joanna     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    275      275.00 Reviewing physician orders and updating chart.
2126491   3/31/2016 7781 Stanley, Joanna     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    275      275.00 Reviewing physician orders and updating chart.
2126917   3/28/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575    1,437.50 Reviewing documents.
2126917   3/28/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    575      690.00 Preparing witness kits (Gutierrez, Chavez)
2126917   3/28/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30    575    2,472.50 Retaining damages expert.
2126917   3/28/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Finalizing letter to court
2126918   3/29/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00    575    3,450.00 Preparing witness kits (Gutierrez, Chavez, Chan).
2126918   3/29/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Attending to destruction of clawed‐back documents.

2126918   3/29/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Retaining damages expert.
2126923   3/30/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   9.50    575    5,462.50 Preparing witness kits (Gutierrez, Chavez, Chan).
2126926   3/31/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    575    2,587.50 Preparing witness kits (Gutierrez, Chavez, Chan).
2126926   3/31/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    575    2,587.50 Preparing response to Boston Scientific attachment
                                                                                                                                         and privilege objections.
2126926   3/31/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Participating in team call.
2127345   3/23/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2127346   3/24/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2127351   3/25/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2127352   3/28/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2127353   3/29/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2127354   3/30/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.



                                                                                                Page 30 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 32 of 111 PageID:
                                                                     19948


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                               Fees
 2127645 3/28/2016 5329 DeGeorges, Simon    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   275    2,200.00 Reviewing documents on Relativity database and
                                                                                                                                  entering bates, patient, provider, and diagnosis code
                                                                                                                                  information from physician orders into an Excel
                                                                                                                                  spreadsheet to be combined into a master
                                                                                                                                  spreadsheet that contains information from all
                                                                                                                                  reviewers (8).
2127649   3/29/2016 5329 DeGeorges, Simon   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   275    2,200.00 Reviewing documents on Relativity database and
                                                                                                                                  entering bates, patient, provider, and diagnosis code
                                                                                                                                  information from physician orders into an Excel
                                                                                                                                  spreadsheet to be combined into a master
                                                                                                                                  spreadsheet that contains information from all
                                                                                                                                  reviewers (8).
2127668   3/30/2016 5329 DeGeorges, Simon   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.70   275    2,117.50 Reviewing documents on Relativity database and
                                                                                                                                  entering bates, patient, provider, and diagnosis code
                                                                                                                                  information from physician orders into an Excel
                                                                                                                                  spreadsheet to be combined into a master
                                                                                                                                  spreadsheet that contains information from all
                                                                                                                                  reviewers (7.2).
2127701   3/21/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   600      720.00 Conferring with trial team re physician orders and
                                                                                                                                  Medicare regulations.
2127701   3/21/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   600      480.00 Conferring with W. Mangold on telephonic
                                                                                                                                  conference.
2127701   3/21/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.20   600    4,920.00 reviewing WebXtender produciton.
2127701   3/21/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10   600      660.00 Creating protocol for WebXtender review.
2127714   3/22/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with potential experts on Medicare issues

2127714   3/22/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20   600    1,920.00 Creating protocol for WebXtender review.
2127714   3/22/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40   600    2,040.00 reviewing WebXtender produciton
2127729   3/23/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with physician order review team re coding
                                                                                                                                  project.
2127729   3/23/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   600      480.00 Conferring with potential experts on Medicare issues.

2127729   3/23/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50   600    4,500.00 Reviewing WebXtender production.
2127729   3/23/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   600      900.00 Revising draft letter to Magistrate Judge Clark.
2127804   3/24/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with physician order review team re coding
                                                                                                                                  project.
2127804   3/24/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with R. Baer.
2127804   3/24/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.40   600    5,040.00 Reviewing WebXtender production.
2127804   3/24/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with trial team on weekly call.
2127831   3/25/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   600      720.00 Revising 30(b)(6) outline.
2127831   3/25/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30   600    2,580.00 Reviewing documents.
2127831   3/25/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Preparing for meeting with R. Baer.



                                                                                          Page 31 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 33 of 111 PageID:
                                                                     19949


                                                            015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                             Fee Detail
ID      Date       Tkpr TKPR Name          Rank              Matter Matter Name                                  Hrs   Rate        Amt Narrative                                              Fees
 2127847 3/26/2016 4024 Connors, Jordan    Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20   600    1,320.00 Revising 30(b)(6) outline
 2127847 3/26/2016 4024 Connors, Jordan    Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   600    1,200.00 Conferring with W. Mangold re potential engagement
                                                                                                                                       as expert.
2127856   3/27/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50   600    4,500.00 Traveling to meeting with R. Baer and trial team and
                                                                                                                                       preparing for same.
2127860   3/28/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    4.30   600    2,580.00 Meeting with R. Baer.
2127860   3/28/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   600      600.00 Meeting with trial team.
2127860   3/28/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   600    2,400.00 Reviewing documents.
2127865   3/29/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   600    3,000.00 Returning to Seattle from meeting with R. Baer.
2127865   3/29/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20   600      720.00 Creating protocol for Certificate of Medical Necessity
                                                                                                                                       review project.
2127865   3/29/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    0.80   600      480.00 Reviewing physician orders.
2127885   3/30/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    5.30   600    3,180.00 Reviewing documents
2127885   3/30/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   600      600.00 Drafting disclosure of expert witness.
2127885   3/30/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   600      300.00 Conferring with counsel from Noridian re subpoena.

2127885   3/30/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   600      300.00 Conferring with review team re physician order review
                                                                                                                                       project.
2127885   3/30/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20   600      720.00 Researching points of law re response to BSNC letter
                                                                                                                                       re 30(b)(6) protective order.
2127894   3/31/2016 4024 Connors, Jordan   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   10.50   600    6,300.00 Attending to Physician Order review project.
2127988    4/1/2016 4883 Howell, Chase     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   300      750.00 Reviewing documents.
2127995    4/2/2016 4883 Howell, Chase     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.30   300      990.00 Reviewing documents.
2128007    4/1/2016 5328 Polanco, Rodney   Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20   275       55.00 Reviewing of daily email communications between all
                                                                                                                                       parties.
2128012    4/1/2016 5328 Polanco, Rodney   Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.40   275      385.00 Begin reviewing documents on Relativity database to
                                                                                                                                       identify Certificates of Medical Necessity per
                                                                                                                                       instructions from J. Connors and ongoing
                                                                                                                                       communication with review team re same.

2128014    4/3/2016 5328 Polanco, Rodney   Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    4.80   275    1,320.00 Continuing review of documents on Relativity
                                                                                                                                       database to identify Certificates of Medical Necessity
                                                                                                                                       and transcribing details from same to spreadsheet per
                                                                                                                                       instructions from J. Connors.
2128109    4/4/2016 4883 Howell, Chase     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   300      600.00 Reviewing documents.
2128118    4/4/2016 5328 Polanco, Rodney   Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20   275      330.00 Continuing and completing review of batch of
                                                                                                                                       documents on Relativity database to identify
                                                                                                                                       Certificates of Medical Necessity and transcribing
                                                                                                                                       details from same to spreadsheet per instructions
                                                                                                                                       from J. Connors.
2128119    4/4/2016 5328 Polanco, Rodney   Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30   275       82.50 Reviewing of daily email communications between all
                                                                                                                                       parties.



                                                                                              Page 32 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 34 of 111 PageID:
                                                                     19950


                                                             015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                              Fee Detail
ID       Date       Tkpr TKPR Name          Rank              Matter Matter Name                                 Hrs    Rate        Amt Narrative                                               Fees
 2128311   4/1/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    175      700.00 Managing Physician Order review project and
                                                                                                                                        reviewing Physician Orders.
2128311    4/1/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    175      525.00 Managing witness kit preparation project.
2128318    4/4/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80    175      490.00 Going over deposition exhibits with B. Carmody.
2128318    4/4/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    175      140.00 Creating search on database re CMS 1500 forms for M.
                                                                                                                                        Musico.
2128318    4/4/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50    175      962.50 Reviewing CMN's for chart.
2128396    4/1/2016 5329 DeGeorges, Simon   Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    275      550.00 Reviewing project instructions and Relativity files and
                                                                                                                                        creating spreadsheet with document information,
                                                                                                                                        including bates number, patient's date of birth,
                                                                                                                                        provider name, diagnosis codes, procedure planned,
                                                                                                                                        and signature date in accordance with J. Connors'
                                                                                                                                        request.
2128401    4/5/2016 4883 Howell, Chase      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    300      540.00 Reviewing documents.
2128405    4/5/2016 7875 Bruns, Mandi R.    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    175      525.00 Reviewing CMN's for chart.
2128438    4/5/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    275       82.50 Reviewing daily email communications between all
                                                                                                                                        parties.
2128446    4/5/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    275       82.50 Communicating with J. Connors and review team re
                                                                                                                                        various issues with CMN review.
2128448    4/5/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Communicating with vendor re batch tagging
                                                                                                                                        documents previously reviewed.
2128466    4/5/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.10    275      852.50 Creating chronology of documents for Lovingood and
                                                                                                                                        Phillips witnesses per instructions from M. Gervais.

2128534    4/1/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,900 11,400.00 Preparing for depositions.
2128536    4/2/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   1,900 9,500.00 Preparing for depositions.
2128607    4/6/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70     275    192.50 Reviewing and filing daily email communications
                                                                                                                                       between all parties.
2128619    4/6/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20     275     55.00 Communicating with vendor re various issues with
                                                                                                                                       database.
2128620    4/6/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     275    137.50 Retrieving various documents from Relativity database
                                                                                                                                       and forwarding same to Peninsula hotel via email per
                                                                                                                                       instructions from M. Gervais.
2128632    4/6/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80     275    770.00 Beginning review of batch of documents on Relativity
                                                                                                                                       database to identify Pre‐Authorization forms and
                                                                                                                                       similar documents and transcribing details from same
                                                                                                                                       to spreadsheet per instructions from J. Connors.

2128637    4/4/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,900 11,400.00 Preparing for depositions.
2128652    4/6/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,900 15,200.00 Traveling to Los Angeles, CA. Preparing for depositions.

2128654    4/7/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,900 11,400.00 Preparing for depositions.



                                                                                               Page 33 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 35 of 111 PageID:
                                                                     19951


                                                             015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                              Fee Detail
ID       Date       Tkpr TKPR Name          Rank              Matter Matter Name                                 Hrs     Rate      Amt Narrative                                             Fees
 2128660   4/8/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,900 15,200.00 Preparing and taking the depositions of C. Chavez and
                                                                                                                                       A. Gutierrez.
2128665    4/6/2016 4883 Howell, Chase      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50     300 1,350.00 Reviewing documents for privilege log.
2128676    4/9/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,900 11,400.00 Preparing for depositions.
2128684   4/11/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,900 11,400.00 Preparing for and taking deposition of D. La Manna.

2128687   4/13/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,900 11,400.00 Attending W. Chan deposition.
2128689   4/14/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,900 11,400.00 Preparing for W. Chan 30(b)(6) deposition.
2128692   4/16/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,900 7,600.00 Preparing for deposition.
2128699    4/6/2016 5326 Beard, Rebecca     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     175    262.50 Reviewing physician orders for J. Connors.
2128762    4/1/2016 4878 Vidaurri, Aimeé    Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30     275     82.50 Reviewing correspondence re data entry project.
2128889    4/7/2016 4883 Howell, Chase      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40     300 1,020.00 Reviewing documents.
2128901    4/7/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90     275    247.50 Reviewing and filing daily email communications
                                                                                                                                       between all parties.
2128901    4/7/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.90     275    522.50 Continuing review of new batch of documents on
                                                                                                                                       Relativity database to identify Pre‐Authorization forms
                                                                                                                                       and similar documents and transcribing details from
                                                                                                                                       same to spreadsheet per instructions from J. Connors.

2128941    4/1/2016 4024 Connors, Jordan    Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    600    1,320.00 Drafting protocol for Certificate of Medical Necessity
                                                                                                                                        coding project.
2128941    4/1/2016 4024 Connors, Jordan    Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    600      360.00 Conferring with Certificate of Medical Necessity coding
                                                                                                                                        project team.
2128941    4/1/2016 4024 Connors, Jordan    Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    600      900.00 Reviewing and editing letter to opposing counsel re
                                                                                                                                        discovery responses.
2128941    4/1/2016 4024 Connors, Jordan    Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600      600.00 Conferring with R. Baer re physician orders and
                                                                                                                                        Medicare regulations.
2128941    4/1/2016 4024 Connors, Jordan    Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    600      720.00 Reviewing documents.
2128988    4/8/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10    275      302.50 Finalizing review of selected batch of documents on
                                                                                                                                        Relativity database to identify Pre‐Authorization
                                                                                                                                        Orders and similar documents and transcribing select
                                                                                                                                        details from same to spreadsheet per instructions
                                                                                                                                        from J. Connors.
2128988    4/8/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    275      137.50 Organizing and printing various documents requested
                                                                                                                                        by M. Musico.
2128998   4/10/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60    275      440.00 Finalizing CMN/Pre‐Authorization spreadsheet per
                                                                                                                                        instructions from J. Connors.
2128998   4/10/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90    275      247.50 Preparing chronology of documents for witnesses R.
                                                                                                                                        Garcia, N. Reynaldo, M. Torres, M. Medina and B.
                                                                                                                                        Byrnes per instructions from M. Gervais.

2129003    4/1/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80    575    1,610.00 Reviewing documents.



                                                                                               Page 34 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 36 of 111 PageID:
                                                                     19952


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                  Hrs   Rate        Amt Narrative                                                Fees
 2129003   4/1/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Preparing witness files for B. Carmody.
 2129003   4/1/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.70   575    1,552.50 Conducting research re 2005 claims data.
 2129011   4/4/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   575    1,725.00 Conducting research re contention interrogatories.

2129011    4/4/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.50   575    2,587.50 Reviewing documents.
2129011    4/4/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   575      862.50 Revising and serving deposition notices.
2129012    4/5/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.80   575    3,335.00 Reviewing documents.
2129012    4/5/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Serving 30(b)(6) notices.
2129012    4/5/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.70   575      977.50 Reviewing draft filings.
2129014    4/6/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   575    3,450.00 Reviewing documents.
2129014    4/6/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20   575    1,265.00 Preparing witness files.
2129014    4/6/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.80   575      460.00 Responding to emails.
2129016    4/7/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50   575    3,737.50 Traveling to California.
2129016    4/7/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20   575      690.00 Responding to emails.
2129016    4/7/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.80   575    1,610.00 Conducting research on evidentiary rule.
2129017    4/8/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20   575    1,265.00 Traveling to and from Valencia.
2129017    4/8/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.80   575    3,335.00 Attending depositions of Chavez and Gutierrez.
2129019    4/9/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50   575    3,737.50 Traveling to New York.
2129019    4/9/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Meeting with potential witness, including travel time.

2129561   4/11/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40   275      110.00 Communicating with vendor re various issues with
                                                                                                                                   database.
2129561   4/11/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20   275      330.00 Organizing and mail documents to B. Carmody in
                                                                                                                                   anticipation of upcoming depositions per instructions
                                                                                                                                   from M. Gervais.
2129701    4/7/2016 5326 Beard, Rebecca     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   175    1,050.00 Reviewing physician orders for J. Connors.
2129710    4/8/2016 5326 Beard, Rebecca     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.50   175    1,487.50 Reviewing physician orders for J. Connors.
2129712   4/11/2016 5326 Beard, Rebecca     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.50   175    1,487.50 Reviewing physician orders for J. Connors.
2129779    4/1/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.30   575    3,622.50 Preparing witness kits (Gutierrez, Chavez, Chan).
2129779    4/1/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.70   575    2,127.50 Preparing response to BSNC attachment and privilege
                                                                                                                                   objections.
2129781    4/2/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   575    2,875.00 Preparing witness kits (Gutierrez, Chavez).
2129782    4/3/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.50   575    2,587.50 Preparing witness kits (Gutierrez, Chavez).
2129783    4/4/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.00   575    6,325.00 Preparing witness kits (Gutierrez, Chavez).
2129785    4/5/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.20   575    1,840.00 Preparing witness kits (Gutierrez, Chavez).
2129785    4/5/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Preparing for telephonic hearing.
2129785    4/5/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.30   575    3,047.50 Preparing for Chan deposition preparation.
2129787    4/6/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   575    2,300.00 Preparing for telephonic hearing.
2129787    4/6/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.50   575    2,587.50 Preparing for Chan deposition preparation.
2129787    4/6/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Attending meet and confer with opposing counsel.

2129789    4/7/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.30   575    1,897.50 Preparing for telephonic hearing.


                                                                                          Page 35 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 37 of 111 PageID:
                                                                    19953


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                  Hrs   Rate        Amt Narrative                                             Fees
 2129789   4/7/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.80   575    3,335.00 Researching claims data for Noridian subpoena.
 2129789   4/7/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.40   575    2,530.00 Preparing for Chavez, Gutierrez and Chan depositions.

2129791    4/8/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   13.00   575    7,475.00 Preparing for Chan deposition.
2129791    4/8/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   575      862.50 Reviewing Noridian subpoena.
2129793    4/9/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Preparing for Chan deposition preparation.
2129795   4/10/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   575    1,725.00 Preparing for Chan deposition preparation.
2129795   4/10/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50   575    3,737.50 Traveling to California.
2130503    4/4/2016 5329 DeGeorges, Simon   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.60   275      990.00 Reviewing Statements of Medical Necessity on
                                                                                                                                   Relativity database for patient name, date of birth,
                                                                                                                                   provider name, diagnosis codes, procedure planned,
                                                                                                                                   equipment requested, and date signed, and entering
                                                                                                                                   same into spreadsheet in accordance with J. Connors'
                                                                                                                                   request.
2130569   4/12/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40   275      110.00 Reviewing and filing daily email communications
                                                                                                                                   between all parties.
2130630    4/6/2016 5329 DeGeorges, Simon   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.20   275      880.00 Reviewing Statements of Medical Necessity on
                                                                                                                                   Relativity database for patient name, date of birth,
                                                                                                                                   provider name, diagnosis codes, procedure planned,
                                                                                                                                   equipment requested, and date signed, and entering
                                                                                                                                   same into spreadsheet in accordance with J. Connors'
                                                                                                                                   request.
2130646    4/7/2016 5329 DeGeorges, Simon   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.90   275    1,072.50 Reviewing Statements of Medical Necessity on
                                                                                                                                   Relativity database for patient name, date of birth,
                                                                                                                                   provider name, diagnosis codes, procedure planned,
                                                                                                                                   equipment requested, and date signed, and entering
                                                                                                                                   same into spreadsheet in accordance with J. Connors'
                                                                                                                                   request.
2130650    4/9/2016 5329 DeGeorges, Simon   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   275      825.00 Reviewing Statements of Medical Necessity on
                                                                                                                                   Relativity database for patient name, date of birth,
                                                                                                                                   provider name, diagnosis codes, procedure planned,
                                                                                                                                   equipment requested, and date signed, and entering
                                                                                                                                   same into spreadsheet in accordance with J. Connors'
                                                                                                                                   request.
2130651   4/10/2016 5329 DeGeorges, Simon   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   275      962.50 Reviewing Statements of Medical Necessity on
                                                                                                                                   Relativity database for patient name, date of birth,
                                                                                                                                   provider name, diagnosis codes, procedure planned,
                                                                                                                                   equipment requested, and date signed, and entering
                                                                                                                                   same into spreadsheet in accordance with J. Connors'
                                                                                                                                   request.
2130875   4/13/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.10   275      302.50 Organizing various documents per instructions from
                                                                                                                                   M. Gervais.



                                                                                          Page 36 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 38 of 111 PageID:
                                                                     19954


                                                             015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                              Fee Detail
ID       Date       Tkpr TKPR Name          Rank              Matter Matter Name                                  Hrs    Rate         Amt Narrative                                               Fees
 2130903   4/5/2016 4882 Joshi, Khushbu     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.00    325     2,275.00 Entering data from statements of medical necessity
                                                                                                                                          into spreadsheet.
2130904    4/6/2016 4882 Joshi, Khushbu     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.00    325     2,275.00 Entering data from statements of medical necessity
                                                                                                                                          into spreadsheet.
2130905    4/8/2016 4882 Joshi, Khushbu     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    325     1,950.00 Entering data from statements of medical necessity
                                                                                                                                          into spreadsheet.
2130906    4/9/2016 4882 Joshi, Khushbu     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00    325     1,625.00 Entering data from statements of medical necessity
                                                                                                                                          into spreadsheet.
2130907    4/4/2016 4882 Joshi, Khushbu     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50    325     1,787.50 Entering data from statements of medical necessity
                                                                                                                                          into spreadsheet.
2130908    4/7/2016 4882 Joshi, Khushbu     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50    325     1,787.50 Entering data from statements of medical necessity
                                                                                                                                          into spreadsheet.
2130909   4/11/2016 4882 Joshi, Khushbu     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00    325     1,625.00 Entering data from statements of medical necessity
                                                                                                                                          into spreadsheet.
2130910   4/12/2016 4882 Joshi, Khushbu     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50    325     2,112.50 Modifying and entering data from statements of
                                                                                                                                          medical necessity into spreadsheet.
2131008   4/17/2016 2901 Carmody, Bill      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,900   15,200.00 Traveling from Los Angeles to New York.
2131153    4/8/2016 4878 Vidaurri, Aimeé    Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00     275    2,200.00 Entering data for certificate of medical necessity
                                                                                                                                          documents.
2131160    4/6/2016 4878 Vidaurri, Aimeé    Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40    275       110.00 Reviewing correspondence.
2131166   4/14/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.90    275       247.50 Managing document production and filing.
2131395   4/12/2016 5326 Beard, Rebecca     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   10.50    175     1,837.50 Reviewing physician orders for J. Connors.
2131396   4/13/2016 5326 Beard, Rebecca     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    9.00    175     1,575.00 Reviewing physician orders for J. Connors.
2131397   4/14/2016 5326 Beard, Rebecca     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    9.50    175     1,662.50 Reviewing physician orders for J. Connors.
2131403   4/15/2016 5328 Polanco, Rodney    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70    275       192.50 Printing and organizing various documents per
                                                                                                                                          instructions from M. Gervais.
2131410   4/11/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.80    575     1,035.00 Reviewing documents (marketing materials/baa
                                                                                                                                          agreements).
2131412   4/12/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575     1,150.00 Preparing witness files.
2131413   4/13/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    575     3,450.00 Preparing witness files.
2131413   4/13/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50    575     3,162.50 Preparing Underwood deposition materials.
2131415   4/14/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50    575     1,437.50 Preparing witness files.
2131415   4/14/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50    575     2,012.50 Conducting document review.
2131415   4/14/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575     1,150.00 Conducting legal research.
2131417   4/15/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    4.70    575     2,702.50 Preparing witness files.
2131417   4/15/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.30    575     1,322.50 Reading deposition transcripts.
2131417   4/15/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575     1,150.00 Conducting legal research.
2131418   4/17/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    575     3,450.00 Preparing for Estrada deposition
2131418   4/17/2016 2670 Gervais, Michael   Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575       575.00 Conducting legal research.
2131468   4/11/2016 5329 DeGeorges, Simon   Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    4.90    275     1,347.50 Reviewing and assembling all exhibits for deposition of
                                                                                                                                          W. Chan in accordance with M. Musico's request.




                                                                                               Page 37 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 39 of 111 PageID:
                                                                    19955


                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                               Fee Detail
ID      Date       Tkpr TKPR Name            Rank              Matter Matter Name                                  Hrs    Rate       Amt Narrative                                               Fees
 2131472 4/11/2016 5329 DeGeorges, Simon     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.60    275     440.00 Reviewing Statements of Medical Necessity on
                                                                                                                                         Relativity database for patient name, date of birth,
                                                                                                                                         provider name, diagnosis codes, procedure planned,
                                                                                                                                         equipment requested, and date signed, and entering
                                                                                                                                         same into spreadsheet in accordance with J. Connors'
                                                                                                                                         request.
2131502   4/18/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60    275     165.00 Reviewing and filing daily email communications
                                                                                                                                         between all parties.
2131502   4/18/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.60    275     440.00 Identifying, organizing and duplicating potential
                                                                                                                                         deposition exhibits per instructions from M. Gervais.

2131620   4/11/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50    575    1,437.50 Attending La Manna deposition.
2131620   4/11/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   10.00    575    5,750.00 Preparing for Chan deposition.
2131623   4/12/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   14.50    575    8,337.50 Preparing for Chan deposition.
2131625   4/13/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   11.50    575    6,612.50 Preparing for and attending Chan deposition.
2131627   4/14/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.30    575      747.50 Conducting Chan deposition follow‐up.
2131627   4/14/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20    575      690.00 Drafting update letter to court.
2131635   4/15/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50    575    1,437.50 Identifying witnesses for deposition.
2131635   4/15/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50    575    1,437.50 Drafting update letter to court.
2131635   4/15/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Arranging court hearing.
2131639   4/17/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    7.00    575    4,025.00 Traveling to New York.
2131639   4/17/2016 4142 Musico, Mark        Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Drafting update letter to court.
2132628   4/19/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.60    175      455.00 Managing CMN review project
2132676   4/19/2016 4883 Howell, Chase       Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.30    300      690.00 Reviewing documents.
2132680   4/19/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30    275       82.50 Reviewing and filing daily email communications.

2132684   4/12/2016 5329 DeGeorges, Simon    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    3.90    275    1,072.50 Reviewing Statements of Medical Necessity on
                                                                                                                                          Relativity database for patient name, date of birth,
                                                                                                                                          provider name, diagnosis codes, procedure planned,
                                                                                                                                          equipment requested, and date signed, and entering
                                                                                                                                          same into spreadsheet in accordance with J. Connors'
                                                                                                                                          request.
2132713   4/13/2016 5329 DeGeorges, Simon    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30    275       82.50 Reviewing emails by D. LaManna, W. Chan and J.
                                                                                                                                          Phillips and assembling same for J. Connors in
                                                                                                                                          accordance with his request.
2133167   4/20/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20     275      55.00 Reviewing daily email communications.
2133192   4/20/2016 4883 Howell, Chase       Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.10     300   1,830.00 Reviewing documents.
2133221   4/18/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Preparing for deposition.
2133222   4/19/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Preparing for deposition.
2133223   4/20/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Preparing for deposition.
2133224   4/21/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050   8,400.00 Preparing for deposition.




                                                                                                Page 38 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 40 of 111 PageID:
                                                                     19956


                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                               Fee Detail
ID      Date       Tkpr TKPR Name            Rank              Matter Matter Name                                  Hrs     Rate        Amt Narrative                                             Fees
 2133225 4/22/2016 3315 Subramanian, Arun    Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   1,050    3,150.00 Attending depositions of M. Underwood and N.
                                                                                                                                           Estrada.
2133225   4/22/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   1,050    5,250.00 Traveling back to New York.
2133238   4/12/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.90     275    2,172.50 Entering data for Certificate of Medical Necessity
                                                                                                                                           spreadsheet.
2133239   4/13/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.30    275     2,282.50 Entering data for Certificate of Medical Necessity
                                                                                                                                           spreadsheet.
2133240   4/14/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.40    275     2,310.00 Entering data for Certificate of Medical Necessity
                                                                                                                                           spreadsheet.
2133242   4/11/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.40    275     2,310.00 Entering data for Certificate of Medical Necessity
                                                                                                                                           spreadsheet.
2133322   4/21/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.70    275       467.50 Continuing review of Relativity database to identify
                                                                                                                                           Certificates of Medical Necessity and transcribing
                                                                                                                                           details from same on to spreadsheet per instructions
                                                                                                                                           from J. Connors.
2133634   4/18/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,900    3,800.00 Attending to discovery issues.
2133635   4/19/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,900    3,800.00 Attending to discovery issues.
2133637   4/20/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,900    3,800.00 Attending to discovery issues and preparing for
                                                                                                                                           deposition.
2133641   4/21/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,900    3,800.00 Preparing and attending telephone hearing with court.

2133641   4/21/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,900    3,800.00 Attending to discovery issues.
2133646   4/22/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,900    7,600.00 Attending to discovery issues.
2133718   4/22/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.40     275      660.00 Continuing review of Relativity database to identify
                                                                                                                                           Certificates of Medical Necessity and transcribing
                                                                                                                                           details from same on to spreadsheet per instructions
                                                                                                                                           from J. Connors.
2133813   4/18/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   10.00    575     5,750.00 Preparing for Estrada and O'Neil depositions
2133813   4/18/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575       575.00 Participating in trial team meeting.
2133814   4/19/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    8.50    575     4,887.50 Drafting O'Neil deposition file and outline.
2133814   4/19/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50    575     2,012.50 Conducting document review.
2133818   4/20/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    8.50    575     4,887.50 Drafting O'Neil deposition file and outline.
2133818   4/20/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50    575     1,437.50 Conferring by phone with J. Connors re 30(b)(6).
2133819   4/21/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50    575     3,737.50 Drafting O'Neil deposition file and outlines.
2133819   4/21/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    575       862.50 Participating in telephonic hearing.
2133819   4/21/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00    575     1,725.00 Conducting document review.
2133833   4/22/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   13.50    575     7,762.50 Preparing for O'Neil deposition
2134076   4/25/2016 4883 Howell, Chase       Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50    300     2,250.00 Reviewing documents.
2134110    4/2/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40    600       240.00 Conferring with counsel for Noridian.
2134110    4/2/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    600       300.00 Conferring with R. Baer re BSNC physician order
                                                                                                                                           template.




                                                                                                Page 39 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 41 of 111 PageID:
                                                                     19957


                                                     015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                      Fee Detail
ID       Date       Tkpr TKPR Name         Rank       Matter Matter Name                                 Hrs   Rate        Amt Narrative                                                 Fees
 2134110   4/2/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Drafting response to letter motion for protective
                                                                                                                               order.
2134110    4/2/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40   600    1,440.00 Reviewing Medicare rules and regulations.
2134110    4/2/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40   600    1,440.00 Reviewing claims data produced by Noridian.
2134111    4/3/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.90   600    3,540.00 Drafting response to letter motion for protective
                                                                                                                               order.
2134111    4/3/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   600      720.00 Conferring with counsel from Noridian re subpoena.

2134112    4/4/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10   600      660.00 Conferring with B. Carmody re prep for depositions of
                                                                                                                               Boston Scientific billing team.
2134112    4/4/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40   600    2,040.00 Reviewing documents re questions on certification.

2134112    4/4/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   600    1,200.00 Revising response to Boston Scientific letter re
                                                                                                                               protective order.
2134112    4/4/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80   600    2,280.00 Preparing for deposition of BSNC corporate
                                                                                                                               representative.
2134113    4/5/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30   600    2,580.00 Reviewing documents.
2134113    4/5/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   600    2,400.00 Preparing for deposition of Boston Scientific corporate
                                                                                                                               representative.
2134113    4/5/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10   600      660.00 Revising response to Boston Scientific letter re
                                                                                                                               protective order.
2134114    4/6/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with R. Baer re Boston Scientific claims
                                                                                                                               data.
2134114    4/6/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.30   600    5,580.00 Preparing for deposition of Boston Scientific corporate
                                                                                                                               representative.
2134115    4/7/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with R. Baer re Boston Scientific claims
                                                                                                                               data.
2134115    4/7/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   600    4,800.00 Preparing for deposition of Boston Scientific corporate
                                                                                                                               representative.
2134115    4/7/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   600      720.00 Drafting second subpoena to Noridian.
2134115    4/7/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30   600      780.00 Drafting outline of case.
2134116    4/8/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.80   600    3,480.00 Preparing for deposition of Boston Scientific corporate
                                                                                                                               representative.
2134116    4/8/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60   600    1,560.00 Drafting outline of case.
2134118    4/9/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60   600    1,560.00 Researching point of law re verbal orders under
                                                                                                                               Medicare rules.
2134118    4/9/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with R. Baer re deposition of Boston
                                                                                                                               Scientific corporate representative.
2134119   4/10/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   600    2,400.00 Researching point of law re verbal orders under
                                                                                                                               Medicare rules.
2134119   4/10/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with B. Carmody re preparation for
                                                                                                                               deposition of D. LaManna.



                                                                                       Page 40 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 42 of 111 PageID:
                                                                     19958


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID      Date       Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                               Fees
 2134122 4/11/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60   600    2,160.00 Preparing for deposition of Boston Scientific corporate
                                                                                                                                 representative.
2134123   4/11/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.20   600    2,520.00 Traveling to California for deposition of corporate
                                                                                                                                 representative of Boston Scientific and preparing for
                                                                                                                                 same.
2134126   4/12/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.60   600    5,160.00 Preparing for deposition of Boston Scientific corporate
                                                                                                                                 representative.
2134126   4/12/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with B. Carmody re same.
2134128   4/13/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.60   600    4,560.00 Preparing for deposition of Boston Scientific corporate
                                                                                                                                 representative.
2134128   4/13/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   600    3,600.00 Attending deposition of W. Chan.
2134129   4/14/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30   600    1,980.00 Preparing for deposition of Boston Scientific corporate
                                                                                                                                 representative.
2134129   4/14/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.10   600    5,460.00 Taking deposition of Boston Scientific corporate
                                                                                                                                 representative.
2134130   4/15/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60   600    1,560.00 Returning from deposition of Boston Scientific
                                                                                                                                 corporate representative.
2134130   4/15/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   600      720.00 Reviewing documents.
2134131   4/15/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60   600      960.00 Summarizing admissions from corporate
                                                                                                                                 representative deposition
2134131   4/15/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with physician order review team.
2134131   4/15/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90   600      540.00 Reviewing documents.
2134247   4/25/2016 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40   275      935.00 Beginning review of CM‐1500 documents to identify
                                                                                                                                 any health insurance claims forms dated 2007 or prior
                                                                                                                                 per instructions from M. Musico.
2134251   4/22/2016 5326 Beard, Rebecca    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   175    1,050.00 Reviewing physician orders for J. Connors.
2134252   4/25/2016 5326 Beard, Rebecca    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   175    1,400.00 Reviewing physician orders for J. Connors.
2134373   4/18/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Drafting update letter to court.
2134373   4/18/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Participating in meet and confer on privilege issues.

2134373   4/18/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   575    4,025.00 Conducting legal research re spoliation and spousal
                                                                                                                                 privileges.
2134385   4/19/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Conducting claims data research.
2134385   4/19/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Preparing discovery argument.
2134385   4/19/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Drafting letters to court.
2134390   4/20/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Drafting letter to court.
2134390   4/20/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50   575    3,162.50 Preparing discovery argument.
2134394   4/21/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50   575    3,162.50 Preparing for hearing.
2134394   4/21/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Drafting letter to court.
2134404   4/22/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Conducting research re claims data.
2134405   4/23/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Conducting research re claims data.




                                                                                         Page 41 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 43 of 111 PageID:
                                                                     19959


                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                               Fee Detail
ID      Date       Tkpr TKPR Name            Rank              Matter Matter Name                                 Hrs    Rate       Amt Narrative                                            Fees
 2134545 4/20/2016 7875 Bruns, Mandi R.      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    175      52.50 Corresponding with J. Connors re password for
                                                                                                                                        Noridian production. Conferring with vendor re same.

2134545   4/20/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40    175      70.00 Reviewing and saving emails.
2134548   4/21/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    175     210.00 Pulling and preparing deposition exhibits for M.
                                                                                                                                        Gervais.
2134548   4/21/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.90    175     857.50 ReviewingCMN's for chart.
2134555   4/22/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    175     210.00 Reviewing CMN's for chart. Reviewing and saving
                                                                                                                                        emails.
2134581   4/25/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.40    175     770.00 Reviewing CMN's and adding to chart. Conferrting with
                                                                                                                                        J. Connors and team re update re CMN's. Reviewing
                                                                                                                                        and saving emails.
2135033   4/26/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    275     962.50 Continuing and completing review of CM‐1500
                                                                                                                                        documents to identify any pre‐2007 health insurance
                                                                                                                                        claims and communicating with trial team re same.

2135067   4/26/2016 5329 DeGeorges, Simon    Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   5.90    275    1,622.50 Reviewing Certificates of Medical Necessity on
                                                                                                                                         Relativity database and entering information from
                                                                                                                                         same into spreadsheet in accordance with J. Connors'
                                                                                                                                         request.
2135106   4/26/2016 4883 Howell, Chase       Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    300    1,050.00 Reviewing documents.
2135478   4/27/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40    275      385.00 Reviewing identify any direct communications with M.
                                                                                                                                         Underwood and ongoing communications with M.
                                                                                                                                         Bruns and C. DaCosta re same.

2135526   4/23/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50   1,050 3,675.00 Traveling back to New York.
2135526   4/23/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,050    525.00 Attending call with Mark Underwood.
2135527   4/25/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050 4,200.00 Reviewing discovery.
2135528   4/26/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050 4,200.00 Reviewing discovery.
2135529   4/27/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050 4,200.00 Reviewing discovery.
2135571   4/25/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,900 7,600.00 Preparing and attending deposition of E. O'Neil.
2135572   4/26/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,900 7,600.00 Preparing and attending deposition of E. O'Neil.
2135574   4/27/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,900 15,200.00 Traveling from Los Angeles to New York.
2135640   4/26/2016 5326 Beard, Rebecca      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00     175    525.00 Reviewing physician orders for J. Connors.
2135734   4/28/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40     275    110.00 Reviewing daily email communications.
                                                                                                                                        Communicating with M. Bruns and M. Gervais re
                                                                                                                                        preparing hot chronology.
2135952   4/27/2016 4883 Howell, Chase       Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.90     300 1,170.00 Reviewing documents in response to the discovery
                                                                                                                                        request.




                                                                                                Page 42 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 44 of 111 PageID:
                                                                     19960


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                           Fees
 2135963 4/27/2016 5329 DeGeorges, Simon    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    275    1,237.50 Reviewing Certificates of Medical Necessity and
                                                                                                                                   updating spreadsheet with same to include patient
                                                                                                                                   name, provider name, diagnosis codes and equipment
                                                                                                                                   information in accordance with J. Connors' request.

2135985   4/29/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    275     330.00 Searching for various documents requested by B.
                                                                                                                                  Carmody.
2135985   4/29/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40    275     660.00 Reviewing opposing counsel's in‐camera workbook log
                                                                                                                                  to pair documents identified therein with documents
                                                                                                                                  that were recently produced. Communicating with
                                                                                                                                  M.Bruns and M. Musico re same.

2136177   4/23/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00     575   5,175.00 Finalizing 30(b)(6) deposition outline and file.
2136177   4/23/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     575   1,150.00 Reviewing deposition testimony.
2136181   4/24/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50     575   3,737.50 Traveling to California.
2136181   4/24/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50     575   2,012.50 Preparing for deposition.
2136205   4/25/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Traveling to deposition
2136205   4/25/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00     575   2,875.00 Preparing for deposition
2136205   4/25/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50     575   2,012.50 Attending deposition
2136207   4/26/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575     862.50 Traveling to and from Valencia.
2136207   4/26/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00     575   3,450.00 Attending corporate representative deposition.
2136213   4/27/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50     575   4,312.50 Traveling to New York.
2136213   4/27/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Reviewing interrogatories.
2136221   4/28/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00     575   1,725.00 Attending to status issues.
2136221   4/28/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Participating in trial team call.
2136326   4/25/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575     287.50 Revising letter to court.
2136326   4/25/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Conducting claims data research.
2136330   4/26/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575     862.50 Reviewing privilege log.
2136343   4/27/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575     862.50 Reviewing privilege log.
2136348   4/28/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00     575   1,725.00 Reviewing privilege log and production.
2136348   4/28/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50     575   1,437.50 Conducting legal research re theories of falsity.
2136348   4/28/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Attending meeting re case strategy.
2136350   4/29/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70     575   1,552.50 Preparing privilege response.
2136350   4/29/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.80     575   3,335.00 Preparing discovery argument.
2136354    5/1/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20     575   1,265.00 Drafting privilege issues outline.
2136354    5/1/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80     575   1,035.00 Preparing discovery argument.
2136493   4/28/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to discovery and status issues.
2136493   4/28/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Reviewing documents.
2136500   4/29/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Attending to status issues.
2136500   4/29/2016 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900   5,700.00 Preparing for upcoming hearing.
2136825   4/16/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20     600     720.00 Summarizing admissions from corporate
                                                                                                                                   representative deposition



                                                                                          Page 43 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 45 of 111 PageID:
                                                                     19961


                                                     015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                      Fee Detail
ID      Date       Tkpr TKPR Name          Rank       Matter Matter Name                                 Hrs   Rate        Amt Narrative                                               Fees
 2136825 4/16/2016 4024 Connors, Jordan    Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30   600      180.00 Conferring with physician order review team.
 2136825 4/16/2016 4024 Connors, Jordan    Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10   600    1,260.00 Reviewing documents.
 2136881 4/17/2016 4024 Connors, Jordan    Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80   600    1,680.00 Drafting response to letter re interrogatory responses.

2136885   4/18/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.70   600    2,820.00 Drafting response to letter re interrogatory responses.

2136885   4/18/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60   600    2,160.00 Researching points of law re marital privilege.
2136885   4/18/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   600      720.00 Conferring with physician order review team.
2136898   4/19/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70   600    1,620.00 Revising response to letter re interrogatory responses.

2136898   4/19/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.60   600    5,160.00 Reviewing documents for hot document chronology.

2136939   4/20/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   600    1,500.00 Conferring with M. Gervais re 30(b)(6) deposition
                                                                                                                               outline.
2136939   4/20/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30   600    2,580.00 Drafting outline for hearing before magistrate judge.

2137016   4/21/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   600      900.00 Attending telephonic hearing with court re discovery
                                                                                                                               motions.
2137016   4/21/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with trial team re court hearing.
2137016   4/21/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.90   600    2,340.00 Revising response to BSNC letter re interrogatory 23.

2137048   4/22/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20   600    1,320.00 Reviewing documents re claims data.
2137048   4/22/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80   600    1,080.00 Reviewing documents for hot document chronology.

2137050   4/23/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   600      900.00 Reviewing 30(b)(6) outline for deposition of E. O'Neil.
                                                                                                                               Conferring with M. Gervais re same.
2137050   4/23/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70   600    1,620.00 Reviewing documents re claims data query.
2137072   4/24/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   600      720.00 Reviewing 30(b)(6) outline for deposition of E. O'Neil.
                                                                                                                               Conferring with M. Gervais re same.
2137072   4/24/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20   600    1,320.00 Reviewing documents re claims data query.
2137084   4/25/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.20   600    2,520.00 Reviewing documents re claims data query.
2137084   4/25/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   600      900.00 Revising query to Noridian re claims data.
2137084   4/25/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80   600    1,680.00 Drafting outline re 30(b)(6) topics on terminating and
                                                                                                                               promoting employees in billing department.
2137098   4/26/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with counsel for Noridian re subpoena.

2137098   4/26/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   600    4,200.00 Reviewing Noridian data and CMS 1500 forms.
2137098   4/26/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   600      720.00 Revising response to BSNC letter re Relators'
                                                                                                                               responses to interrogatories.
2137099   4/27/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80   600    1,080.00 Conferring with M. Bruns re customer file deep dive.

2137099   4/27/2016 4024 Connors, Jordan   Partner    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.10   600    1,860.00 Drafting letter to Court re missing claims data.



                                                                                       Page 44 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 46 of 111 PageID:
                                                                     19962


                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                               Fee Detail
ID      Date       Tkpr TKPR Name            Rank              Matter Matter Name                                 Hrs    Rate        Amt Narrative                                                Fees
 2137099 4/27/2016 4024 Connors, Jordan      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30    600    1,980.00 Reviewing documents re R. Baer report outline.
 2137103 4/28/2016 4024 Connors, Jordan      Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600      600.00 Updating task list. Conferring with trial team on weekly
                                                                                                                                         call.
2137103   4/28/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    600      780.00 Reviewing documents for expert report outline.
2137592   4/27/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50    325    2,112.50 Entering data from statements of medical necessity
                                                                                                                                         into spreadsheet.
2137695   4/26/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    325      650.00 Entering data from statements of medical necessity
                                                                                                                                         into spreadsheet.
2137708   4/26/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40    175      595.00 Reviewing CMN's for chart.
2137708   4/26/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    175      140.00 Downloading depositions and uploading to imanage
                                                                                                                                         and sharefile for expert.
2137708   4/26/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    175      175.00 Searching database for missing document. Conferring
                                                                                                                                         with vendor re same.
2137741   4/27/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    175      210.00 Indexing boxes from Blank Rome for off‐site storage.

2137741   4/27/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40    175      420.00 Reviewing CMN's for spreadsheet.
2137761   4/28/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    175      262.50 Downloading production from BSNC and creating hard
                                                                                                                                         copies for B. Carmody and M. Musico. Conferring with
                                                                                                                                         vendor re same.
2137761   4/28/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    175      175.00 Conferring with M. Gervais re hot document
                                                                                                                                         chronology.
2137761   4/28/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70    175      472.50 Combining Noridian data onto one spreadsheet for J.
                                                                                                                                         Connors.
2137770   4/29/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50     175     787.50 Managine document productions
2137858   4/28/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Reviewing discovery.
2137859   4/29/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Reviewing discovery.
2137994   4/27/2016 4878 Vidaurri, Aimeé     Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.90     275   1,622.50 Entering certificate of medical necessity data.
2138335    5/2/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     275     412.50 Managing document production and filing.
2138531    5/3/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     275     412.50 Managing document production and filing.
2138614    5/3/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60     175     280.00 Managing document production and filing.
2138616    5/4/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50     175     437.50 Finalizing SG hot document chronology and sending to
                                                                                                                                         J. Connors and M. Gervais.
2138652    5/4/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    275      220.00 Receiving and uploading documents received by
                                                                                                                                         Noridian to sharefile link for experts and
                                                                                                                                         troubleshooting various issues pertaining to same.

2138788    5/5/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40    275      110.00 Revising documents placed on sharefile for expert
                                                                                                                                         review.
2138868    5/2/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Editing depositions for video‐mediation.
2138868    5/2/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Attending to status issues.
2138869    5/3/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Editing depositions for video‐mediation.
2138869    5/3/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Attending to status issues.



                                                                                                Page 45 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 47 of 111 PageID:
                                                                     19963


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs     Rate        Amt Narrative                                              Fees
 2138870   5/4/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20   1,900    4,180.00 Editing depositions for video‐mediation.
 2138870   5/4/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80   1,900    3,420.00 Attending to status issues.
 2138871   5/5/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   1,900    9,500.00 Attending to status issues.
 2138872   5/6/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   1,900    9,500.00 Attending to status issues.
 2138896   5/6/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20     275       55.00 Reviewing daily email communications.
 2139202   5/2/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575      862.50 Participating in telephonic hearing.
 2139202   5/2/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575      575.00 Attending post hearing trial team meeting.
 2139202   5/2/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     575    1,150.00 Drafting hot chronology.
 2139205   5/3/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575      575.00 Drafting hot chronology.
 2139205   5/3/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575      575.00 Attending to status issues.
 2139207   5/4/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     575    1,150.00 Conducting research.
 2139210   5/6/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00     575    1,725.00 Conducting research and sending email re appeal
                                                                                                                                     issues.
2139210    5/6/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575     1,150.00 Reviewing deposition videos.
2139216    5/7/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00    575     4,025.00 Reviewing deposition videos. Conducting targeted
                                                                                                                                     searches re videos.
2139302    5/5/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    175       350.00 Conferring with team re deposition videos. Burning
                                                                                                                                     DVD's of same for J. Connors. Uploading same to
                                                                                                                                     sharefile.
2139302    5/5/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    175       210.00 J. Connors re upcoming project with Dr. Baer. Updating
                                                                                                                                     files on sharefile for experts.
2139327    5/6/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10    175       192.50 Attending to deep dive medical review project.
2139342    5/9/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275        55.00 Reviewing email communications.
2139512    5/2/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575       862.50 Preparing for and attending discovery argument.
2139512    5/2/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    575     2,012.50 Responding to discovery order.
2139520    5/3/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575       575.00 Negotiating discovery schedule.
2139520    5/3/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575       862.50 Preparing letter to magistrate.
2139528    5/4/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575       575.00 Conducting research re claims data.
2139528    5/4/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575       575.00 Reviewing deposition testimony.
2139532    5/5/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575     1,725.00 Conduct research re claims data.
2139534    5/6/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575     1,725.00 Conducting research re claims data.
2139534    5/6/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575       575.00 Conferring with opposing counsel re discovery order.

2139534    5/6/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575      862.50 Reviewing La Manna deposition video.
2139535    5/8/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00     575    2,875.00 Reviewing La Manna and Chan deposition videos.
2140053    5/2/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,050    6,300.00 Preparing for depositions.
2140053    5/2/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050    2,100.00 Reviewing discovery.
2140054    5/3/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   1,050    6,825.00 Preparing for depositions.
2140054    5/3/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,050    1,575.00 Reviewing discovery.
2140055    5/4/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.30   1,050    6,615.00 Preparing for depositions.
2140055    5/4/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70   1,050    1,785.00 Reviewing discovery.
2140056    5/5/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.20   1,050    7,560.00 Preparing for depositions.



                                                                                           Page 46 of 155
                                     Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 48 of 111 PageID:
                                                                        19964


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs     Rate        Amt Narrative                                             Fees
 2140056   5/5/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   1,050      840.00 Reviewing discovery.
 2140057   5/6/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   1,050    6,825.00 Preparing for depositions.
 2140057   5/6/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,050    1,575.00 Reviewing discovery.
 2140059   5/7/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   1,050    7,350.00 Preparing for depositions.
 2140059   5/7/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,050    1,050.00 Reviewing discovery.
 2140314 5/10/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20     275      880.00 Attending to deep dive medical review project.
 2140515 5/11/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.70     275    1,017.50 Attending to deep dive medical review project.
 2140706   5/9/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900    1,900.00 Editing depositions for mediation videotape.
 2140706   5/9/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900    5,700.00 Attending to status issues.
 2140707 5/10/2016 2901 Carmody, Bill        Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900    1,900.00 Editing depositions for mediation videotape.
 2140707 5/10/2016 2901 Carmody, Bill        Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,900    7,600.00 Attending to status issues.
 2140708 5/11/2016 2901 Carmody, Bill        Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900    5,700.00 Editing depositions for mediation videotape.
 2140708 5/11/2016 2901 Carmody, Bill        Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900    5,700.00 Attending to status issues.
 2140709 5/12/2016 2901 Carmody, Bill        Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900    3,800.00 Editing depositions for mediation videotape.
 2140709 5/12/2016 2901 Carmody, Bill        Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900    5,700.00 Attending to status issues.
 2140833 5/12/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20     275      605.00 Continuing review of Relativity database to determine
                                                                                                                                     if documents produced by BSNC correlate to
                                                                                                                                     information subpoenaed from Noridian per
                                                                                                                                     instructions from J. Connors and ongoing
                                                                                                                                     communication with review team re same.

2141156   5/13/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10    275       577.50 Attending to deep dive medical review project.
2141166   5/12/2016 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00    175     1,575.00 Reviewing physician orders for J. Connors.
2141167   5/13/2016 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    175     1,312.50 Reviewing physician orders for J. Connors.
2141876   5/13/2016 5330 Tan, Joel           Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.50    270     2,295.00 Reviewing for patients medical records. Coding same
                                                                                                                                     onto Relativity database and updating spreadsheet,
                                                                                                                                     Customer Deep Dive Claims Data.
2141877   5/12/2016 5330 Tan, Joel           Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.50    270     2,565.00 Reviewing for patients medical records. Coding same
                                                                                                                                     onto Relativity database and updating spreadsheet,
                                                                                                                                     Customer Deep Dive Claims Data.
2141879   5/16/2016 5330 Tan, Joel           Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    270     2,160.00 Reviewing of patients from database and coding
                                                                                                                                     Relativity database and spreadsheet accordingly.
2141895   5/16/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    275       330.00 Attending to deep dive medical review project.
2141901    5/2/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    600     2,400.00 Drafting outline for hearing on discovery issues.
2141901    5/2/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    600       900.00 Attending telephonic hearing on discovery issues.

2141901    5/2/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80    600     2,280.00 Reviewing documents
2141902    5/3/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    600     1,200.00 Drafting protocol for BSNC customer information deep
                                                                                                                                     dive.
2141902    5/3/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600       600.00 Conferring with R. Baer re BSNC customer information
                                                                                                                                     deep dive.




                                                                                           Page 47 of 155
                                     Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 49 of 111 PageID:
                                                                        19965


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                                Fees
 2141902   5/3/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00    600    1,800.00 Drafting proposed responses to BSNC re discovery
                                                                                                                                     issues.
2141902    5/3/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50    600    2,100.00 Reviewing documents re Medicare enrollment
                                                                                                                                     application and NSC numbers.
2141904    5/4/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   10.60    600    6,360.00 Attending to deep dive medical review project.
2141905    5/5/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    9.20    600    5,520.00 Attending to deep dive medical review project.
2141906    5/6/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.60    600    5,160.00 Attending to deep dive medical review project.
2142078    5/9/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00    575    2,875.00 Reviewing La Manna and Chan deposition videos.
2142087   5/10/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    575      862.50 Reviewing Chan deposition video.
2142098   5/11/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Reviewing magistrate ruling and preparing magistrate
                                                                                                                                     appeal.
2142102   5/12/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Conducting claims data research.
2142102   5/12/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Attending to discovery dispute.
2142108   5/15/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    575      862.50 Preparing for rescheduled 30(b)(6) depositions.
2142188    5/9/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Conducting research. Responding to emails.
2142193   5/12/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    575      287.50 Participating in weekly call.
2142193   5/12/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    575      862.50 Conducting targeted searches.
2142199   5/16/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00    575    2,300.00 Reviewing documents.
2142201   5/16/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00    575    1,725.00 Conducting research.
2142201   5/16/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575    1,150.00 Drafting email re appeal.
2142210   5/11/2016 5330 Tan, Joel           Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50    270    1,755.00 Reviewing for patients medical records. Coding same
                                                                                                                                     onto Relativity database and updating spreadsheet,
                                                                                                                                     Customer Deep Dive Claims Data.
2142218   5/10/2016 5330 Tan, Joel           Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.30    270      891.00 Reviewing for patients medical records. Coding same
                                                                                                                                     onto Relativity database and updating spreadsheet,
                                                                                                                                     Customer Deep Dive Claims Data.
2142266   5/10/2016 5327 Vedenina, Alisa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.70    150    1,005.00 Assisting J. Connors and M. Bruns in reviewing claims.

2142272   5/12/2016 5327 Vedenina, Alisa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    150    1,200.00 Assisting J. Connors and M. Bruns in reviewing claims.

2142274   5/13/2016 5327 Vedenina, Alisa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    150    1,200.00 Assisting J. Connors and M. Bruns in reviewing claims.

2142635   5/12/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.00    275    1,925.00 Reviewing instructions to review documents in
                                                                                                                                     database. Reviewing and tagging documents in
                                                                                                                                     database and updating excel spreadsheet.
2142636   5/13/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50    275    2,062.50 Assisting J. Connors and M. Bruns in reviewing claims.

2142904   5/13/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.70   1,900 5,130.00 Editing depositions for mediation videotape
2142904   5/13/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.30   1,900 4,370.00 Attending to status issues.
2142907   5/16/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   1,900 11,400.00 Attending to status issues.
2142920   5/18/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   1,900 5,700.00 Editing mediation videotape.
2142928   5/19/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,900 15,200.00 Editing mediation videotape.



                                                                                           Page 48 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 50 of 111 PageID:
                                                                     19966


                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                               Fee Detail
ID       Date       Tkpr TKPR Name           Rank              Matter Matter Name                                 Hrs    Rate       Amt Narrative                                            Fees
 2142935   5/9/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    175     385.00 Attending to deep dive medical review project.
 2142940 5/10/2016 7875 Bruns, Mandi R.      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30    175     577.50 Attending to deep dive medical review project.
 2142943 5/11/2016 7875 Bruns, Mandi R.      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   5.20    175     910.00 Attending to deep dive medical review project.
 2142955 5/12/2016 7875 Bruns, Mandi R.      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    175     437.50 Conferring with review team re questions on customer
                                                                                                                                        file deep dive project. Reviewing claims re same.

2142958   5/13/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30    175     752.50 Uploading materials for Dr. Green. Reviewing claims
                                                                                                                                        for customer deep dive project. Conferring with review
                                                                                                                                        team re questions on instructions.

2142967   5/16/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    175      140.00 Reviewing claims for customer deep dive project.
                                                                                                                                         Reviewing and saving emails.
2142978   5/17/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    175      350.00 Attending to deep dive medical review project.
2143019   5/17/2016 5330 Tan, Joel           Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    270    1,080.00 Reviewing for patients medical records. Coding same
                                                                                                                                         onto Relativity database and updating spreadsheet,
                                                                                                                                         Customer Deep Dive Claims Data.
2143107   5/11/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    325      975.00 Reviewing documents and entering data for customer
                                                                                                                                         file deep dive project.
2143109   5/12/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    325    2,437.50 Reviewing documents and entering data for customer
                                                                                                                                         file deep dive project.
2143111   5/13/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    325    2,437.50 Reviewing documents and entering data for customer
                                                                                                                                         file deep dive project.
2143215    5/9/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Conducting claims analysis.
2143216   5/10/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Conducting claims analysis.
2143217   5/11/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Conducting claims analysis.
2143218   5/12/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Conducting claims analysis.
2143219   5/13/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Conducting claims analysis.
2143227   5/16/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Conducting claims analysis.
2143228   5/17/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Conducting claims analysis.
2143549   5/20/2016 5330 Tan, Joel           Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50     270   2,025.00 Reviewing for patients medical records. Coding same
                                                                                                                                         onto Relativity database and updating spreadsheet,
                                                                                                                                         Customer Deep Dive Claims Data.
2143561   5/20/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   1,900   4,750.00 Preparing for upcoming depositions.
2143561   5/20/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to status issues.
2143561   5/20/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   1,900   4,750.00 Reviewing documents.
2143624   5/16/2016 5326 Beard, Rebecca      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   7.80     175   1,365.00 Reviewing physician orders for J. Connors.
2143630   5/17/2016 5326 Beard, Rebecca      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00     175   1,400.00 Reviewing physician orders for J. Connors.
2143631   5/18/2016 5326 Beard, Rebecca      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   8.40     175   1,470.00 Reviewing physician orders for J. Connors.
2143634   5/19/2016 5326 Beard, Rebecca      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00     175   1,400.00 Reviewing physician orders for J. Connors.
2143637   5/20/2016 5326 Beard, Rebecca      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00     175   1,400.00 Reviewing physician orders for J. Connors.
2143665   5/18/2016 2670 Gervais, Michael    Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50     575   1,437.50 Conducting research for appeal and drafting same.




                                                                                                Page 49 of 155
                                     Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 51 of 111 PageID:
                                                                        19967


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                               Fees
 2143669 5/19/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Drafting appeal.
 2143670 5/20/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.50   575    5,462.50 Drafting appeal.
 2143675 5/21/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Reviewing documents and chronology.
 2143677 5/22/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Reviewing documents and chronology.
 2144175 5/16/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50   575    3,162.50 Conducting legal research re penalties, legal falsehood
                                                                                                                                   and claims data.
2144194   5/18/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Preparing for 30(b)(6) depositions.
2144196   5/19/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Preparing for 30(b)(6) depositions.
2144196   5/19/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Researching counterclaims.
2144198   5/20/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   575    2,875.00 Preparing for 30(b)(6) depositions.
2144198   5/20/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   575    1,437.50 Researching counterclaims.
2144201   5/21/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Preparing for 30(b)(6) depositions.
2144576   5/23/2016 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.80   175    1,540.00 Reviewing physician orders for J. Connors.
2144656   5/16/2016 5327 Vedenina, Alisa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   150    1,200.00 Assisting J. Connors and M. Bruns in reviewing claims.

2144658   5/17/2016 5327 Vedenina, Alisa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   150    1,200.00 Assisting J. Connors and M. Bruns in reviewing claims.

2144659   5/18/2016 5327 Vedenina, Alisa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   150    1,200.00 Assisting J. Connors and M. Bruns in reviewing claims.

2144660   5/19/2016 5327 Vedenina, Alisa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   150    1,200.00 Assisting J. Connors and M. Bruns in reviewing claims.

2144661   5/20/2016 5327 Vedenina, Alisa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   150    1,200.00 Assisting J. Connors and M. Bruns in reviewing claims.

2144824   5/23/2016 5330 Tan, Joel           Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   270    2,160.00 Reviewing for patients medical records. Coding same
                                                                                                                                   onto Relativity database and updating spreadsheet,
                                                                                                                                   Customer Deep Dive Claims Data.
2144825   5/24/2016 5330 Tan, Joel           Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.80   270    1,836.00 Reviewing for patients medical records. Coding same
                                                                                                                                   onto Relativity database and updating spreadsheet,
                                                                                                                                   Customer Deep Dive Claims Data.
2144846   5/16/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50   275    2,062.50 Reviewing and tagging documents in database and
                                                                                                                                   updating excel spreadsheet.
2144847   5/17/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50   275    2,062.50 Reviewing and tagging documents in database and
                                                                                                                                   updating excel spreadsheet.
2144848   5/18/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50   275    2,062.50 Reviewing and tagging documents in database and
                                                                                                                                   updating excel spreadsheet.
2144849   5/19/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50   275    2,062.50 Reviewing and tagging documents in database and
                                                                                                                                   updating excel spreadsheet.
2144850   5/20/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50   275    2,062.50 Reviewing and tagging documents in database.
                                                                                                                                   Updating excel spreadsheet.
2144955   5/18/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70   175      122.50 Attending to deep dive medical review project.
2145000   5/19/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10   175      367.50 Attending to deep dive medical review project.




                                                                                           Page 50 of 155
                                     Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 52 of 111 PageID:
                                                                        19968


                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                               Fee Detail
ID      Date       Tkpr TKPR Name            Rank              Matter Matter Name                                 Hrs    Rate         Amt Narrative                                              Fees
 2145043 5/20/2016 7875 Bruns, Mandi R.      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90    175       157.50 Reviewing claims for customer deep dive project.
                                                                                                                                          Reviewing and saving emails.
2145196   5/25/2016 5330 Tan, Joel           Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   7.80    270     2,106.00 Reviewing of patients from database and coding
                                                                                                                                          Relativity database and spreadsheet accordingly.
2145199   5/24/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   7.20    175     1,260.00 Attending to deep dive medical review project.
2145199   5/24/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    175       140.00 Scheduling court reporter and videographer for
                                                                                                                                          deposition of M. Burns.
2145206   5/23/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    175     1,312.50 Attending to deep dive medical review project.
2145215   5/25/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   5.90    175     1,032.50 Attending to deep dive medical review project.
2145222   5/25/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    275        82.50 Reviewing of file for various documents requested by
                                                                                                                                          J. Connors.
2145381   5/25/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900    3,800.00 Preparing for and attending meeting with clients,
                                                                                                                                          relators W. Bahnsen and C. Fuentes.
2145381   5/25/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900    5,700.00 Preparing for upcoming deposition.
2145383   5/26/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,900   15,200.00 Traveling from LA to NY. Attending to status issues.

2145463   5/26/2016 5328 Polanco, Rodney     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    275       220.00 Continuing Relativity review to identify physician
                                                                                                                                          orders and diagnosis documents to be forwarded to
                                                                                                                                          expert for review and communicating with M. Bruns re
                                                                                                                                          same.
2145475   5/27/2016 2901 Carmody, Bill       Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,900    7,600.00 Preparing mediation video.
2145494   5/16/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00     325    2,925.00 Reviewing documents and entering data for customer
                                                                                                                                          deep dive.
2145495   5/17/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    325       975.00 Reviewing documents and entering data for customer
                                                                                                                                          deep dive.
2145496   5/19/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00    325     2,275.00 Reviewing documents and entering data for customer
                                                                                                                                          deep dive.
2145497   5/18/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    325       650.00 Reviewing documents and entering data for customer
                                                                                                                                          deep dive.
2145499   5/20/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    325     1,625.00 Modifying data entry for customer deep dive.
2145614    5/7/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    600     1,500.00 Attending to deep dive medical review project.
2145615    5/8/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.40    600     3,840.00 Attending to deep dive medical review project.
2145616    5/9/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   9.50    600     5,700.00 Attending to deep dive medical review project.
2145617   5/10/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   9.20    600     5,520.00 Attending to deep dive medical review project.
2145619   5/11/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   5.60    600     3,360.00 Attending to deep dive medical review project.
2145621   5/12/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    600     4,800.00 Attending to deep dive medical review project.
2145623   5/13/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   6.60    600     3,960.00 Attending to deep dive medical review project.
2145624   5/14/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    600     2,400.00 Attending to deep dive medical review project.
2145625   5/16/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   9.50    600     5,700.00 Attending to deep dive medical review project.
2145626   5/17/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   9.20    600     5,520.00 Attending to deep dive medical review project.
2145628   5/18/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   5.80    600     3,480.00 Attending to deep dive medical review project.
2145630   5/19/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.60    600     5,160.00 Attending to deep dive medical review project.



                                                                                                Page 51 of 155
                                     Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 53 of 111 PageID:
                                                                        19969


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                                  Fees
 2145630 5/19/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    600      600.00 Conferring with C. Huntley re medicare enrollment
                                                                                                                                     application.
2145632   5/20/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.80    600    5,280.00 Attending to deep dive medical review project.
2145674   5/27/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20    275      330.00 Continuing review of Relativity database to identify
                                                                                                                                     physician orders and diagnosis documents to be
                                                                                                                                     reviewed by expert Dr. Baer. Identifying and locating
                                                                                                                                     various items requested by A. Subramanian.

2145679   5/24/2016 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50    175    1,312.50 Reviewing physician orders for J. Connors.
2145681   5/25/2016 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    175    1,400.00 Reviewing physician orders for J. Connors.
2145682   5/26/2016 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    9.00    175    1,575.00 Reviewing physician orders for J. Connors.
2145789   5/27/2016 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.90    175    1,382.50 Reviewing physician orders for J. Connors.
2145841   5/23/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    575      862.50 Editing draft appeal and written chronology.
2145842   5/24/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    9.00    575    5,175.00 Editing draft appeal. Conducting research.
2145849   5/25/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50    575    3,737.50 Editing draft appeal.
2145856   5/26/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50    575    1,437.50 Reviewing documents.
2145856   5/26/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Participating in weekly call.
2145857   5/27/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.80    575    4,485.00 Editing draft appeal. Incorporating changes.
2145857   5/27/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20    575    1,265.00 Conducting additional research.
2145861   5/30/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.50    575    4,887.50 Editing papers. Writing written chronology.
2146056   5/26/2016 5330 Tan, Joel           Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50    270    2,025.00 Reviewing for patients medical records. Coding same
                                                                                                                                     onto Relativity database and updating spreadsheet,
                                                                                                                                     Customer Deep Dive Claims Data.
2146258   5/31/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,900   1,900.00 Attending to motion issues.
2146510   5/23/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50     275   2,062.50 Reviewing and tagging documents in database.
                                                                                                                                     Updating excel spreadsheet.
2146515   5/24/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50    275    2,062.50 Reviewing and tagging documents in database.
                                                                                                                                     Updating excel spreadsheet.
2146516   5/25/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50    275    2,062.50 Reviewing and tagging documents in database.
                                                                                                                                     Updating excel spreadsheet.
2146519   5/26/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50    275    2,062.50 Reviewing and tagging documents in database.
                                                                                                                                     Updating excel spreadsheet.
2146523   5/27/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50    275    2,062.50 Reviewing and tagging documents in database.
                                                                                                                                     Updating excel spreadsheet.
2146666   5/31/2016 5330 Tan, Joel           Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20    270      594.00 Reviewing for patients medical records. Coding same
                                                                                                                                     onto Relativity database and updating spreadsheet,
                                                                                                                                     Customer Deep Dive Claims Data.
2146723   5/31/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.00    575    6,325.00 Finalizing draft appeal and related papers. Filing same.
                                                                                                                                     Participating in discussions re same.
2146739   5/23/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00    575    2,875.00 Preparing for 30(b)(6) depositions.
2146741   5/24/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    575    3,450.00 Preparing for 30(b)(6) depositions.
2146743   5/25/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50    575    2,012.50 Preparing for 30(b)(6) depositions.



                                                                                           Page 52 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 54 of 111 PageID:
                                                                     19970


                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                               Fee Detail
ID      Date       Tkpr TKPR Name            Rank              Matter Matter Name                                 Hrs    Rate        Amt Narrative                                           Fees
 2146762 5/26/2016 4142 Musico, Mark         Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing for 30(b)(6) depositions.
 2146762 5/26/2016 4142 Musico, Mark         Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Participating in team call.
 2146767 5/27/2016 4142 Musico, Mark         Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing for 30(b)(6) deposition.
 2146771 5/31/2016 4142 Musico, Mark         Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Revising appeal re claims data.
 2146771 5/31/2016 4142 Musico, Mark         Associate         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575    1,437.50 Preparing for 30(b)(6) deposition.
 2146778 5/31/2016 5326 Beard, Rebecca       Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40    175      420.00 Reviewing physician orders.
 2146817 5/31/2016 5328 Polanco, Rodney      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Reviewing daily email communications.
 2146885 5/26/2016 7875 Bruns, Mandi R.      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   4.80    175      840.00 Attending to deep dive medical review project.
 2146944 5/27/2016 7875 Bruns, Mandi R.      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    175      437.50 Reviewing claims for customer deep dive project.
 2146944 5/27/2016 7875 Bruns, Mandi R.      Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    175      350.00 Pulling and printing documents for A. Subramanian
                                                                                                                                         deposition preparation.
2147008   5/31/2016 7875 Bruns, Mandi R.     Paralegal         015079 Bahnsen, Wendy, et al v. Boston Scientif   6.30    175    1,102.50 Attending to deep dive medical review project.
2147979   5/26/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00    325    1,950.00 Reviewing documents and entering data for customer
                                                                                                                                         deep dive.
2147980   5/24/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    325    2,437.50 Reviewing documents and entering data for customer
                                                                                                                                         deep dive.
2147982   5/25/2016 4882 Joshi, Khushbu      Staff Attorney    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    325    1,300.00 Reviewing documents and entering data for customer
                                                                                                                                         deep dive.
2148373   5/18/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2148375   5/19/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2148377   5/20/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2148378   5/23/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2148379   5/24/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2148382   5/25/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2148383   5/26/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2148387   5/27/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2148398   5/23/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   5.70     600   3,420.00 Attending to deep dive medical review project.
2148398   5/23/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60     600   2,160.00 Drafting memorandum on responses to BSNC
                                                                                                                                         positions.
2148400   5/31/2016 3315 Subramanian, Arun   Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2148410   5/24/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   9.40     600   5,640.00 Attending to deep dive medical review project.
2148412   5/25/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.70     600   2,220.00 Drafting outline for 30(b)(6) deposition on claims
                                                                                                                                         topics.
2148412   5/25/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   5.80    600    3,480.00 Attending to deep dive medical review project.
2148433   5/26/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30    600    2,580.00 Drafting outline for 30(b)(6) deposition on claims
                                                                                                                                         topics.
2148433   5/26/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   4.40    600    2,640.00 Attending to deep dive medical review project.
2148442   5/27/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60    600    2,160.00 Preparing for upcoming depositions.
2148442   5/27/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10    600    1,260.00 Revising appeal of magistrate judge order on claims
                                                                                                                                         data.
2148442   5/27/2016 4024 Connors, Jordan     Partner           015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70    600    1,620.00 Drafting work product for R. Baer expert report.




                                                                                                Page 53 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 55 of 111 PageID:
                                                                     19971


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                               Fees
 2148447 5/30/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40    600      840.00 Reviewing claims data. Running document searches
                                                                                                                                    related to claims data.
2148456   5/31/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40    600    2,040.00 Drafting outlines for 30(b)(6) depositions.
2148456   5/31/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.20    600    3,720.00 Attending to deep dive medical review project.
2148662    6/2/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Reviewing daily email communications. Coordinating
                                                                                                                                    continued deposition of E. O'Neil with court reporters.

2148798    6/3/2016 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    175    1,400.00 Combining review results for J. Connors.
2149085    6/1/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50    575    3,737.50 Drafting written chronology.
2149088    6/2/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Drafting written chronology.
2149088    6/2/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Participating in weekly calls.
2149094    6/6/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Drafting expert report.
2149203    6/3/2016 5330 Tan, Joel           Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.20    270    1,404.00 Updating of Claims Data Spreadsheet from Noridian
                                                                                                                                    and BSNC.
2149453    6/7/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Reviewing daily email communications.
2149483    6/2/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    275    2,062.50 Updating full list of claims excel spreadsheet.
2149484    6/3/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    275    2,062.50 Updating full list of claims excel spreadsheet.
2149613    6/1/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00    575    3,450.00 Preparing for and attending M. Burns deposition.
2149613    6/1/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Preparing for settlement conference.
2149616    6/2/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing for 30(b)(6) deposition.
2149616    6/2/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Researching theories of falsity.
2149619    6/3/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Drafting renewed motion to compel.
2149621    6/4/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575    1,437.50 Drafting renewed motion to compel.
2149622    6/5/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60    575    1,495.00 Drafting renewed motion to compel.
2149622    6/5/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.90    575    1,092.50 Preparing for 30(b)(6) deposition.
2149624    6/6/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Finalizing renewed motion to compel claims data.

2149624    6/6/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575    575.00 Preparing for 30(b)(6) deposition.
2149778    6/8/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20     275     55.00 Reviewing daily email communications.
2149875    6/1/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900 1,900.00 Attending to discovery issues.
2149883    6/6/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   1,900 13,300.00 Traveling to California. Preparing for deposition and
                                                                                                                                   settlement conference.
2149887    6/7/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900 1,900.00 Attending settlement conference with opposing
                                                                                                                                   counsel.
2149887    6/7/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900 5,700.00 Preparing for deposition.
2149893    6/8/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,900 7,600.00 Preparing for and attending deposition of E. O'Neil.

2149894    6/9/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,900 15,200.00 Traveling back to New York.
2150083    6/9/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30     275     82.50 Reviewing daily email communications.




                                                                                           Page 54 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 56 of 111 PageID:
                                                                     19972


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate       Amt Narrative                                             Fees
 2150083   6/9/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    275     165.00 Conducting legal search to identify various appellate
                                                                                                                                   documents from similar cases requested by M. Gervais
                                                                                                                                   and ongoing communication re same. Communicating
                                                                                                                                   with vendor to locate appellate documents that are
                                                                                                                                   apparently no longer publicly available.

2150231    6/1/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Preparing video.
2150232    6/2/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Preparing video.
2150233    6/3/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Preparing video.
2150234    6/6/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Preparing for deposition.
2150234    6/6/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing documents in preparation for mediation.

2150235    6/7/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Preparing for deposition.
2150235    6/7/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing documents in preparation for mediation.

2150236    6/8/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Preparing for deposition.
2150236    6/8/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing documents in preparation for mediation.

2150237    6/9/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Preparing for deposition.
2150237    6/9/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing documents in preparation for mediation.

2150238   6/10/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Preparing for deposition.
2150238   6/10/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing documents in preparation for mediation.

2150254   6/10/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.30    275      632.50 Attending to deep dive medical review project.
2150533    6/1/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    175      787.50 Attending to deep dive medical review project.
2150548    6/2/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    175      437.50 Entering claims from customer deep dive into
                                                                                                                                    combined claim sheet per J. Connors instruction.
2150576    6/9/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30    175      577.50 Attending to deep dive medical review project.
2150583   6/10/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50    175    1,137.50 Reviewing last batch of claims. Conferring with review
                                                                                                                                    team re same.
2150585   6/11/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    175      612.50 Attending to deep dive medical review project.
2150770    6/7/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00    575    3,450.00 Traveling to California for 30(b)(6) deposition.
2150770    6/7/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Preparing for 30(b)(6) deposition.
2150770    6/7/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Revising mediation statement.
2150773    6/8/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Attending 30(b)(6) deposition.
2150773    6/8/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Revising motion to compel.
2150773    6/8/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00    575    3,450.00 Traveling to New York.
2150776    6/9/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Revising motion to compel.
2151068   6/10/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Preparing materials for settlement conference.
2151068   6/10/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Revising motion to compel.




                                                                                           Page 55 of 155
                                     Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 57 of 111 PageID:
                                                                        19973


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                                 Fees
 2151209 6/10/2016 5330 Tan, Joel            Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50    270    1,485.00 Reviewing for patients medical records. Coding same
                                                                                                                                    onto Relativity database and updating spreadsheet,
                                                                                                                                    Customer Deep Dive Claims Data.
2151233    6/9/2016 5330 Tan, Joel           Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    270      675.00 Reviewing for patients medical records. Coding same
                                                                                                                                    onto Relativity database and updating spreadsheet,
                                                                                                                                    Customer Deep Dive Claims Data.
2151376   6/12/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575    1,437.50 Revising motion to compel.
2151383    6/7/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50    575    3,737.50 Targeting research questions. Emailing re research.

2151433   6/12/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00    575    4,025.00 Conducting research re penalties and drafting letter re
                                                                                                                                    same.
2151437   6/13/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    575    4,600.00 Conducting research re penalties and drafting letter re
                                                                                                                                    same.
2151504    6/6/2016 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90     175     157.50 Combining review results for J. Connors.
2151568   6/10/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,900   7,600.00 Editing mediation video.
2151568   6/10/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,900   7,600.00 Attending numerous calls.
2151573   6/13/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Preparing for mediation.
2151577   6/14/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,900   3,800.00 Preparing for mediation.
2152196   6/14/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60     275     165.00 Reviewing memo prepared by M. Gervais and
                                                                                                                                    identifying referenced documents for printing.
2152196   6/14/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    275      220.00 Ongoing communication with hosting and printing
                                                                                                                                    vendors re obtaining requested documents from the
                                                                                                                                    database and printing of same overnight.

2152204    6/9/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    275      962.50 Reviewing and tagging documents in database.
                                                                                                                                    Updating excel spreadsheet.
2152205   6/10/2016 5324 Arreola, Norberto   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    275    2,062.50 Reviewing and tagging documents in database.
                                                                                                                                    Updating excel spreadsheet.
2152352   6/13/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2152353   6/14/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2152354   6/15/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,050   3,150.00 Reviewing discovery.
2152354   6/15/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   1,050   5,250.00 Attending settlement conference in the District of New
                                                                                                                                    Jersey.
2152355   6/16/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2152356   6/17/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2152370   6/15/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   1,900   4,750.00 Preparing for and attending settlement conference in
                                                                                                                                    the District of New Jersey.
2152370   6/15/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   1,900   4,750.00 Traveling to and from New Jersey.
2152411    6/1/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     600     600.00 Conferring with R. Baer re expert report.
2152411    6/1/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.70     600   3,420.00 Attending to deep dive medical review project.
2152416    6/2/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50     600   3,900.00 Attending to deep dive medical review project.
2152418    6/3/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.60     600   2,760.00 Attending to deep dive medical review project.



                                                                                           Page 56 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 58 of 111 PageID:
                                                                     19974


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                               Fees
 2152422   6/5/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    600    2,100.00 Drafting settlement conference position.
 2152427   6/6/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.70    600    2,220.00 Drafting settlement conference position.
 2152432   6/7/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.70    600    3,420.00 Revising and serving settlement conference position.

2152438    6/8/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    600    1,800.00 Attending to deep dive medical review project.
2152440    6/9/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    600    2,700.00 Attending to deep dive medical review project.
2153111   6/14/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Conducting targeted searches.
2153111   6/14/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Reviewing settlement video.
2153114   6/15/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Conducting research.
2153114   6/15/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Traveling to and from NJ. Attending settlement
                                                                                                                                    conference.
2153118   6/16/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Conducting additional targeted research.
2153121   6/17/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Conducting targeted research.
2153135   6/13/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    575    2,587.50 Preparing materials for settlement conference.
2153140   6/14/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Finalizing motion to compel.
2153140   6/14/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Preparing for settlement conference.
2153146   6/15/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50    575    3,737.50 Preparing for and attending settlement conference.

2153207   6/21/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900   1,900.00 Attending to status issues and expert issues.
2153872   6/14/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40     175      70.00 Conferring with vendor re database users. Conferring
                                                                                                                                    with J. Connors re access for Dr. Baer.
2153873   6/15/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    175      262.50 Pulling, printing and chronning documents for M.
                                                                                                                                    Gervais in preparation for settlement conference.
                                                                                                                                    Reviewing and saving emails.
2153899   6/16/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    175       87.50 Putting settlement conference materials on FTP for M.
                                                                                                                                    Musico.
2153932   6/17/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    175      140.00 Conferring with J. Connors re hard copy of all tagged
                                                                                                                                    Baer documents. Conferring with vendor re same.
                                                                                                                                    Reviewing and saving emails.
2153958   6/21/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    175       52.50 Updating production log. Reviewing and saving emails.

2154353   6/23/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10     275      27.50 Reviewing email communications.
2154476   6/22/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2154478   6/23/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2154479   6/24/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents.
2154578   6/24/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30     275      82.50 Reviewing daily email communications. Receiving and
                                                                                                                                    reviewing invoice from vendor and communicating
                                                                                                                                    with vendor re same.
2154915   6/12/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    600      720.00 Reviewing video script for settlement conference.

2154921   6/14/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    600    1,320.00 Searching for documents re Palmetto communications.




                                                                                           Page 57 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 59 of 111 PageID:
                                                                     19975


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate       Amt Narrative                                                    Fees
 2154924 6/15/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70    600     420.00 Conferring with trial team re settlement conference.

2155244   6/24/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Conferring with opposing counsel re mediation.
2155244   6/24/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Reviewing expert report draft.
2155608   6/22/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    175       52.50 Conferring with vendor re production. Preparing
                                                                                                                                    Noridian document for production. Reviewing and
                                                                                                                                    saving emails.
2156869   6/28/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    575      460.00 Reviewing consultant report.
2156959   6/30/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Reviewing daily email communications. Receiving E.
                                                                                                                                    O'Neil deposition transcript.
2157191   6/27/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2157196   6/28/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2157197   6/29/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2157198   6/30/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2158210   6/20/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     600   1,200.00 Reviewing claims data.
2158210   6/20/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60     600     360.00 Drafting work product for R. Baer expert report.
2158218   6/21/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00     600   3,000.00 Reviewing claims data.
2158224   6/22/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.40     600   2,640.00 Drafting work product for R. Baer expert report.
2158229   6/23/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     600   1,200.00 Reviewing claims data.
2158550    7/5/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10     275      27.50 Reviewing daily email communications.
2158925    7/7/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10     275      27.50 Reviewing daily email communications.
2159531   7/11/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10     275      27.50 Reviewing daily email communications.
2159572    7/1/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing discovery.
2159572    7/1/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,050   6,300.00 Attending to discovery issues.
2159584    7/5/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing discovery.
2159584    7/5/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,050   6,300.00 Attending to discovery issues.
2159588    7/8/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing discovery.
2159588    7/8/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Attending to discovery issues.
2159846   7/11/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00     575   2,300.00 Revising mediation statement. Conducting research re
                                                                                                                                    same.
2160527    7/8/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    600      360.00 Conferring with Judge Wolin re mediation.
2160527    7/8/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    600      900.00 Filing letter to magistrate judge re referral to Judge
                                                                                                                                    Wolin for mediation.
2161935   7/11/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    175      175.00 Conferring with J. Connors re patient files for Dr. Baer.

2161935   7/11/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    175     210.00 Preparing CMMS documents for production. Serving
                                                                                                                                   same.
2161995   7/13/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10    175     192.50 Conferring with vendor re pulled Baer documents.
                                                                                                                                   Downloading and combining documents re same.
                                                                                                                                   Sending same to printers.
2162013   7/14/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    175     612.50 Preparing patient files for Dr. Baer and J. Connors.




                                                                                           Page 58 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 60 of 111 PageID:
                                                                     19976


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate       Amt Narrative                                                    Fees
 2162029 7/15/2016 7875 Bruns, Mandi R.      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.20    175     735.00 Preparing patient files for Dr. Baer and J. Connors.

2162037   7/18/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    175     437.50 Preparing patient files for Dr. Baer and J. Connors.

2162047   7/19/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    175     315.00 Preparing patient files for Dr. Baer and J. Connors.

2162174   7/14/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Working on Mediation Statement.
2162176   7/15/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Working on Mediation Statement.
2163312   7/14/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Preparing for mediation.
2163315   7/15/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50     575   1,437.50 Revising and finalizing mediation statement. Preparing
                                                                                                                                    for mediation.
2163846   7/25/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    275      165.00 Reviewing email communications. Reviewing
                                                                                                                                    mediation statement and retrieving all referenced
                                                                                                                                    cases from westlaw.
2165074   7/18/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2165075   7/19/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2165076   7/20/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2165077   7/21/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2165078   7/22/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to discovery issues.
2165079   7/26/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,050   6,300.00 Traveling to New Jersey. Attending mediation with
                                                                                                                                    Judge Wolin.
2165200   7/25/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Preparing for mediation.
2165434   7/28/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10     275      27.50 Reviewing daily email communications.
2165478   7/26/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50     575   3,162.50 Traveling to and from New Jersey. Attending
                                                                                                                                    mediation.
2165909   7/29/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Drafting expert report.
2165980   7/25/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing for mediation.
2165986   7/26/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Preparing for and attending mediation.
2167482   7/15/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    600      720.00 Editing settlement position.
2168475    8/1/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    575    2,300.00 Drafting work product for R. Baer expert report.
2168494    8/4/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Participating in call with expert.
2168501    8/5/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Participating in call with expert. Collecting materials
                                                                                                                                    for expert.
2169213    8/1/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Revising letter re discovery schedule.
2169240    8/1/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    175      140.00 Updating documents on Sharefile for expert per M.
                                                                                                                                    Gervais request. Conferring with IT re rights of folders.

2171003    8/5/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60    600      960.00 Reviewing expert report of R. Baer.
2171003    8/5/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    600      300.00 Conferring with M. Gervais and R. Rushnawitz re
                                                                                                                                    expert report.
2172238    8/8/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575    1,437.50 Drafting qui tam state damages and penalty ranges for
                                                                                                                                    expert.


                                                                                           Page 59 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 61 of 111 PageID:
                                                                     19977


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs     Rate        Amt Narrative                                              Fees
 2172250 8/15/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575      287.50 Conferring by phone with expert.
 2173026 8/19/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575      287.50 Conferring by phone with expert.
 2174184 8/22/2016 2901 Carmody, Bill        Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900    1,900.00 Attending to status issues.
 2174637 8/24/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10     275       27.50 Reviewing email communications.
 2174710   8/8/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10     175      192.50 Uploading, encrypting and sending documents to
                                                                                                                                     experts for M. Gervais.
2174726   8/25/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,900    2,850.00 Reviewing and revising expert report.
2174767   8/22/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     175      262.50 Creating list of documents sent to experts for
                                                                                                                                     J.Connors.
2174809   8/22/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050    4,200.00 Reviewing expert report.
2174810   8/23/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050    4,200.00 Reviewing expert report.
2174811   8/24/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050    4,200.00 Reviewing expert report.
2174812   8/25/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050    4,200.00 Reviewing expert report.
2174914   8/24/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575      287.50 Conferring by phone with expert.
2175554   8/16/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60     600      360.00 Conferring with R. Baer re expert report.
2175554   8/16/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60     600    2,160.00 Reviewing expert report.
2175556   8/17/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     600    1,200.00 Conferring with R. Baer re expert report and reviewing
                                                                                                                                     expert report.
2175566   8/19/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.10     600    4,860.00 Attending to R. Baer Expert Report
2175914   8/22/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575      862.50 Reviewing and editing expert report.
2176721   8/30/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,900    2,850.00 Revising expert report. Attending to status issues.

2176722   8/29/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900    1,900.00 Revising expert report. Attending to status issues.

2176723   8/31/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900    1,900.00 Revising expert report. Attending to status issues.

2176962   8/30/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,050    3,150.00 Attending to R. Baer Expert Report
2176963   8/31/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,050    3,150.00 Reviewing expert report.
2176997   8/31/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     125      125.00 Encrypting and filing expert material
2177459   8/31/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575      287.50 Reviewing expert reports.
2177699   8/20/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.20     600    3,120.00 Reviewing and editing expert report. Reviewing claims
                                                                                                                                     data.
2177702   8/21/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    600     1,500.00 Reviewing and editing expert report. Reviewing claims
                                                                                                                                     data.
2177703   8/26/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    600     1,500.00 Attending to R. Baer Expert Report
2177705   8/22/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.30    600     4,380.00 Reviewing and editing expert report. Reviewing claims
                                                                                                                                     data.
2177706   8/27/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.20    600     4,920.00 Attending to R. Baer Expert Report
2177709   8/28/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50    600     3,900.00 Attending to R. Baer Expert Report
2177710   8/23/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    600     4,500.00 Reviewing and editing expert report. Reviewing claims
                                                                                                                                     data.
2177711   8/29/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.20    600     4,920.00 Attending to R. Baer Expert Report



                                                                                           Page 60 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 62 of 111 PageID:
                                                                     19978


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                              Fees
 2177712 8/24/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    7.10    600    4,260.00 Attending to R. Baer Expert Report
 2177715 8/30/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   10.80    600    6,480.00 Attending to R. Baer Expert Report
 2177719 8/31/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    9.40    600    5,640.00 Attending to R. Baer Expert Report
 2177719 8/31/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    600      600.00 Conferring with R. Baer re expert report.
 2177719 8/31/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    600      600.00 Conferring with M. Gervais re Rosenthal expert report.

2177721   8/25/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    600    4,800.00 Attending to R. Baer Expert Report
2177778   8/30/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Editing expert report. Conferring by phone with J.
                                                                                                                                     Connors re same.
2177789   8/31/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00     575     575.00 Attending to expert report issues.
2178711    9/1/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20     275      55.00 Reviewing daily email communications.
2178780    9/2/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   1,900   2,850.00 Attending to expert report issues.
2178785    9/1/2016 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,900   3,800.00 Attending to expert report issues.
2179337    9/1/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00     575   1,150.00 Attending to expert report issues.
2179341    9/2/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00     575   2,875.00 Attending to expert report issues.
2179355    9/6/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00     575   1,725.00 Reviewing expert report and sending comments.
2179476    9/1/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00     575   1,150.00 Reviewing and editing expert reports.
2179479    9/2/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00     575   2,875.00 Reviewing and editing expert reports.
2179507    9/1/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00     125     125.00 Encrypting and filing expert material.
2179514    9/2/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50     125      62.50 Encrypting and filing expert material.
2179561    9/8/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20     275     605.00 Reviewing relativity database and dated
                                                                                                                                     correspondence for information pertaining dataflo per
                                                                                                                                     instructions from M. Musico.
2180756    9/1/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   10.30    600    6,180.00 Attending to expert report issues.
2180760    9/2/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   12.90    600    7,740.00 Attending to expert report issues.
2180880    9/8/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Reviewing and editing filing.
2180882    9/9/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575    1,150.00 Citing and fact checking letter.
2181048    9/6/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575    1,150.00 Reviewing and editing expert reports. Drafting letter
                                                                                                                                     to court.
2181050    9/7/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00    575    2,300.00 Researching and drafting letter to court.
2181765   9/13/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10    275       27.50 Communicating with J. Connors and M. Bruns re Dr.
                                                                                                                                     Baer project.
2182028   9/14/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60    275      165.00 Conference call with J. Connors and M. Bruns and
                                                                                                                                     further discussions re same.
2182054   9/14/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    175      175.00 Conferring with J. Connors, S. Marron and R. Polanco
                                                                                                                                     re patient files project.
2182230    9/1/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050   8,400.00 Reviewing expert reports. Reviewing documents.
2182232    9/2/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050   8,400.00 Attending to expert report issues.
2182235    9/5/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050   8,400.00 Reviewing expert reports. Reviewing documents.
2182236    9/6/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050   8,400.00 Reviewing expert reports. Reviewing documents.
2182237    9/7/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050   8,400.00 Reviewing expert reports. Reviewing documents.
2182243    9/9/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050   2,100.00 Reviewing and filing letter.



                                                                                           Page 61 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 63 of 111 PageID:
                                                                     19979


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                               Fees
 2182307 9/15/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20    275      880.00 Beginning Patient Files project and communicating
                                                                                                                                    with review team re same.
2182696   9/15/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    125       62.50 Preparing documents from production for attorney
                                                                                                                                    review.
2182701   9/16/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    125      250.00 Reviewing patient files against physician orders.
2182707   9/16/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    275      495.00 Continuing and finalizing first part of patient files
                                                                                                                                    project.
2183072    9/3/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.20    600    5,520.00 Attending to expert report issues.
2183074    9/4/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.30    600    3,780.00 Attending to expert report issues.
2183080    9/5/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50    600    3,300.00 Attending to expert report issues.
2183083    9/6/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.10    600    3,660.00 Finalizing expert report of R. Baer.
2183093    9/9/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60    600    1,560.00 Revising and filing letter to Judge Mannion re claims
                                                                                                                                    data spreadsheets.
2183278   9/19/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    275      330.00 Continuing patient file project.
2183338   9/12/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Reviewing defendant expert report and preparing
                                                                                                                                    response.
2183355   9/14/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Preparing for hearing on motion to compel.
2183600   9/19/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    125      125.00 Organizing physician order files.
2183601   9/20/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    125      125.00 Organizing physician order files.
2183605   9/20/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    125      125.00 Managing and organizing final expert files.
2183617   9/14/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    125      187.50 Organizing physicians orders from expert report.
2184363   9/20/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    275      357.50 Continuing patient file project and communicating
                                                                                                                                    with M. Bruns and vendor re same.

2184545   9/12/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2184546   9/13/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2184547   9/14/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2184548   9/15/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,050   6,300.00 Reviewing discovery.
2184551   9/16/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing discovery.
2184555   9/19/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing discovery.
2184590   9/21/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60     275     440.00 Continuing patient files project and ongoing
                                                                                                                                    communication with S. Marron and vendor re same.

2185024   9/14/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.10    600    1,860.00 Reviewing claims data and organizing customer file
                                                                                                                                    project.
2185080   9/22/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40    275      385.00 Ongoing communication with vendor and review team
                                                                                                                                    re status patient file project. Reviewing relativity
                                                                                                                                    database to address various issues with multiple
                                                                                                                                    documents reported by vendor.
2185117   9/15/2016 7875 Bruns, Mandi R.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    175      140.00 Conferring with J. Connors and team re patient files
                                                                                                                                    project.




                                                                                           Page 62 of 155
                                   Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 64 of 111 PageID:
                                                                      19980


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate       Amt Narrative                                                     Fees
 2185238 9/23/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    275     165.00 Ongoing communication with vendor re patient files
                                                                                                                                   project and addressing various issues with same.

2185638   9/26/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    125      125.00 Organizing and matching physician orders to patient
                                                                                                                                    files.
2185645   9/26/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.80    275    1,320.00 Continuing patient file project and ongoing
                                                                                                                                    communication with review team re same.
2185656   9/21/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     125     125.00 Organizing physician order files.
2185660   9/21/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     125     125.00 Preparing patient files.
2185661   9/22/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     125     125.00 Preparing patient files.
2186387   9/23/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Discussing M. Musico concerning hearing and work on
                                                                                                                                    subpoenas.
2186419   9/27/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    125      250.00 Organizing and matching physician orders to patient
                                                                                                                                    files.
2186463   9/20/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Updating hot document chronology.
2186487   9/21/2016 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Working on noteworthy document project.
2186613   9/21/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    575    2,012.50 Preparing for motion to compel hearing.
2186615   9/22/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing for motion to compel hearing.
2186616   9/23/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    575    4,600.00 Preparing for and attending motion to compel hearing.
                                                                                                                                    Following up with team re hearing.
2186635   9/27/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30    275    1,182.50 Continuing and finalizing initial portion of patient files
                                                                                                                                    project and ongoing communication with review team
                                                                                                                                    re same.
2187590   9/22/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40    600      240.00 Conferring with M. Musico re hearing on claims data.

2187592   9/23/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    600      480.00 Drafting subpoenas to eMDs and ZirMed.
2187993   9/26/2016 5320 Schulze, Stacy S.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    275    1,100.00 Conferring with trial team. Assisting with patient file
                                                                                                                                    project re Dr. Baer's Report.
2188008   9/29/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40    575      230.00 Reviewing counterclaim expert materials.
2188008   9/29/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    575      345.00 Responding to BSNC subpoena objection.
2188012   9/30/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Responding to BSNC subpoena objection.
2189687   9/26/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70    600      420.00 Drafting and serving subpoenas to eMDs and ZirMed.

2189692 9/29/2016 4024 Connors, Jordan       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70    600     420.00 Conferring with counsel for eMDs re subpoena.
2194575 10/19/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    275     330.00 Ongoing communication with J. Connors re patient file
                                                                                                                                   project and beginning to identify patients no records
                                                                                                                                   were obtained for.
2194805 10/20/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70    275     192.50 Continuing patient files project and communicating
                                                                                                                                   with S. Marron re same.
2194972 10/21/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70    275     192.50 Continuing patient files project to identify patients
                                                                                                                                   with no records and communicating with J. Connors re
                                                                                                                                   same.



                                                                                           Page 63 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 65 of 111 PageID:
                                                                    19981


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID       Date       Tkpr TKPR Name         Rank         Matter Matter Name                                 Hrs   Rate       Amt Narrative                                                Fees
 2195647 10/24/2016 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70   275     742.50 Attending to patient files and expert report project.

2195840 10/19/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   575    1,437.50 Reviewing and preparing response to expert reports.

2195999 10/21/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   575    2,875.00 Reviewing and preparing response to expert reports.

2196518 10/25/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20   275     605.00 Attending to patient files and expert report project.

2196693 10/26/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70   275      192.50 Continuing research to export data received from
                                                                                                                                 Zirmed. Preparing hard copy of patient files to be
                                                                                                                                 forwarded to J. Connors. Reviewing and filing email
                                                                                                                                 communications.
2197000 10/27/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   275      275.00 Participating in weekly trial team call
2197000 10/27/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   275      550.00 Continuing research to identify program to allow sync
                                                                                                                                 and export of Zirmed data and communicating with J.
                                                                                                                                 Connors re same. Reviewing and filing email
                                                                                                                                 communications.
2197308 10/28/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70   275      742.50 Preparing summary of Zirmed data that has been able
                                                                                                                                 to be extracted to date. Continuing conducting
                                                                                                                                 research re various platforms to optimize viewing
                                                                                                                                 Zirmed data and ongoing communication with J.
                                                                                                                                 Connors re same. Reviewing and filing email
                                                                                                                                 communications.
2197887 10/31/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40   275      660.00 Communicating with vendor for EMS program that can
                                                                                                                                 extract Zirmed Data. Purchasing and installing EMS
                                                                                                                                 program. Reviewing Zirmed data in EMS program,
                                                                                                                                 exporting contents to Excel spreadsheet and adjusting
                                                                                                                                 contents of same. Reviewing and filing email
                                                                                                                                 communications.
2197899 10/28/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Preparing expert rebuttal.
2197904 10/31/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Preparing for expert depositions.
2199970 10/19/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60   600    2,160.00 Reviewing rebuttal expert reports.
2199970 10/19/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with counsel for BSNC re expert discovery
                                                                                                                                 issues.
2199981 10/20/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   600    3,900.00 Reviewing rebuttal expert reports and claims data.

2199990 10/21/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.90   600    2,340.00 Reviewing rebuttal expert reports and claims data.
                                                                                                                                 Drafting recommendation for approach re BSNC
                                                                                                                                 experts.
2199995 10/24/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.60   600    3,360.00 Reviewing and preparing response re rebuttal expert
                                                                                                                                 reports and claims data.
2200016 10/25/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.30   600    1,380.00 Analyzing files and claims data re expert reports.



                                                                                         Page 64 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 66 of 111 PageID:
                                                                     19982


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID       Date       Tkpr TKPR Name         Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                                 Fees
 2200022 10/26/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20   600    1,320.00 Reviewing rebuttal expert reports and claims data.

2200055 10/27/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with trial team on weekly call.
2200055 10/27/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   600    1,800.00 Reviewing and preparing response re rebuttal expert
                                                                                                                                 reports and claims data.
2200059 10/28/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Conferring with trial team re expert discovery.
2200059 10/28/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70   600    1,020.00 Reviewing rebuttal expert reports and claims data.

2200727   11/4/2016 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30   275       82.50 Reviewing and filing email communications.
                                                                                                                                 Participating in weekly trial team call.
2201127   11/7/2016 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10   275      302.50 Reviewing and filing email communications.
                                                                                                                                 Coordinating scheduling of upcoming expert
                                                                                                                                 depositions and ongoing communication with C.
                                                                                                                                 DaCosta and S. Marron re same.
2201326   11/1/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Preparing for expert depositions.
2201331   11/2/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Drafting letter to court.
2201346   11/4/2016 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   575    1,437.50 Preparing for expert depositions.
2201905   11/8/2016 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60   275      440.00 Providing support re expert depositions
2202132   11/9/2016 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90   275      247.50 Preparing notice for J. Kemmerer deposition.
                                                                                                                                 Communicating with court reporter re upcoming
                                                                                                                                 deposition. Reviewing and filing email
                                                                                                                                 communications.
2202370 11/10/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40   275      110.00 Reviewing and filing email communications.
                                                                                                                                 Communicating with trial team and court reporters re
                                                                                                                                 upcoming depositions.
2203339 11/11/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30   275       82.50 Reviewing and filing email communications.
                                                                                                                                 Communicating with court reporter re upcoming
                                                                                                                                 depositions.
2203445 11/14/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   275      550.00 Preparing work product re R. Baer report.
2203445 11/14/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   275      137.50 Collecting, organizing and duplicating documents for J.
                                                                                                                                 Kemmerer deposition.
2203887 11/7/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Preparing for expert depositions.
2203942 11/9/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Preparing for expert depositions.
2203942 11/9/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Traveling to Boston for deposition.
2203953 11/10/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Preparing for expert depositions.
2203953 11/10/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Preparing letter to court.
2203953 11/10/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   575    1,725.00 Preparing response and objections to subpoena.
2203963 11/10/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Preparing letters for services. Reviewing relevant
                                                                                                                                 contract provisions.
2203971 11/11/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Preparing for and defending M. Rosenthal deposition.

2203971 11/11/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Traveling to New York.



                                                                                         Page 65 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 67 of 111 PageID:
                                                                     19983


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                               Fees
 2204202 11/2/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70    600      420.00 Conferring with opposing counsel re deposition
                                                                                                                                   schedule.
2204202   11/2/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.10    600    3,060.00 Reviewing claim‐be‐claim analysis conducted by G.
                                                                                                                                   Russo.
2204212 11/3/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50    600    3,900.00 Preparing for expert depositions.
2204214 11/4/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.40    600    3,840.00 Preparing for expert depositions.
2204622 11/15/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    275      495.00 Reviewing and filing email communications.
                                                                                                                                   Investigating, collecting and circulating various
                                                                                                                                   documents requested by M. Musico re tomorrow's
                                                                                                                                   deposition. Communicating with court reporter re
                                                                                                                                   upcoming depositions.
2204719 11/10/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Preparing for deposition of Dr. Baer.
2204950 11/17/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60     275     165.00 Reviewing and filing email communications.
                                                                                                                                   Scheduling deposition of opposing expert T. Deer and
                                                                                                                                   ongoing communication with court reporter re same.
                                                                                                                                   Receiving and cataloging R. Baer and J. Kemmerer
                                                                                                                                   deposition transcripts.
2205232 11/18/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80    275    1,045.00 Managing and filing documents received from third
                                                                                                                                   parties.
2205752 11/14/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing for J. Kemmerer deposition.
2205753 11/15/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing for J. Kemmerer deposition.
2205753 11/15/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00    575    3,450.00 Traveling to Austin for deposition.
2205756 11/16/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50    575    3,162.50 Preparing for and taking deposition of J. Kemmerer.

2205756 11/16/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    575    2,300.00 Traveling to New York.
2205767 11/17/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Planning remaining case strategy.
2205773 11/18/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Conducting expert deposition follow‐up.
2205804 11/21/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    275      495.00 Managing and filing documents received from third
                                                                                                                                   parties.
2205804 11/21/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    275      550.00 Calculating total number of patients for which we are
                                                                                                                                   alleging false claims for per instructions from J.
                                                                                                                                   Connors.
2205804 11/21/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    275      137.50 Communicating with court reporter re upcoming
                                                                                                                                   depositions.
2206272 11/17/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Attending to expert discovery issues.
2206275 11/18/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending to expert discovery issues.
2206431 11/22/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40     275     110.00 Managing and filing documents, exhibits, and
                                                                                                                                   transcripts.
2206755   11/7/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.90    600    1,740.00 Preparing for expert depositions.
2206755   11/7/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40    600      840.00 Attending to supplemental report of R. Baer.
2206761   11/8/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30    600    2,580.00 Preparing for expert depositions.
2206761   11/8/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70    600    1,620.00 Attending to supplemental report of R. Baer.



                                                                                          Page 66 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 68 of 111 PageID:
                                                                     19984


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID      Date       Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                              Fees
 2206770 11/9/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   600    3,600.00 Traveling to Washington, DC for deposition of S.
                                                                                                                                 O'Shea.
2206770   11/9/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Preparing for deposition of S. O'Shea.
2206770   11/9/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20   600      120.00 Conferring with R. Baer re supplemental expert report.

2206772 11/9/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   600    1,500.00 Preparing for deposition of S. O'Shea.
2206773 11/10/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   600    3,000.00 Deposing S. O'Shea and preparing for same.
2206774 11/10/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   600    2,400.00 Returning from deposition of S. O'Shea.
2206774 11/10/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30   600      780.00 Reviewing documents for deposition of R. Baer.
2206775 11/11/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.40   600    5,040.00 Preparing for deposition of R. Baer.
2207289 11/22/2016 5331 Marron, Sara       Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   125       62.50 Conferring with M. Gervais re the status of the case.
                                                                                                                                 Sending most recent deposition transcripts to M.
                                                                                                                                 Gervais.
2207408 11/15/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Catching up on emails.
2207413 11/17/2016 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Attending trial team meeting.
2207757 11/28/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30   275      357.50 Managing and filing documents, exhibits, and
                                                                                                                                 transcripts.
2208553 11/21/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Attending to expert deposition follow‐up.
2208563 11/22/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50   575    2,012.50 Attending to expert deposition follow‐up.
2208572 11/23/2016 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Attending to expert deposition follow‐up re J.
                                                                                                                                 Kemmerer and M. Rosenthal.
2209285 11/12/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   600    3,900.00 Travel to New York for R. Baer deposition and
                                                                                                                                 preparation for R. Baer deposition.
2209294 11/12/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40   600      840.00 Preparation for R. Baer deposition.
2209298 11/13/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   600    3,900.00 Meeting with R. Baer to prepare for deposition of R.
                                                                                                                                 Baer. Preparation for same.
2209304 11/14/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.80   600    5,280.00 Meeting with R. Baer to prepare for deposition of R.
                                                                                                                                 Baer. Preparation for same.
2209304 11/14/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Serving supplemental report of R. Baer.
2209309 11/15/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.30   600    5,580.00 Meeting with R. Baer to prepare for deposition of R.
                                                                                                                                 Baer. Preparation for same.
2209319 11/16/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.30   600    4,380.00 Attending deposition of R. Baer. Preparation for same.

2209319 11/16/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   600      600.00 Drafting summary of same.
2209331 11/22/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70   600    1,020.00 Researching points of law re privilege nature of
                                                                                                                                 communications with expert.
2209338 11/17/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with counsel for Zirmed re subpoena.
2209347 11/18/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   600    1,200.00 Attending hearing re discovery issues and settlement
                                                                                                                                 conference.
2209347 11/18/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   600      300.00 Conferring with counsel for Zirmed re subpoena.
2209357 11/23/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   600    4,200.00 Returning from deposition of R. Baer.




                                                                                         Page 67 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 69 of 111 PageID:
                                                                     19985


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                            Fees
 2209385 11/21/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    600      780.00 Researching points of law re privilege nature of
                                                                                                                                    communications with expert.
2209396 11/28/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    600    1,080.00 Preparing for depositions of rebuttal experts.
2209402 11/29/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.50    600    5,700.00 Preparing for depositions of rebuttal experts.
2209404 11/30/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.50    600    5,700.00 Preparing for depositions of rebuttal experts.
2209686 11/30/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    275    1,100.00 Managing and filing documents, exhibits, and
                                                                                                                                    transcripts.
2209816   12/1/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    275      467.50 Managing and filing documents, exhibits, and
                                                                                                                                    transcripts. Attending to rebuttal expert issues.
2209910   12/2/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    275      165.00 Reviewing and filing email communications.
                                                                                                                                    Communicating with court reporter re upcoming
                                                                                                                                    depositions.
2210283 11/30/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Preparing for expert depositions.
2210289 12/1/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    575      690.00 Preparing for expert depositions.
2210289 12/1/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing expert supplement.
2210296 12/2/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing expert supplement.
2210304 12/5/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    575      977.50 Preparing expert supplement.
2210304 12/5/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80    575    1,610.00 Preparing for expert depositions.
2210347 12/5/2016 2670 Gervais, Michael      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Attending to chronology project. Conferring by phone
                                                                                                                                    with vendor. Discussing with paralegal.
2210782   12/6/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.20     275   1,155.00 Attending to customer file review.
2210790   12/5/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40     275     935.00 Attending to customer file review.
2210987   12/7/2016 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.70     275   2,117.50 Attending to customer file review.
2211385   12/7/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     125      62.50 Attending to customer file review.
2211387   12/8/2016 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     125     125.00 Attending to customer file review.
2211423   12/2/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Reviewing and sending emails re recap of G. Russo
                                                                                                                                    deposition.
2212182 12/9/2016 5331 Marron, Sara          Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    125      125.00 Attending to customer file review.
2212235 12/7/2016 5330 Tan, Joel             Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50    270    1,485.00 Attending to customer file review.
2212236 12/8/2016 5330 Tan, Joel             Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    270      486.00 Attending to customer file review.
2212337 12/12/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40    275      110.00 Reviewing and filing email communications.
2212393 12/6/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    575    2,300.00 Preparing for T. Deer deposition.
2212393 12/6/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing Daubert opposition.
2212400 12/7/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    575    2,012.50 Preparing for T. Deer deposition.
2212405 12/8/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing expert supplement.
2212405 12/8/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Preparing for T. Deer deposition.
2212422 12/9/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    575    2,300.00 Preparing for T. Deer deposition.
2212422 12/9/2016 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing expert supplement.
2212449 12/10/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing expert supplement.
2212451 12/11/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    575    4,312.50 Preparing for T. Deer deposition. Traveling to West
                                                                                                                                    Virginia for T. Deer deposition.




                                                                                           Page 68 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 70 of 111 PageID:
                                                                     19986


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                              Fees
 2212452 12/12/2016 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   10.00    575    5,750.00 Preparing for and taking T. Deer deposition. Traveling
                                                                                                                                     to New York.
2212575 12/9/2016 2670 Gervais, Michael      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575    1,150.00 Attending to R. Baer's report.
2212576 12/10/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    575    4,600.00 Attending to R. Baer's report.
2212577 12/11/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    575    3,450.00 Attending to R. Baer's report.
2212578 12/12/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    575    4,600.00 Attending to R. Baer's report.
2212688 12/1/2016 4024 Connors, Jordan       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50    600    3,900.00 Traveling to Washington DC for deposition of G. Russo
                                                                                                                                     and preparing for same.
2212690   12/1/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    5.40    600    3,240.00 Preparing for deposition of G. Russo.
2212692   12/2/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   10.30    600    6,180.00 Attending deposition of G. Russo and preparing for
                                                                                                                                     same.
2212694   12/2/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50     600   3,300.00 Returning from deposition of G. Russo.
2212725   12/5/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050   1,050.00 Conferring with B. Carmody and J. Connors re expert
                                                                                                                                     discovery issue.
2213189 12/13/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.80    275      770.00 Attending to customer file review.
2213328 12/7/2016 5460 McLaren, Jeffrey W.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50    275    1,512.50 Reviewing and organizing production documents.
2213331 12/6/2016 5460 McLaren, Jeffrey W.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00    275      825.00 Reviewing and organizing production documents.
2213339 12/7/2016 5320 Schulze, Stacy S.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00    275    1,375.00 Renaming and preparing patient files for trial team.

2213447 12/14/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    275      137.50 Attending to customer file review.
2214503 12/19/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.40    275    1,210.00 Attending to customer file review.
2214527 12/13/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.50    575    4,887.50 Reviewing R. Baer's report.
2214529 12/14/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    9.00    575    5,175.00 Attending to R. Baer Supplemental Expert Report.

2214550 12/13/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.30    575    3,047.50 Attending to customer file review.
2214550 12/13/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575    1,150.00 Reviewing T. Deer deposition transcript.
2214557 12/14/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00    575    1,725.00 Attending to R. Baer Supplemental Expert Report.

2214565 12/15/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Attending to customer file review.
2215300 12/19/2016 5331 Marron, Sara         Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    125       62.50 Attending to customer file review.
2215441 12/5/2016 4024 Connors, Jordan       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.30    600    2,580.00 Attending to customer file review.
2215441 12/5/2016 4024 Connors, Jordan       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00    600    1,800.00 Preparing for deposition of W. Van Halem.
2215448 12/6/2016 4024 Connors, Jordan       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.30    600    1,980.00 Attending to customer file review.
2215448 12/6/2016 4024 Connors, Jordan       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.90    600    2,940.00 Preparing for deposition of W. Van Halem.
2215455 12/7/2016 4024 Connors, Jordan       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50    600    1,500.00 Attending to customer file review.
2215455 12/7/2016 4024 Connors, Jordan       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    600    3,600.00 Preparing for deposition of W. Van Halem.
2215456 12/8/2016 4024 Connors, Jordan       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50    600    3,900.00 Traveling to deposition of W. Van Halem. Preparing for
                                                                                                                                     same.
2215457   12/8/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00    600    1,800.00 Preparing for deposition of W. Van Halem.
2215459   12/9/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.10    600    4,860.00 Attending deposition of W. Van Halem and preparing
                                                                                                                                     for same.
2215461   12/9/2016 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00    600    2,400.00 Returning from deposition of W. Van Halem.



                                                                                           Page 69 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 71 of 111 PageID:
                                                                    19987


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                  Hrs     Rate        Amt Narrative                                             Fees
 2215487 12/12/2016 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050    1,050.00 Discussing with M. Musico and trial team re T. Deer
                                                                                                                                      deposition.
2215495 12/20/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00     275    2,200.00 Attending to customer file review.
2215681 12/21/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    9.30     275    2,557.50 Attending to customer file review.
2215992 12/15/2016 3315 Subramanian, Arun    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050    2,100.00 Reviewing R. Baer and G. Russo reports.
2216002 12/22/2016 3315 Subramanian, Arun    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050    4,200.00 Reviewing file and preparing for mediation session.

2216035 12/22/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   12.00    275     3,300.00 Reviewing patient files.
2216051 12/26/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    275       550.00 Reviewing patient files.
2216849 12/27/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    275     1,650.00 Reviewing patient files.
2216879 12/22/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    575       862.50 Participating in settlement conference.
2216879 12/22/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575     1,150.00 Researching issue of preservation.
2216967 12/19/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575       575.00 Attending to customer file review.
2216980 12/20/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575       575.00 Reviewing Rosenthal deposition.
2217009 12/22/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00    575     1,725.00 Reviewing patient files.
2217013 12/23/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50    575     3,162.50 Reviewing patient files.
2217031 12/23/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50    575     1,437.50 Attending to emails. Conducting research re
                                                                                                                                      attorney's fees.
2217041 12/26/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    575       287.50 Attending to emails. Conducting research re
                                                                                                                                      attorney's fees.
2217629 12/28/2016 5330 Tan, Joel            Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50     270      675.00 Reviewing patient files.
2217651 12/28/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.70     275    1,567.50 Reviewing patient files.
2217669 12/23/2016 3315 Subramanian, Arun    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050    4,200.00 Attending to discovery and expert issues.
2217670 12/26/2016 3315 Subramanian, Arun    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050    4,200.00 Attending to discovery and expert issues.
2217671 12/27/2016 3315 Subramanian, Arun    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050    4,200.00 Attending to discovery and expert issues.
2217672 12/28/2016 3315 Subramanian, Arun    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050    4,200.00 Attending to discovery and expert issues.
2217673 12/29/2016 3315 Subramanian, Arun    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050    4,200.00 Attending to discovery and expert issues.
2217675 12/30/2016 3315 Subramanian, Arun    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050    4,200.00 Attending to discovery and expert issues.
2218206 12/28/2016 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50     575      287.50 Participating in trial team call.
2218220 12/29/2016 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    9.00     275    2,475.00 Reviewing patient files.
2218373 12/26/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00     575    2,875.00 Reviewing patient files.
2218389 12/27/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00     575      575.00 Reviewing patient files.
2218391 12/28/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50     575    3,162.50 Reviewing patient files.
2218400 12/29/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50     575    2,012.50 Attending to R. Baer Supplemental Expert Report.

2218402 12/30/2016 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    575       287.50 Preparing expert supplement.
2219488 12/19/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    9.00    600     5,400.00 Attending to customer file review.
2219494 12/20/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    9.50    600     5,700.00 Attending to customer file review.
2219523 12/21/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    9.40    600     5,640.00 Attending to customer file review.
2219525 12/22/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   10.20    600     6,120.00 Attending to customer file review.
2219528 12/23/2016 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    9.10    600     5,460.00 Attending to R. Baer Supplemental Expert Report.




                                                                                           Page 70 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 72 of 111 PageID:
                                                                     19988


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID       Date       Tkpr TKPR Name         Rank         Matter Matter Name                                  Hrs   Rate        Amt Narrative                                             Fees
 2219531 12/26/2016 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    9.60   600    5,760.00 Attending to R. Baer Supplemental Expert Report and
                                                                                                                                  conferring with R. Baer re same.
2219533 12/27/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   10.30   600    6,180.00 Attending to R. Baer Supplemental Expert Report and
                                                                                                                                  conferring with R. Baer re same.
2219535 12/28/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    9.40   600    5,640.00 Attending to R. Baer Supplemental Expert Report and
                                                                                                                                  conferring with R. Baer re same.
2219537 12/29/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   600    4,800.00 Attending to R. Baer Supplemental Expert Report and
                                                                                                                                  conferring with R. Baer re same.
2219541 12/30/2016 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.20   600    2,520.00 Finalizing and serving expert report of R. Baer.
2219607 12/30/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70   275      192.50 Reviewing invoice from copy vendor for accuracy.
2219607 12/30/2016 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70   275      192.50 Reviewing previously organized patient file documents
                                                                                                                                  for accuracy.
2219638 12/28/2016 5329 DeGeorges, Simon   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.40   275      935.00 Reviewing patient files.
2223139 1/13/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10   275       27.50 Reviewing and filing email communications.
2223327 1/12/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Researching Daubert and summary judgment motions.

2223332   1/13/2017 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Preparing Daubert and summary judgment motions.

2224006   1/17/2017 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10   275       27.50 Reviewing and filing email communications.
2224767   1/18/2017 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40   275      110.00 Reviewing and filing email communications. Cataloging
                                                                                                                                  hard copy transcript and exhibits of W. Van Halem
                                                                                                                                  deposition.
2225063   1/12/2017 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.80   600    2,880.00 Researching points of law re Daubert motion.
2225064   1/13/2017 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    5.30   600    3,180.00 Researching points of law re Daubert motion. Drafting
                                                                                                                                  motion to exclude BSNC experts under Daubert.

2225143   1/19/2017 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.10   275     302.50 Collecting and organizing all expert deposition reports,
                                                                                                                                 deposition transcripts and exhibits in shared dropbox
                                                                                                                                 per instructions from M. Gervais.
2225413   1/20/2017 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40   275     110.00 Reviewing and filing email communications. Collecting
                                                                                                                                 and circulating documents requested by M. Musico.

2226057   1/16/2017 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   575    1,725.00 Preparing Daubert and summary judgment motions.

2226064   1/18/2017 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Preparing Dr. Deer Daubert section.
2226064   1/18/2017 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Reviewing deposition transcripts.
2226064   1/18/2017 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   575    1,725.00 Preparing motion for summary judgment.
2226067   1/19/2017 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.70   575    3,852.50 Preparing motion for summary judgment.
2226067   1/19/2017 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   575      287.50 Attending meet and confer re motion to strike.
2226070   1/20/2017 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   575    3,450.00 Preparing Daubert motion and motion for summary
                                                                                                                                  judgment.




                                                                                         Page 71 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 73 of 111 PageID:
                                                                     19989


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                                 Fees
 2226071 1/22/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50   575    3,162.50 Preparing Daubert and summary judgment motions.

2226829   1/23/2017 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10   275       27.50 Reviewing and filing email communications.
2227099   1/25/2017 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10   275       27.50 Reviewing and filing email communications.
2227326   1/26/2017 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40   275      110.00 Reviewing and filing email communications.
                                                                                                                                  Communicating with court reporter to obtain mini
                                                                                                                                  version of various transcripts.
2227625   1/26/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Reviewing expert reports and deposition testimony.

2227729   1/28/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Reviewing motion for summary judgment.
2227759   1/27/2017 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30   275       82.50 Reviewing and filing email communications.
2228220   1/30/2017 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.30   275      632.50 Attending to written chronology.
2228572   1/23/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   575    2,875.00 Preparing Daubert and summary judgment motions.

2228577   1/24/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   575    1,725.00 Revising summary judgment motion.
2228584   1/25/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Reviewing and revising Daubert and summary
                                                                                                                                  judgment motions.
2228587   1/26/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   575    4,025.00 Reviewing and revising Daubert and summary
                                                                                                                                  judgment motions.
2228589   1/27/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   575    3,737.50 Revising, finalizing, and filing Daubert and summary
                                                                                                                                  judgment motions.
2228806   1/31/2017 5331 Marron, Sara       Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50   125      437.50 Pulling documents for hot chronology binder and
                                                                                                                                  putting them in chronological order. Conferring with
                                                                                                                                  vendor re the printing of chronological documents.
                                                                                                                                  Printing a second binder for M. Gervais with all of the
                                                                                                                                  exhibits for the sealed motion for summary judgment.
                                                                                                                                  Assembling binder.

2229233   1/30/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Reviewing BSNC motion for summary judgment.
2229243   1/31/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Planning and preparing motion for summary judgment
                                                                                                                                  and Daubert opposition briefs.
2229253   1/29/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50   575    3,162.50 Reviewing motion for summary judgment and
                                                                                                                                  researching points of law re same.
2229253   1/29/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Conferring by phone wit J. Connors.
2229265   1/30/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00   575    5,175.00 Conducting research and drafting re motion for
                                                                                                                                  summary judgment.
2229299   1/31/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.50   575    5,462.50 Drafting motion for summary judgment response.

2230286   1/17/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.40   600    3,840.00 Researching points of law re motion to exclude BSNC
                                                                                                                                  experts.
2230297   1/18/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40   600      240.00 Conferring with defendants re motion to strike Dr.
                                                                                                                                  Baer's expert report.



                                                                                          Page 72 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 74 of 111 PageID:
                                                                     19990


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                              Fees
 2230297 1/18/2017 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00    600    2,400.00 Drafting motion to exclude BSNC expert reports.
 2230310 1/22/2017 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.30    600    1,380.00 Drafting motion to exclude BSNC expert reports
 2230315 1/19/2017 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    600      300.00 Conferring with defendants re motion to strike Dr.
                                                                                                                                     Baer's expert report.
2230315   1/19/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    9.00    600    5,400.00 Drafting motion to exclude BSNC expert reports.
2230319   1/20/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.60    600    3,960.00 Drafting motion to exclude BSNC expert reports.
2230324   1/23/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    600      300.00 Conferring with BSNC and court clerk re motion to
                                                                                                                                     strike.
2230324   1/23/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    5.20    600    3,120.00 Drafting motion to exclude BSNC experts.
2230324   1/23/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.70    600    1,620.00 Editing motion for summary judgment.
2230326   1/21/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.20    600    1,920.00 Drafting motion to exclude BSNC expert reports.
2230332   1/24/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50    600    3,900.00 Revising motion to exclude experts and supporting
                                                                                                                                     documents.
2230346   1/25/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    7.30    600    4,380.00 Revising motion to exclude experts and supporting
                                                                                                                                     documents.
2230347   1/26/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    9.50    600    5,700.00 Revising motion to exclude BSNC experts and
                                                                                                                                     supporting documents.
2230351   1/27/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   10.20    600    6,120.00 Revising motion to exclude BSNC experts and
                                                                                                                                     supporting documents.
2230389   1/30/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50    600    3,300.00 Reviewing briefs filed by BSNC.
2230389   1/30/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    600    1,200.00 Researching points of law re BSNC motion to exclude
                                                                                                                                     Dr. Baer.
2230414   1/31/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    9.30    600    5,580.00 Researching points of law re BSNC motion to exclude
                                                                                                                                     Dr. Baer and drafting opposition to same.
2231018    2/2/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20     275      55.00 Reviewing and filing email communications.
2231079    2/1/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Reviewing motion for summary judgment.
2231090    2/1/2017 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   12.00     575   6,900.00 Drafting motion for summary judgment.
2231092    2/2/2017 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   13.00     575   7,475.00 Drafting motion for summary judgment.
2231182    2/1/2017 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.80     125     100.00 Pulling documents for hot chronology binder and
                                                                                                                                     putting them in chronological order. Conferring with
                                                                                                                                     vendor regarding the printing of chronological
                                                                                                                                     documents. Printing a second binder for M. Gervais
                                                                                                                                     with all of the exhibits for the sealed motion
                                                                                                                                     forsummary judgement. Assembling binder.

2231183    2/2/2017 5331 Marron, Sara        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    125     125.00 Pulling documents for hot chronology binder and
                                                                                                                                    putting them in chronological order. Conferring with
                                                                                                                                    vendor regarding the printing of chronological
                                                                                                                                    documents. Printing a second binder for M. Gervais
                                                                                                                                    with all of the exhibits for the sealed motion
                                                                                                                                    forsummary judgement. Assembling binder.




                                                                                           Page 73 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 75 of 111 PageID:
                                                                     19991


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                  Hrs   Rate        Amt Narrative                                               Fees
 2231215   2/3/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   575    3,450.00 Conducting research.
 2231215   2/3/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   575    2,300.00 Drafting document.
 2231486   2/6/2017 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   275      137.50 Reviewing and filing email communications. Organizing
                                                                                                                                   paper copies of recent deposition transcripts and
                                                                                                                                   exhibits.
2231798    2/1/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.30   600    2,580.00 Planning and preparing opposition to BSNC motion to
                                                                                                                                   exclude Dr. Baer.
2231802    2/3/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.80   600    2,880.00 Reviewing deposition testimony re BSNC motion to
                                                                                                                                   exclude Dr. Baer. Drafting opposition re same.
2231904    2/7/2017 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60   275      165.00 Reviewing and filing email communications.
                                                                                                                                   Attempting to configure Excel spreadsheet per
                                                                                                                                   instructions from M. Musico and communication with
                                                                                                                                   IT re same.
2232288    2/8/2017 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.70   275      467.50 Conference call with IT re sorting Baer spreadsheet per
                                                                                                                                   M. Musico specifications and ongoing internet
                                                                                                                                   research re same.
2232952    2/6/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Conducting research re motion for summary judgment.

2232955    2/7/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.00   575    6,325.00 Conducting research and drafting motion for summary
                                                                                                                                   judgment.
2232957    2/8/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Drafting joint letter and stipulation.
2232957    2/8/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   575    1,725.00 Drafting and researching motion for summary
                                                                                                                                   judgment.
2232961    2/9/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   10.00   575    5,750.00 Drafting motion for summary judgment.
2232962   2/10/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   13.00   575    7,475.00 Drafting motion for summary judgment.
2233317    2/6/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.60   575    2,645.00 Reviewing motion for summary judgment and Daubert
                                                                                                                                   papers. Preparing opposition.
2233325    2/7/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Preparing opposition to motion for summary
                                                                                                                                   judgment.
2233338    2/8/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Preparing opposition to motion for summary
                                                                                                                                   judgment.
2233342    2/9/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Preparing opposition to motion for summary
                                                                                                                                   judgment.
2233348   2/10/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   575    1,725.00 Preparing opposition to motion for summary judgment
                                                                                                                                   and Daubert.
2234103    2/6/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   600    1,500.00 Reviewing deposition testimony re BSNC motion to
                                                                                                                                   exclude Dr. Baer. Drafting opposition re same.
2234108    2/7/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   600    1,800.00 Reviewing deposition testimony re BSNC motion to
                                                                                                                                   exclude Dr. Baer. Drafting opposition re same.
2234111    2/8/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   600    1,200.00 Drafting opposition re BSNC motion to exclude Dr.
                                                                                                                                   Baer.




                                                                                          Page 74 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 76 of 111 PageID:
                                                                     19992


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                                    Fees
 2234112   2/9/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.50    600    5,100.00 Drafting opposition re BSNC motion to exclude Dr.
                                                                                                                                    Baer.
2234115   2/10/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.60    600    2,760.00 Drafting opposition re BSNC motion to exclude Dr.
                                                                                                                                    Baer.
2235120   2/12/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00    575    2,300.00 Drafting motion for summary judgment response.

2235122   2/13/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50    575    4,312.50 Drafting motion for summary judgment response.

2235125   2/14/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   12.00    575    6,900.00 Drafting motion for summary judgment response.

2235127   2/15/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   12.00    575    6,900.00 Drafting motion for summary judgment response.

2235128   2/16/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   16.50    575    9,487.50 Drafting motion for summary judgment response.

2235540   2/17/2017 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10    275       27.50 Reviewing and filing email communications.
2235923   2/15/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Researching motion for summary judgment
                                                                                                                                    opposition.
2235925   2/16/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.50    575    2,587.50 Researching and drafting motion for summary
                                                                                                                                    judgment opposition.
2235928   2/17/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50    575    4,312.50 Reviewing and revising motion for summary judgment
                                                                                                                                    and Daubert oppositions. Conducting related
                                                                                                                                    research.
2235934   2/19/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Reviewing motion for summary judgment opposition.

2235934   2/19/2017 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Researching privilege issues.
2236281   2/17/2017 5331 Marron, Sara       Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    125      125.00 Pulling unredacted documents for R. Nath from most
                                                                                                                                    recent filing. Creating file transfer sites for sealed and
                                                                                                                                    unsealed versions of exhibits.
2236436   2/17/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00     575   2,300.00 Drafting motion for summary judgment.
2236440   2/20/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00     575   1,150.00 Editing motion for summary judgment.
2236441   2/21/2017 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.00     575   6,325.00 Editing motion for summary judgment.
2236461   2/16/2017 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,900   1,900.00 Attending to motion for summary judgment issues.

2236776   2/12/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    5.20    600    3,120.00 Drafting opposition re BSNC motion to exclude Dr.
                                                                                                                                    Baer.
2236779   2/13/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    3.80    600    2,280.00 Drafting opposition re BSNC motion to exclude Dr.
                                                                                                                                    Baer.
2236781   2/14/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    600    1,200.00 Drafting opposition re BSNC motion to exclude Dr.
                                                                                                                                    Baer.
2236785   2/15/2017 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00    600    2,400.00 Drafting opposition re BSNC motion to exclude Dr.
                                                                                                                                    Baer.




                                                                                          Page 75 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 77 of 111 PageID:
                                                                     19993


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                               Fees
 2236787 2/16/2017 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    600    1,200.00 Drafting opposition re BSNC motion to exclude Dr.
                                                                                                                                     Baer.
2236789   2/17/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    5.20    600    3,120.00 Drafting opposition re BSNC motion to exclude Dr.
                                                                                                                                     Baer.
2236789   2/17/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.10    600    2,460.00 Reviewing opposition to motion for summary
                                                                                                                                     judgment.
2236897   2/13/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Working on motion for summary judgment briefing.

2236898   2/14/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Working on motion for summary judgment briefing.

2236899   2/15/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Working on motion for summary judgment briefing.

2236900   2/16/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Working on motion for summary judgment briefing.

2236901   2/17/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Working on motion for summary judgment briefing.

2237600   2/22/2017 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    575    4,600.00 Editing motion for summary judgment.
2237602   2/23/2017 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.00    575    6,325.00 Editing and making filing preparations for motion for
                                                                                                                                     summary judgment.
2237616   2/24/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40    275      110.00 Reviewing and filing email communications. Collecting
                                                                                                                                     and circulating various documents requested by M.
                                                                                                                                     Musico.
2237923   2/27/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20    275       55.00 Reviewing and filing email communications.
2237923   2/27/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40    275      110.00 Reviewing opposition to defendant's motion to strike
                                                                                                                                     Baer.
2238110   2/20/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.20    575    1,840.00 Preparing opposition to motion for summary
                                                                                                                                     judgment.
2238127   2/21/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    575    3,450.00 Preparing opposition to motion for summary
                                                                                                                                     judgment.
2238130   2/22/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50    575    3,162.50 Preparing opposition to motion for summary
                                                                                                                                     judgment.
2238141   2/23/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    575    3,450.00 Preparing opposition to motion for summary
                                                                                                                                     judgment.
2238143   2/24/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50    575    3,737.50 Preparing opposition to motion for summary judgment
                                                                                                                                     and Daubert briefs.
2238154   2/25/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Reviewing and preparing reply to motion for summary
                                                                                                                                     judgment and Daubert oppositions.
2238541   2/20/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Working on motion for summary judgment briefing.

2238542   2/21/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Working on motion for summary judgment briefing.




                                                                                           Page 76 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 78 of 111 PageID:
                                                                     19994


                                                             015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                              Fee Detail
ID      Date       Tkpr TKPR Name                Rank         Matter Matter Name                                 Hrs     Rate        Amt Narrative                                                  Fees
 2238545 2/22/2017 3315 Subramanian, Arun        Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050    4,200.00 Working on motion for summary judgment briefing.

2238549   2/23/2017 3315 Subramanian, Arun       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050    8,400.00 Working on motion for summary judgment briefing.

2238555   2/24/2017 3315 Subramanian, Arun       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   1,050    5,250.00 Working on motion for summary judgment briefing.

2238558   2/27/2017 3315 Subramanian, Arun       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,050    1,050.00 Reviewing and finalizing summary judgment filings.

2238578   2/24/2017 2670 Gervais, Michael        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Reviewing emails. Responding to emails.
2238581   2/28/2017 2670 Gervais, Michael        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Reviewing emails.
2239091   2/28/2017 5328 Polanco, Rodney         Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Reviewing and filing email communications.
2239420   2/27/2017 4142 Musico, Mark            Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    575      460.00 Preparing motion for summary judgment reply.
2239420   2/27/2017 4142 Musico, Mark            Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    575      115.00 Following‐up on logistics from filing re courtesy copies.

2239645   2/24/2017 7874 Henry, Christopher P.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80    225       405.00 Working with J. Connors and N. Kustok re exhibits for
                                                                                                                                         filing.
2240525   2/18/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.40    600     2,640.00 Reviewing deposition transcript for opposition to
                                                                                                                                         summary judgment brief. Researching point of law for
                                                                                                                                         opposition to summary judgment.
2240532   2/19/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.30    600     3,180.00 Revising opposition to Daubert motion.
2240537   2/20/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40    600     2,040.00 Drafting opposition to statement of facts.
2240537   2/20/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10    600       660.00 Conferring with W. Bahnsen and C. Fuentes re
                                                                                                                                         declaration in support of opposition to summary
                                                                                                                                         judgment.
2240537   2/20/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    600     2,400.00 Revising opposition to Daubert motion.
2240541   2/21/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30    600     1,980.00 Drafting opposition to statement of facts.
2240541   2/21/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    600     1,200.00 Revising declarations in support of opposition to
                                                                                                                                         summary judgment.
2240541   2/21/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.20    600     2,520.00 Revising opposition to Daubert motion.
2240544   2/22/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.10    600     2,460.00 Revising opposition to Daubert motion and supporting
                                                                                                                                         papers.
2240544   2/22/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50    600     3,300.00 Revising opposition to motion for summary judgment
                                                                                                                                         and supporting papers.
2240548   2/23/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.80    600     5,280.00 Revising opposition to Daubert motion and supporting
                                                                                                                                         papers.
2240548   2/23/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600       600.00 Revising opposition to motion for summary judgment
                                                                                                                                         and supporting papers.
2240551   2/24/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.60    600     4,560.00 Finalizing and filing opposition to Daubert motion and
                                                                                                                                         supporting papers.
2240551   2/24/2017 4024 Connors, Jordan         Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.80    600     2,880.00 Finalizing and filing opposition to motion for summary
                                                                                                                                         judgment and supporting papers.




                                                                                               Page 77 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 79 of 111 PageID:
                                                                     19995


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                               Fees
 2240556 2/27/2017 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    600    2,400.00 Reviewing summary judgment opposition filings and
                                                                                                                                    BSNC briefs.
2240561   2/28/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80    600    1,680.00 Reviewing summary judgment opposition filings and
                                                                                                                                    BSNC briefs.
2240561   2/28/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    600    1,020.00 Drafting outline of reply in support of Daubert motion.

2240718    3/1/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10    275       27.50 Reviewing and filing email communications.
2240726    3/2/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10    275       27.50 Reviewing and filing email communications.
2240937    3/3/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10    275       27.50 Reviewing and filing email communications.
2241188    3/1/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Preparing Daubert and motion for summary judgment
                                                                                                                                    reply.
2241193    3/2/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Preparing Daubert and motion for summary judgment
                                                                                                                                    reply.
2241197    3/3/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Preparing Daubert and motion for summary judgment
                                                                                                                                    reply.
2241202    3/6/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    275      137.50 Reviewing and filing email communications. Reviewing
                                                                                                                                    file to attempt last trial team communications re
                                                                                                                                    ZirMed data.
2241983    3/1/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Reviewing of summary judgment and Daubert papers.

2241985    3/2/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Reviewing summary judgment and Daubert papers.

2241986    3/3/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Reviewing summary judgment and Daubert papers.

2241987    3/6/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Reviewing summary judgement and Daubert papers.

2241988    3/7/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Reviewing summary judgment and Daubert papers.

2242519    3/2/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    600      720.00 Reviewing summary judgment opposition filings and
                                                                                                                                    BSNC briefs.
2242519    3/2/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80    600    2,280.00 Drafting outline of reply in support of Daubert motion.

2242522    3/3/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50     600   2,100.00 Drafting reply in support of Daubert motion.
2242883    3/8/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Drafting of reply to Daubert motions.
2243516    3/7/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60     600   2,160.00 Drafting reply in support of Daubert motion.
2243528    3/8/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     600     600.00 Drafting reply in support of Daubert motion.
2243598    3/9/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00     600   3,000.00 Drafting reply in support of Daubert motion.
2243599   3/10/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.30     600   4,980.00 Drafting reply in support of Daubert motion.
2243866    3/7/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575     862.50 Preparing Daubert and motion for summary judgment
                                                                                                                                    reply briefs.
2243871    3/8/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Preparing Daubert and motion for summary judgment
                                                                                                                                    reply briefs.



                                                                                           Page 78 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 80 of 111 PageID:
                                                                     19996


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                                Fees
 2243891 3/12/2017 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Preparing motion for summary judgment reply.
 2244898 3/16/2017 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    275      357.50 Identifying docket numbers of various previously filed
                                                                                                                                    exhibits referenced in Reply brief and
                                                                                                                                    collecting/circulating same per instructions from J.
                                                                                                                                    Connors. Reviewing and filing email communications.

2245366   3/13/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing motion for summary judgment and Daubert
                                                                                                                                    reply briefs.
2245367   3/14/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.50    575    4,887.50 Preparing motion for summary judgment and Daubert
                                                                                                                                    reply briefs.
2245371   3/15/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.10    575    2,932.50 Preparing motion for summary judgment reply and
                                                                                                                                    response to 56.1 statement.
2245371   3/15/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40    575      805.00 Revising Daubert reply brief.
2245372   3/16/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00    575    5,175.00 Revising, finalizing, and filing motion for summary
                                                                                                                                    judgment and Daubert reply briefs.
2245377   3/17/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.10    575    1,207.50 Reviewing motion to dismiss reply and preparing sur‐
                                                                                                                                    reply.
2245379   3/19/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Researching issues for sur‐reply.
2245398   3/12/2017 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Reviewing emails.
2245406   3/17/2017 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Reviewing emails re U.S. Attorney's Office request for
                                                                                                                                    affidavit.
2245439   3/20/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    275      165.00 Reviewing and filing email communications.
                                                                                                                                    Communicating with vendor re running various
                                                                                                                                    searches on database.
2246207   3/12/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.50    600    5,100.00 Drafting reply in support of Daubert motion.
2246208   3/13/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   9.30    600    5,580.00 Drafting reply in support of Daubert motion.
2246209   3/14/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    600    1,800.00 Revising reply in support of Daubert motion.
2246212   3/15/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    600    4,500.00 Revising reply in support of Daubert motion.
2246214   3/16/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60    600    2,160.00 Revising reply in support of Daubert motion.
2246285   3/21/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Communicating with vendor re constructing various
                                                                                                                                    searches on database.
2247020   3/21/2017 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50     575   2,587.50 Reviewing cases for sur‐reply.
2247028   3/22/2017 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00     575   3,450.00 Reviewing cases for sur‐reply.
2247030   3/23/2017 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00     575   3,450.00 Editing sur‐reply.
2247189   3/13/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents for trial.
2247190   3/14/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents for trial.
2247191   3/15/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing documents for trial.
2247192   3/16/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Reviewing motion for summary judgment papers.

2247193   3/17/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.80   1,050   5,040.00 Preparing sur‐reply to Motion for Summary Judgment.

2247193   3/17/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20   1,050   3,360.00 Reviewing documents for trial.



                                                                                           Page 79 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 81 of 111 PageID:
                                                                     19997


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs     Rate        Amt Narrative                                                 Fees
 2247216 3/20/2017 2901 Carmody, Bill        Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,900      950.00 Attending to summary judgment issues.
 2247937 3/24/2017 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10     275       27.50 Reviewing and filing email communications.
 2248490 3/20/2017 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50     575    2,012.50 Researching issues for sur‐reply.
 2248524 3/21/2017 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.60     575    3,220.00 Researching and drafting sur‐reply.
 2248531 3/22/2017 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.10     575    5,232.50 Researching, drafting and revising sur‐reply.
 2248541 3/23/2017 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.20     575    4,140.00 Researching, revising and finalizing sur‐reply and letter
                                                                                                                                     requesting leave to file.
2248560   3/24/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     575    1,150.00 Reviewing draft from opposing counsel.
2248560   3/24/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.10     575    2,357.50 Preparing motion to seal opposition.
2248846   3/20/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.90     600    1,740.00 Researching points of law re sur‐reply.
2249036   3/20/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050    8,400.00 Preparing sur‐reply.
2249038   3/22/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050    8,400.00 Preparing sur‐reply.
2249039   3/23/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050    8,400.00 Preparing sur‐reply.
2249078   3/21/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50     600    2,100.00 Researching points of law re sur‐reply.
2249081   3/22/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     600      600.00 Researching points of law re sur‐reply.
2249081   3/22/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60     600      960.00 Reviewing and editing sur‐reply.
2249084   3/23/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.10     600    2,460.00 Reviewing and editing sur‐reply.
2250369   3/27/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575      575.00 Preparing motion to seal opposition.
2250369   3/27/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40     575      805.00 Reviewing and responding to sur‐reply opposition.

2251029   3/28/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050    4,200.00 Reviewing documents for hot chronology.
2251049   3/29/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050    4,200.00 Reviewing documents for hot chronology.
2254679    4/7/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050    8,400.00 Reviewing hot documents for trial chronology.
2254789    4/6/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.90     600    1,740.00 Reviewing case file re motions to file under seal and
                                                                                                                                     related filings.
2254789    4/6/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    600       360.00 Conferring with opposing counsel re same.
2254791    4/7/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    600     1,800.00 Reviewing case file re motions to file under seal and
                                                                                                                                     related filings.
2256584   4/10/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    600     1,800.00 Reviewing case file re motions to file under seal and
                                                                                                                                     related filings.
2256600   4/11/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.10    600     1,860.00 Redacting public filings.
2256600   4/11/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    600       900.00 Drafting proposed order re motion to file under seal.

2256608   4/13/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60    600     1,560.00 Drafting proposed order re motion to file under seal.

2260408   4/25/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10    275       27.50 Reviewing and filing email communications.
2264321    5/9/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10    275       27.50 Reviewing and filing email communications.
2266176   5/11/2017 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    575      172.50 Reviewing emails.
2277955   6/13/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Communicating with Relativity vendor to identify point
                                                                                                                                    of contact.
2280152   6/12/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    600      720.00 Conferring with W. Bahnsen re case update.
2280152   6/12/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    600      360.00 Conferring with Relativity vendor.



                                                                                           Page 80 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 82 of 111 PageID:
                                                                    19998


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                             Fees
 2282898 6/19/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    600      300.00 Conferring with W. Bahnsen.
 2282898 6/19/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    600      600.00 Reviewing file for W. Bahnsen.
 2311507 9/11/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    275       82.50 Reviewing file for any post deposition communications
                                                                                                                                   with M. Underwood.
2326981 10/17/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    275      605.00 Identifying, searching for and organizing all motion
                                                                                                                                   documents requested by the court and instructions to
                                                                                                                                   vendor on reproduction of same. Ongoing
                                                                                                                                   communication with vendor re reproduction of motion
                                                                                                                                   documents.
2327573 10/18/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    275       82.50 Reviewing documents requested by the court that
                                                                                                                                   were copied by vendor to confirm instructions were
                                                                                                                                   followed.
2329710 10/17/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575     287.50 Preparing courtesy copies.
2329723 10/18/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575     287.50 Preparing courtesy copies.
2354504 12/18/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60     275     165.00 Reviewing court's summary Judgment Opinions.
2355684 12/15/2017 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Reviewing decision, attending team calls, and
                                                                                                                                   discussion re same.
2355704 12/19/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    275      220.00 Reviewing and filing email communications.
                                                                                                                                   Continuing reviewing Summary Judgment decisions.

2355958 12/15/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575     862.50 Reviewing court orders and planning trial strategy.

2356194 12/20/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10    275      27.50 Reviewing and filing email communications.
2356718 12/21/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275      55.00 Reviewing and filing email communications.
2356816 12/20/2017 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575     575.00 Researching conflicts issue. Planning trial strategy.

2357199 12/16/2017 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Reviewing orders.
2357354 12/22/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Reviewing and filing email communications.
2359797 12/28/2017 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10    275       27.50 Reviewing and filing email communications.
2360796 12/18/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.90    600    1,140.00 Reviewing orders on motions for summary judgment
                                                                                                                                   and motions to exclude experts.
2360796 12/18/2017 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     600     300.00 Conferring with Relators re same.
2361958   1/3/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10     275      27.50 Reviewing email communications.
2362308   1/5/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20     275      55.00 Reviewing and filing email communications.
2363137   1/3/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70     575     402.50 Reviewing summary judgment papers.
2363137   1/3/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80     575     460.00 Preparing materials for settlement conference.
2363141   1/4/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40     575     805.00 Reviewing summary judgment papers.
2363141   1/4/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.60     575     920.00 Preparing materials for settlement conference.
2364075   1/2/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Preparing for settlement conference.
2364078   1/3/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Preparing for settlement conference.
2364080   1/4/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050   4,200.00 Preparing for settlement conference.
2364998 1/11/2018 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10     275      27.50 Reviewing and filing email communications.



                                                                                          Page 81 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 83 of 111 PageID:
                                                                     19999


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                                 Fees
 2365548   1/8/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Planning trial strategy. Preparing for settlement
                                                                                                                                    conference.
2365566   1/10/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Preparing for settlement conference.
2365574   1/11/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing for settlement conference.
2366525   1/16/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10    275       27.50 Reviewing and filing email communications.
2367060   1/17/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40    275      110.00 Locating projector for tomorrow's hearing and testing
                                                                                                                                    of same.
2367926   1/18/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10    275       27.50 Reviewing and filing email communications.
2368171   1/17/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    575    2,300.00 Preparing for settlement hearing.
2368172   1/18/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Traveling to and from settlement conference.
2368172   1/18/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing for and attending settlement conference.

2368172   1/18/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Reviewing documents.
2370286   1/18/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Attending settlement hearing and preparation.
2370617   1/15/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50     575   2,012.50 Preparing for settlement conference.
2370630   1/16/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Preparing for settlement conference.
2370633   1/17/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00     575   1,150.00 Preparing for settlement conference.
2370636   1/18/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50     575     862.50 Preparing for settlement conference and follow‐up.

2371380   1/23/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Researching. Emailing trial team re same.
2374094   1/22/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,050     525.00 Corresponding by email re settlement.
2374109   1/23/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,050     525.00 Corresponding by email re settlement.
2374112   1/24/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,050     525.00 Corresponding by email regarding settlement.
2374118   1/25/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,050     525.00 Corresponding by email re settlement.
2374160   1/26/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,050     525.00 Corresponding via email re settlement.
2374342   1/23/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575     287.50 Researching discovery issue.
2376002   1/31/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00     575   1,725.00 Drafting letter to Judge Vasquez.
2376002   1/31/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00     575   2,300.00 Researching and reviewing documents.
2377598    2/1/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Drafting settlement correspondence to court.
2377602    2/2/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   1,050   2,100.00 Drafting settlement correspondence to court.
2377619    2/2/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20     575     115.00 Revising letter to court.
2377637    2/2/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Finalizing letter to judge Vasquez.
2377640    2/5/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575     287.50 Researching documents.
2378472    2/7/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60     275     165.00 Communicating with M. Musico re upcoming pre‐trial
                                                                                                                                    conference. Identifying and organizing all deposition
                                                                                                                                    exhibits in dropbox folder in anticipation of preparing
                                                                                                                                    designations.
2378476    2/8/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    275      330.00 Beginning collection of all documents that may be
                                                                                                                                    potential trial exhibits per instructions from M.
                                                                                                                                    Musico.
2378764    2/9/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    275      220.00 Continuing review of file to identify potential trial
                                                                                                                                    exhibits per instructions from M. Musico.



                                                                                           Page 82 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 84 of 111 PageID:
                                                                     20000


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                                    Fees
 2380675   2/7/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Preparing pretrial order, exhibits and deposition
                                                                                                                                  designations.
2381454   2/15/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80   275      495.00 Continuing collecting and organizing potential trial
                                                                                                                                  exhibits per instructions from M. Musico.
2383750   2/18/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.80   575    1,035.00 Reviewing pre‐trial order.
2383750   2/18/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.20   575    3,565.00 Drafting pre‐trial order.
2383763   2/19/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   575    4,600.00 Drafting pre‐trial order.
2383782   2/20/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70   275      192.50 Collecting and circulating documents and pleadings
                                                                                                                                  per instructions from M. Gervais.
2384602   2/22/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   275      220.00 Reviewing order re Pre‐trial conference. Continuing
                                                                                                                                  collecting and organizing potential trial exhibits.

2384869   2/23/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   275     220.00 Continuing organizing potential trial exhibits.
2385542   2/26/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   275     220.00 Comparing and contrasting hottest document table to
                                                                                                                                 documents in dropbox to confirm they are the same to
                                                                                                                                 add to bucket of potential trial exhibits.

2386509   2/22/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575     575.00 Preparing for pretrial conference.
2387161   2/27/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   275     330.00 Continuing compiling potential trial exhibits and
                                                                                                                                 ongoing communication with M. Musico re same.
                                                                                                                                 Reviewing and filing email communications.
2387887   2/27/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575     862.50 Preparing for pretrial conference.
2390029    3/4/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   275     220.00 Continuing compilation of potential trial exhibits.

2390470    3/2/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   575    2,875.00 Researching and reviewing documents.
2390474    3/4/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   575    4,600.00 Researching re termination agreement.
2390476    3/5/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Emailing re pre‐trial order.
2390476    3/5/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50   575    2,012.50 Researching and reviewing documents.
2391191    3/2/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Preparing for pretrial conference.
2392016    3/5/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40   275      385.00 Finalizing initial compilation of potential trial exhibits
                                                                                                                                  for review and ongoing communication with M.
                                                                                                                                  Gervais re same.
2393046    3/5/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Addressing timing of pretrial submissions, and related
                                                                                                                                  call to court.
2393065    3/6/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Addressing timing of pretrial submissions.
2393074    3/7/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Addressing timing of pretrial submissions.
2393820    3/6/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   575    4,025.00 Preparing and reviewing deposition designations.

2393822    3/7/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   575    4,025.00 Preparing and reviewing deposition designations.

2393824    3/8/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00   575    5,175.00 Preparing and reviewing deposition designations.




                                                                                          Page 83 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 85 of 111 PageID:
                                                                     20001


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                                  Fees
 2393825   3/9/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Preparing and reviewing deposition designations.

2393826   3/12/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00    575    3,450.00 Preparing and reviewing deposition designations.

2394158   3/13/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80    275      770.00 Reviewing deposition designations for various
                                                                                                                                    transcripts noted by M. Gervais and preparing
                                                                                                                                    spreadsheet outlining the page/lines of said
                                                                                                                                    designations.
2394554   3/14/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    275      165.00 Electronically organizing potential trial exhibits to be
                                                                                                                                    copied by vendor.
2395442   3/15/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80    275    1,045.00 Receiving hard copies of potential trial exhibits
                                                                                                                                    previously identified and organizing same per
                                                                                                                                    instructions from M. Gervais.
2395456   3/16/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Reviewing and filing email communications.
2395505   3/18/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    275       55.00 Ongoing communication with M. Gervais re trial
                                                                                                                                    exhibits.
2395730   3/13/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Reviewing and revising deposition designations.
2395732   3/14/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Reviewing and revising deposition designations.
2395734   3/15/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Reviewing and revising deposition designations.
2395737   3/16/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50    575    3,737.50 Reviewing and revising deposition designations.
2395740   3/18/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    575      460.00 Finalizing termination letter.
2395740   3/18/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.70    575    1,552.50 Reviewing potential exhibits.
2395971   3/19/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    275      467.50 Attending to preparation of trial exhibits.
2396515   3/12/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing deposition designations.
2396515   3/12/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Preparing pretrial order.
2396522   3/13/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.20    575      115.00 Preparing deposition designations.
2396522   3/13/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30    575      172.50 Preparing pretrial order.
2396570   3/16/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing deposition designations.
2396570   3/16/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575      287.50 Preparing pretrial order.
2397847   3/20/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.40    275    1,210.00 Continuing noting deposition designations and
                                                                                                                                    organizing potential exhibits and ongoing
                                                                                                                                    communication with trial team re same.
2397865   3/21/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    275      605.00 Continuing noting deposition designations and
                                                                                                                                    organizing potential trial exhibits.
2397939   3/15/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Preparing Pretrial order.
2398215   3/22/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.30     275   1,182.50 Continuing preparation of exhibit list and conference
                                                                                                                                    call with trial team re same.
2398690   3/23/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.90    275    1,072.50 Continuing reviewing and organizing documents for
                                                                                                                                    trial exhibit list. Reviewing and filing email
                                                                                                                                    communications.
2398691   3/25/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    275    1,375.00 Continuing reviewing and organizing documents for
                                                                                                                                    trial exhibit list.



                                                                                           Page 84 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 86 of 111 PageID:
                                                                     20002


                                                            015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                             Fee Detail
ID      Date       Tkpr TKPR Name               Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                              Fees
 2398806 3/19/2018 2670 Gervais, Michael        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Finalizing letter motion. Emailing opposing counsel re
                                                                                                                                      same.
2398812   3/21/2018 2670 Gervais, Michael       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Working on deposition designations.
2398814   3/22/2018 2670 Gervais, Michael       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Working on deposition designations.
2398814   3/22/2018 2670 Gervais, Michael       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Conferring with trial team on weekly call.
2398815   3/23/2018 2670 Gervais, Michael       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Emailing opposing counsel. Working on deposition
                                                                                                                                      designations.
2398818   3/24/2018 2670 Gervais, Michael       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Working on deposition designations.
2399400   3/26/2018 5328 Polanco, Rodney        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.10   275      302.50 Continuing reviewing and organizing documents for
                                                                                                                                      trial exhibit list.
2399400   3/26/2018 5328 Polanco, Rodney        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   275      687.50 Continuing noting deposition designations.
2399573   3/20/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Preparing for pretrial conference.
2399573   3/20/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   575    1,725.00 Preparing trial exhibits.
2399573   3/20/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Drafting deposition designations.
2399610   3/21/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Preparing for pretrial conference.
2399613   3/22/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Drafting deposition designations.
2399617   3/23/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50   575    3,162.50 Preparing trial exhibits.
2400751   3/27/2018 5328 Polanco, Rodney        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   275      550.00 Continuing reviewing and organizing documents for
                                                                                                                                      exhibit list.
2400751   3/27/2018 5328 Polanco, Rodney        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   275      687.50 Continuing reviewing deposition transcripts and noting
                                                                                                                                      designations assigned by M. Musico and M. Gervais.

2401531   3/28/2018 5334 Chokshi, Aashka        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   225     450.00 Reviewing and organizing hot documents for trial
                                                                                                                                     exhibit List per instructions from R. Polanco.
2401677   3/28/2018 5160 Wojtczak, Richard A.   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   275     825.00 Reviewing and organizing hot documents for trial
                                                                                                                                     exhibit list pursuant to instructions from R. Polanco.

2401702   3/28/2018 5328 Polanco, Rodney        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.70   275    2,667.50 Attending to preparation of trial exhibits.
2401833   3/26/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00   575    2,875.00 Preparing for pretrial conference.
2401844   3/27/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Drafting deposition designations.
2401850   3/28/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50   575    3,737.50 Preparing for pretrial conference.
2401955   3/29/2018 5334 Chokshi, Aashka        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.20   225    1,170.00 Reviewing and organizing hot documents for trial
                                                                                                                                      exhibit list per instructions from R. Polanco.
2402189   3/29/2018 5328 Polanco, Rodney        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.70   275    2,117.50 Continuing reviewing and organizing documents for
                                                                                                                                      exhibit list and ongoing communication with trial team
                                                                                                                                      re same.
2402747   3/29/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Preparing trial exhibits.
2402747   3/29/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Preparing for pre‐trial conference.
2402783   3/30/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Preparing for pre‐trial conference.
2402783   3/30/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Preparing for mock trial.
2402785   3/31/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40   575      230.00 Preparing trial exhibits.
2402785   3/31/2018 4142 Musico, Mark           Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60   575      345.00 Preparing for mock trial.


                                                                                              Page 85 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 87 of 111 PageID:
                                                                     20003


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                              Fees
 2403223 3/28/2018 7835 Cobden, Jan          Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    275      550.00 Reviewing and organizing Hot Documents for Trial
                                                                                                                                    Exhibit List per instructions from R. Polanco
2403242   3/30/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.60    275    1,265.00 Continuing reviewing and organizing documents for
                                                                                                                                    exhibit list.
2403243   3/29/2018 7835 Cobden, Jan         Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    275      825.00 Reviewing and organizing Hot Documents for Trial
                                                                                                                                    Exhibit List per instructions from R. Polanco.
2403244   3/31/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    275    1,100.00 Continuing reviewing and organizing documents for
                                                                                                                                    exhibit list.
2404963   3/26/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing draft pre‐trial conference order.
2404980   3/27/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Researching re 1006 summary.
2404986   3/28/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Emailing trial team re exhibit list.
2405245   3/28/2018 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    175      525.00 Reviewing and organizing hot documents for trial
                                                                                                                                    exhibit list per instructions from R. Polanco.
2405248   3/29/2018 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    175    1,400.00 Reviewing and organizing hot documents for trial
                                                                                                                                    exhibit list per instructions from R. Polanco.
2405549    4/4/2018 5334 Chokshi, Aashka     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.70    225    1,057.50 Removing headers from patient files per instructions
                                                                                                                                    from R. Polanco.
2405605    4/5/2018 5334 Chokshi, Aashka     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    225    1,125.00 Removing headers from patient files per instructions
                                                                                                                                    from R. Polanco.
2405989    4/1/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    275    1,100.00 Continuing reviewing and organizing documents for
                                                                                                                                    trial exhibit list.
2406007    4/2/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.40    275    1,760.00 Continuing and finalizing organization of documents
                                                                                                                                    for trial exhibit list.
2406018    4/3/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.70    275    1,842.50 Attending to preparation of trial exhibits and
                                                                                                                                    deposition designations.
2406030    4/4/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.80    275    1,870.00 Attending to preparation of trial exhibits and
                                                                                                                                    deposition designations.
2406046    4/5/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.80    275    2,145.00 Attending to preparation of trial exhibits and
                                                                                                                                    deposition designations.
2406251    4/6/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80    275    1,045.00 Attending to preparation of trial exhibits and
                                                                                                                                    deposition designations.
2406821    4/5/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,050   1,050.00 Reviewing email correspondence.
2406964    4/9/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80     275     220.00 Attending to preparation of trial exhibits and
                                                                                                                                    deposition designations.
2406996    4/2/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30    575    1,897.50 Preparing for pretrial conference.
2406996    4/2/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.70    575    2,702.50 Preparing for mock trial.
2407005    4/3/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    575    1,265.00 Reviewing Boston Scientific trial exhibits.
2407005    4/3/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80    575      460.00 Preparing for mock trial.
2407029    4/4/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40    575      805.00 Reviewing Boston Scientific trial exhibits.
2407029    4/4/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.30    575    1,322.50 Preparing for pretrial conference
2407029    4/4/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    575      747.50 Preparing for mock trial.
2407039    4/5/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    575    1,265.00 Preparing trial exhibits and list.


                                                                                           Page 86 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 88 of 111 PageID:
                                                                     20004


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                  Hrs   Rate        Amt Narrative                                                    Fees
 2407039   4/5/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   575      862.50 Preparing for pretrial conference.
 2407039   4/5/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Preparing for mock trial.
 2407039   4/5/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.30   575    1,322.50 Researching deposition issue.
 2407052   4/6/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50   575    3,737.50 Preparing for mock trial.
 2407056   4/8/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Preparing for pretrial conference.
 2407060   4/9/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Preparing for mock trial.
 2408105 4/10/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.70   275      467.50 Attending to preparation of trial exhibits and
                                                                                                                                   deposition designations.
2408387    4/4/2018 7835 Cobden, Jan        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   275      687.50 Removing headers from patient files per instructions
                                                                                                                                   from R. Polanco.
2408474   4/11/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20   275       55.00 Reviewing and filing email communications.
2408572    4/5/2018 7835 Cobden, Jan        Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.20   275      880.00 Removing headers from patient files per instructions
                                                                                                                                   from R. Polanco.
2408757   4/12/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.30   275      357.50 Beginning review of various chapters within the
                                                                                                                                   seventh edition of Bloomberg BNA False Claims Act :
                                                                                                                                   Whistleblower Litigation book for select portions on
                                                                                                                                   jury instructions per directions from M. Musico.

2408757   4/12/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   275      550.00 Ongoing communication with M. Musico and M.
                                                                                                                                   Gervais re PX Trial exhibits.
2408973    4/2/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Researching re 1006.
2408986    4/6/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.00   575    6,325.00 Reviewing and editing deposition highlighting.
2408995   4/10/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   575      862.50 Conferring by phone with trial team re pre‐trial
                                                                                                                                   conference.
2408997   4/12/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.50   575    2,587.50 Reviewing exhibits with M. Musico.
2408997   4/12/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Reviewing deposition transcripts.
2409219   4/13/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.80   275      770.00 Reviewing exhibits marked for removal by M. Musico
                                                                                                                                   and M. Gervais and identifying and removing same
                                                                                                                                   from trial exhibit list and various trial exhibit folders.
                                                                                                                                   Reviewing and filing email communications.

2409876   4/10/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.80   575    1,610.00 Preparing for pretrial conference.
2409876   4/10/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.20   575    1,840.00 Preparing for mock trial.
2409879   4/11/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.30   575    1,897.50 Preparing pretrial order.
2409879   4/11/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.70   575    2,127.50 Preparing for pretrial conference.
2409881   4/12/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   575    4,600.00 Preparing for pretrial conference.
2409887   4/13/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Preparing pretrial order.
2409900   4/15/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Preparing trial exhibits.
2409912   4/16/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.70   275      467.50 Attending to preparation of trial exhibits and
                                                                                                                                   deposition designations.
2410479   4/16/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   575      287.50 Preparing for and participating in meet and confer.




                                                                                          Page 87 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 89 of 111 PageID:
                                                                     20005


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs     Rate        Amt Narrative                                            Fees
 2410557 4/10/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050    4,200.00 Meeting to discuss trial strategy and email
                                                                                                                                    correspondence.
2410566   4/16/2018 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,900      950.00 Attending to pretrial scheduling issue.
2410566   4/16/2018 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,900      950.00 Attending to status issues.
2410567   4/17/2018 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,900      950.00 Attending to pretrial scheduling issue. Attending to
                                                                                                                                    status issues.
2411011   4/17/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40    275       660.00 Attending to preparation of trial exhibits and jury
                                                                                                                                    instructions
2411629   4/18/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10     275       27.50 Reviewing and filing email communications.
2412010   4/19/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10     275       27.50 Reviewing and filing email communications.
2412276   4/20/2018 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   1,900    1,900.00 Attending to pretrial issue.
2412371   4/17/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575      575.00 Reviewing pre‐trial order draft.
2412380   4/19/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575      287.50 Reviewing draft pre‐trial order.
2412384   4/20/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575      575.00 Preparing for and participating in person meet and
                                                                                                                                    confer.
2412648   4/20/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    275       605.00 Attending to preparation of trial exhibits and jury
                                                                                                                                    instructions
2412653   4/22/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    275       165.00 Downloading documents that make up trial exhibit DX‐
                                                                                                                                    133 and organizing same in dropbox.
2413548   4/16/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70    575       402.50 Attending meet and confer with opposing counsel.

2413548   4/16/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575     1,725.00 Preparing trial exhibits and pretrial order.
2413548   4/16/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    575       747.50 Preparing for pretrial conference.
2413551   4/17/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575     1,437.50 Preparing trial exhibits.
2413551   4/17/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575     1,150.00 Preparing pretrial order.
2413551   4/17/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575     1,150.00 Preparing for pretrial conference.
2413556   4/18/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575       575.00 Preparing for pretrial conference.
2413563   4/19/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575     1,150.00 Preparing trial exhibits.
2413565   4/20/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575       575.00 Meeting with opposing counsel re pretrial order.
2413565   4/20/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575       575.00 Preparing for pretrial conference.
2413568   4/21/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575     1,150.00 Preparing for trial.
2413844   4/23/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    275       165.00 Participating in trial team call.
2413844   4/23/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    275       412.50 Organizing hottest chronology documents for printing
                                                                                                                                    and communicating with M. Musico re same.

2413844   4/23/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20    275       880.00 Attending to preparation of trial exhibits and
                                                                                                                                    deposition designations.
2414324   4/10/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    600       780.00 Reviewing materials for pretrial order.
2414328   4/11/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    600     1,320.00 Reviewing materials re trial witnesses
2414343   4/13/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   5.80    600     3,480.00 Traveling to and returning from Los Angeles for
                                                                                                                                    witness interview.
2414352   4/13/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    600     1,800.00 Attending witness interview.



                                                                                          Page 88 of 155
                                   Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 90 of 111 PageID:
                                                                      20006


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate         Amt Narrative                                             Fees
 2414790 4/24/2018 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.70    275       467.50 Attending to preparation of trial exhibits and
                                                                                                                                     deposition designations.
2414858   4/18/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050    4,200.00 Meeting to discuss pretrial order.
2414864   4/20/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   1,050    4,200.00 Meeting to discuss pretrial order and preparing for
                                                                                                                                     trial.
2415104   4/23/2018 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,900   11,400.00 Preparing for trial.
2415106   4/24/2018 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,900   11,400.00 Preparing for trial.
2415107   4/25/2018 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   1,900   11,400.00 Preparing for trial.
2415219   4/25/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.40     275      660.00 Attending to preparation of trial exhibits and
                                                                                                                                     deposition designations.
2416279   4/26/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60    275       715.00 Attending to preparation of trial exhibits and
                                                                                                                                     deposition designations.
2416765   4/30/2018 5334 Chokshi, Aashka     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.50    225     1,687.50 Beginning Project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2416781   4/25/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575       575.00 Preparing for and attending trial team meeting.
2416781   4/25/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575       287.50 Reviewing pre‐trial order.
2416795   4/29/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575       287.50 Reviewing emails re pre‐trial conference.
2417394   4/30/2018 6120 Dolan, John F.      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30    275       907.50 Beginning project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2417631   4/27/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20    275       880.00 Attending to preparation of trial exhibits and
                                                                                                                                     deposition designations.
2417664   4/30/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.60    275     1,540.00 Preparing, revising and finalizing instructing
                                                                                                                                     memorandum to Project DX‐133 review team and
                                                                                                                                     designating batches. Beginning Project DX‐133 and
                                                                                                                                     ongoing communication with review team re same.

2417846   4/30/2018 5333 Biddle, Taylor      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    200       100.00 Beginning Project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2418029   4/30/2018 7835 Cobden, Jan         Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.80    275     1,045.00 Beginning Project DX‐133 per instructions from R.
                                                                                                                                     Polanco
2418051   4/30/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575     2,875.00 Preparing for and attending pre‐trial conference.
2418051   4/30/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575     1,150.00 Traveling to and from pre‐trial conference.
2418051   4/30/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575     1,437.50 Preparing for upcoming mock trial.
2418072   4/23/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50    575     3,162.50 Preparing pretrial order.
2418072   4/23/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50    575     1,437.50 Preparing for trial.
2418093   4/24/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50    575     2,012.50 Preparing for pretrial conference.
2418093   4/24/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50    575     2,587.50 Preparing for trial.
2418110   4/25/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.60    575     3,220.00 Preparing pretrial order.
2418110   4/25/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40    575     1,955.00 Preparing for trial.
2418110   4/25/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575       575.00 Attending team meeting.
2418141   4/26/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575       862.50 Preparing pretrial order.
2418141   4/26/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575       862.50 Preparing deposition designations.



                                                                                           Page 89 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 91 of 111 PageID:
                                                                     20007


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate         Amt Narrative                                                 Fees
 2418141 4/26/2018 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575     1,150.00 Preparing for pretrial conference.
 2418141 4/26/2018 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575     1,150.00 Preparing for trial.
 2418211 4/27/2018 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575       862.50 Preparing pretrial order.
 2418211 4/27/2018 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.60    575     1,495.00 Preparing for pretrial conference.
 2418211 4/27/2018 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.40    575     1,955.00 Preparing for trial.
 2418230 4/28/2018 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575       287.50 Preparing for pretrial conference.
 2418233 4/29/2018 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575     1,725.00 Preparing for trial.
 2418239 4/30/2018 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00    575     4,025.00 Attending pretrial conference.
 2418239 4/30/2018 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575     1,150.00 Preparing for trial.
 2419223 4/30/2018 5337 Santos, Vanessa      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.20    275       880.00 Beginning Project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2419378   4/30/2018 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   1,900   13,300.00 Preparing for and attending pretrial conference.
2419774   4/30/2018 5326 Beard, Rebecca      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00     175    1,050.00 Beginning Project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2420111   4/25/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050    8,400.00 Preparing pretrial order.
2420132   4/30/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050    8,400.00 Preparing for and attending pretrial conference.
2420160    5/1/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.80     275    1,320.00 Continuing Project DX‐133 and ongoing
                                                                                                                                     communication with review team re same. Reviewing
                                                                                                                                     and filing email communications.
2420205    5/2/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.90    275       797.50 Continuing and finalizing batch of Project DX‐133 files
                                                                                                                                     and ongoing communication with review team re
                                                                                                                                     same.
2420205    5/2/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20    275       605.00 Communicating with M. Musico and M. Spalding re
                                                                                                                                     upcoming mock trial.
2420207    5/1/2018 5337 Santos, Vanessa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.80    275     1,595.00 Continuing project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2420219    5/2/2018 5337 Santos, Vanessa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.60    275     1,265.00 Continuing project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2420359    5/1/2018 5334 Chokshi, Aashka     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.50    225     1,462.50 Continuing project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2420373    5/2/2018 5334 Chokshi, Aashka     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00    225     1,800.00 Continuing project DX133 per instructions from R.
                                                                                                                                     Polanco.
2420402    5/1/2018 6120 Dolan, John F.      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.90    275     1,347.50 Continuing project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2420408    5/2/2018 6120 Dolan, John F.      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.70    275     1,567.50 Continuing project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2420425    5/3/2018 5337 Santos, Vanessa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.90    275     1,072.50 Continuing project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2420453    5/3/2018 6120 Dolan, John F.      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.20    275     1,705.00 Continuing project DX‐133 per instructions from R.
                                                                                                                                     Polanco.
2420513    5/3/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.70    275     1,017.50 Managing exhibits for trial and mock trial.




                                                                                           Page 90 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 92 of 111 PageID:
                                                                     20008


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                               Fees
 2420517   5/3/2018 5334 Chokshi, Aashka    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    225      225.00 Continuing DX‐133 project per instructions from R.
                                                                                                                                    Polanco
2420601    5/4/2018 5334 Chokshi, Aashka    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    225      225.00 Continuing project DX‐133 per instructions from R.
                                                                                                                                    Polanco.
2420602    5/4/2018 6120 Dolan, John F.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.90    275    1,622.50 Continuing project DX‐133 per instructions from R.
                                                                                                                                    Polanco.
2420707    5/4/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50     275     412.50 Managing exhibits for trial and mock trial.
2420878    5/1/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00     575   1,150.00 Preparing for trial.
2420878    5/1/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00     575   1,150.00 Preparing for mock trial.
2420880    5/2/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.30     575   1,897.50 Preparing for trial.
2420880    5/2/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.40     575   1,380.00 Reviewing documents.
2420880    5/2/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.30     575   3,622.50 Preparing for mock trial.
2420882    5/3/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00     575   1,725.00 Preparing for trial.
2420882    5/3/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00     575   1,150.00 Reviewing documents.
2420882    5/3/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00     575   4,600.00 Preparing for mock trial.
2420883    5/4/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00     575   1,725.00 Preparing for trial.
2420883    5/4/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50     575   1,437.50 Reviewing documents.
2420883    5/4/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.50     575   4,887.50 Preparing for mock trial.
2420884    5/5/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00     575   4,600.00 Preparing for trial and mock trial.
2420885    5/6/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   12.00     575   6,900.00 Preparing for trial and mock trial.
2420929    5/1/2018 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,900   1,900.00 Preparing for mock trial.
2420929    5/1/2018 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,900   1,900.00 Attending to discovery issues.
2420930    5/2/2018 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,900   1,900.00 Preparing for mock trial.
2420930    5/2/2018 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   1,900   2,850.00 Attending to discovery issues.
2421007    5/1/2018 5326 Beard, Rebecca     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00     175   1,050.00 Continuing Project DX‐133 per instructions from R.
                                                                                                                                    Polanco.
2421012    5/3/2018 5326 Beard, Rebecca     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    175      175.00 Continuing Project DX‐133 per instructions from R.
                                                                                                                                    Polanco.
2421025    5/7/2018 6120 Dolan, John F.     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.80    275    1,870.00 Continuing project DX‐133 per instructions from R.
                                                                                                                                    Polanco.
2421092    5/1/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.60    575    1,495.00 Following up from pretrial conference.
2421092    5/1/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.90    575    2,242.50 Preparing for trial.
2421097    5/2/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00    575    2,300.00 Following up from pretrial conference.
2421097    5/2/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00    575    2,875.00 Preparing for trial.
2421103    5/3/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    575      862.50 Following up from pretrial conference.
2421103    5/3/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575    1,150.00 Reviewing expert reports and depositions.
2421103    5/3/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00    575    2,875.00 Preparing for trial.
2421110    5/4/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    575    4,600.00 Preparing for trial and mock trial.
2421118    5/6/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00    575    2,875.00 Preparing for trial and mock trial.
2421120    5/7/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.80    275    1,045.00 Managing exhibits for trial and mock trial.
2421870    5/4/2018 5337 Santos, Vanessa    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.60    275      715.00 Continuing on Project DX‐133 per instructions from R.
                                                                                                                                    Polanco.



                                                                                          Page 91 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 93 of 111 PageID:
                                                                     20009


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                  Hrs    Rate         Amt Narrative                                              Fees
 2421883   5/8/2018 5334 Chokshi, Aashka     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    225       225.00 Continuing project DX‐133 per instructions from R.
                                                                                                                                      Polanco.
2421968    5/8/2018 6120 Dolan, John F.      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.50    275     1,787.50 Continuing project DX‐133 per instructions from R.
                                                                                                                                      Polanco. Conferring with same re additional
                                                                                                                                      documents to process.
2422146    5/8/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.30    275       907.50 Managing exhibits for trial and mock trial.
2422161    5/7/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.00    575     6,325.00 Preparing for trial and mock trial.
2422162    5/8/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.00    575     6,325.00 Preparing for trial and mock trial.
2422240    5/9/2018 5334 Chokshi, Aashka     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    225       450.00 Continuing project DX‐133 per R. Polanco instructions.

2422241    5/1/2018 7835 Cobden, Jan         Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50    275     1,512.50 Beginning Project DX‐133 per instructions from R.
                                                                                                                                      Polanco
2422245    5/2/2018 7835 Cobden, Jan         Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00    275     1,100.00 Continuing Project DX‐133 per instructions from R.
                                                                                                                                      Polanco
2422514    5/9/2018 6120 Dolan, John F.      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.40    275     2,035.00 Continuing project DX‐133 per instructions from R.
                                                                                                                                      Polanco.
2422587    5/9/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.30    275       632.50 Managing exhibits for trial and mock trial.
2422862    5/9/2018 5337 Santos, Vanessa     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.30    275       632.50 Continuing Project DX‐133 per instructions from R.
                                                                                                                                      Polanco.
2423112   5/11/2018 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   12.00   1,900   22,800.00 Preparing for and attending mock trial.
2423245   5/11/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050    8,400.00 Attending mock trial.
2423526   5/10/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.40     275    1,210.00 Managing exhibits for trial and mock trial.
2423542   5/11/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.60     275      990.00 Continuing and finalizing Project DX‐133 and ongoing
                                                                                                                                      communication with review team re same. Reviewing
                                                                                                                                      and filing email communications.

2423993   5/14/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20    275       605.00 Conducting quality check of completed DX‐133 files
                                                                                                                                      and outlining details of same to trial team. Reviewing
                                                                                                                                      and filing email communications.
2424204    5/7/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00    575     2,875.00 Preparing for trial and mock trial.
2424226    5/8/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    575     3,450.00 Preparing for trial and mock trial.
2424228    5/9/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    9.50    575     5,462.50 Preparing for trial and mock trial.
2424243   5/10/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   12.00    575     6,900.00 Preparing for trial and mock trial.
2424246   5/11/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    9.00    575     5,175.00 Attending mock trial.
2424246   5/11/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575       575.00 Following up from mock trial and preparing for trial.

2424254   5/13/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50     575    862.50 Following up from mock trial. Preparing for trial.
2424520   5/14/2018 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   1,900 9,500.00 Attending to trial prep issues.
2424521   5/15/2018 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   1,900 9,500.00 Attending to trial prep issues and team meeting.
2424598    5/9/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   14.00     575 8,050.00 Preparing for trial and mock trial.
2424600   5/10/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   18.00     575 10,350.00 Preparing for trial and mock trial.
2424604   5/11/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00     575 1,150.00 Traveling to and from mock trial.


                                                                                           Page 92 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 94 of 111 PageID:
                                                                     20010


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                 Hrs    Rate        Amt Narrative                                                Fees
 2424604 5/11/2018 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00    575    5,175.00 Preparing for and attending mock trial.
 2424739 5/14/2018 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Researching. Reviewing documents.
 2425234 5/15/2018 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    275      137.50 Receiving, reviewing and approving invoices received
                                                                                                                                    from copy vendor. Reviewing and filing email
                                                                                                                                    communications.
2425606   5/16/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60    275      165.00 Collecting and circulating documents requested by M.
                                                                                                                                    Gervais. Investigating "PL" bates prefixes and
                                                                                                                                    communicating with M. Musico re same. Reviewing
                                                                                                                                    and filing email communications.
2426005   5/17/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30    275      357.50 Organizing and printing various documents requested
                                                                                                                                    by B. Carmody. Reviewing and filing email
                                                                                                                                    communications.
2426131   5/16/2018 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900   5,700.00 Preparing for trial.
2426132   5/17/2018 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900   5,700.00 Preparing for trial.
2426133   5/18/2018 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   1,900   5,700.00 Preparing for trial.
2426287   5/18/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80     275     770.00 Organizing trial exhibit versions of deposition exhibits
                                                                                                                                    and communicating with trial team re same. Ongoing
                                                                                                                                    communication with vendor re uploading DX‐134 to
                                                                                                                                    database. Revising exhibit list per instructions from M.
                                                                                                                                    Musico. Reviewing and filing email communications.

2426850   5/15/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Preparing for and attending trial team meeting.
                                                                                                                                    Preparing for trial.
2426858   5/16/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00    575    2,300.00 Researching. Reviewing documents in database.
2426864   5/18/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Reviewing exhibit objections. Preparing for trial.
2426866   5/20/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Writing up notes from mock.
2426866   5/20/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00    575    3,450.00 Reviewing deposition transcripts for trial.
2426870   5/21/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Writing up notes from mock.
2426870   5/21/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Reviewing deposition transcripts for trial.
2426902   5/21/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.70    275    1,292.50 Attending to preparation of trial exhibits and
                                                                                                                                    deposition designations.
2427194   5/14/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Attending meet and confer re pre‐trial order.
2427194   5/14/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing exhibit objections.
2427214   5/15/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00    575    1,150.00 Preparing for trial. Preparing exhibit objections.
2427214   5/15/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Preparing revised pre‐trial order.
2427230   5/16/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing for trial. Preparing exhibit objections.
2427238   5/17/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50    575    3,162.50 Revising pre‐trial order and preparing for trial.
2427242   5/18/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Preparing for trial.
2427242   5/18/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Revising pre‐trial order, exhibit objections, and
                                                                                                                                    deposition objections.
2427246   5/20/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00     575     575.00 Preparing for trial. Revising pre‐trial order.
2427753   5/10/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   1,050   8,400.00 Preparing for trial and mock trial.



                                                                                           Page 93 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 95 of 111 PageID:
                                                                     20011


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                  Hrs   Rate        Amt Narrative                                                  Fees
 2427983 5/16/2018 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   600    1,500.00 Reviewing video of mock jury deliberation.
 2427987 5/17/2018 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   600      600.00 Reviewing video of mock jury deliberation.
 2427990 5/18/2018 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   600      600.00 Reviewing video of mock jury deliberation.
 2427993   5/1/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   600      300.00 Reviewing and editing list of motions in limine.
 2428000   5/2/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70   600      420.00 Reviewing and editing list of motions in limine.
 2428019   5/8/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   600    3,000.00 Preparing for trial and mock trial.
 2428030   5/9/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   600    3,600.00 Traveling to New York for mock trial.
 2428030   5/9/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   600      900.00 Preparing for mock trial and trial
 2428031   5/9/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   600    1,200.00 Preparing for trial and mock trial.
 2428032 5/10/2018 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   11.40   600    6,840.00 Preparing for trial and mock trial.
 2428033 5/11/2018 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.50   600    5,100.00 Attending mock trial.
 2428034 5/11/2018 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   600    3,600.00 Returning to Seattle from mock trial.
 2428173 5/22/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.20   275    1,155.00 Attending to preparation of trial exhibits and
                                                                                                                                   deposition designations.
2428628   5/23/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.70   275    1,017.50 Attending to preparation of trial exhibits and
                                                                                                                                   deposition designations.
2429640   5/24/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.80   275      770.00 Attending to preparation of trial exhibits and
                                                                                                                                   deposition designations.
2429691   5/22/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.50   575    2,587.50 Reviewing documents.
2429691   5/22/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.50   575    2,587.50 Revising exhibit list.
2429699   5/23/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   575      287.50 Reviewing filings.
2430054   5/21/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Preparing for trial.
2430054   5/21/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Revising pre‐trial order.
2430054   5/21/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Preparing joint dispute letter.
2430058   5/22/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   575      862.50 Preparing for trial.
2430058   5/22/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   575      862.50 Revising pre‐trial order.
2430058   5/22/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Preparing trial exhibits.
2430058   5/22/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Preparing joint dispute letter.
2430060   5/23/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   575    2,875.00 Preparing, finalizing, and filing revised exhibit list.

2430060   5/23/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Revising pre‐trial order.
2430060   5/23/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   575    1,725.00 Composing joint dispute letter.
2430064   5/24/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   575    3,450.00 Preparing for trial.
2430075   5/25/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.50   575    2,587.50 Preparing for trial.
2431646   5/30/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20   275       55.00 Collecting and circulating various documents
                                                                                                                                   requested by M. Musico.
2432381   5/31/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.20   275      330.00 Beginning identification of deposition lines used during
                                                                                                                                   mediation report and mock and highlighting
                                                                                                                                   transcripts accordingly per instructions from M.
                                                                                                                                   Musico.
2432593   5/30/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Revising exhibit list and deposition designations.
                                                                                                                                   Preparing for trial.



                                                                                          Page 94 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 96 of 111 PageID:
                                                                     20012


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                              Fees
 2432595 5/31/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   575    1,437.50 Revising exhibit list and deposition designations.
 2432595 5/31/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Preparing for trial.
 2433285 5/21/2018 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   600      720.00 Reviewing video of mock jury deliberation.
 2433291 5/22/2018 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20   600      720.00 Drafting summary re mock jury deliberation.
 2433291 5/22/2018 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20   600    1,320.00 Reviewing and editing joint dispute letter.
 2433359 5/30/2018 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50   600    2,700.00 Preparing for mock trial.
 2433379 5/31/2018 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   3.60   600    2,160.00 Preparing for mock trial.
 2434037   6/1/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30   275      357.50 Continuing and finalizing highlighting deposition
                                                                                                                                  designations and clip reports per instructions from M.
                                                                                                                                  Musico. Reviewing and filing email communications.

2434477    6/4/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60   275     165.00 Reviewing cut deposition designations and
                                                                                                                                 communicating with M. Spalding re obtaining new run
                                                                                                                                 times. Reviewing and filing email communications.

2434493    6/5/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30   275       82.50 Ongoing communication with M. Splading re revised
                                                                                                                                  deposition designations. Reviewing and filing email
                                                                                                                                  communications.
2435525    6/6/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10   275       27.50 Reviewing and filing email communications.
2435848    6/1/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00   575    1,725.00 Revising exhibits list and deposition designations.
                                                                                                                                  Preparing for trial.
2435852    6/3/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.00   575    2,300.00 Revising deposition designations. Preparing for trial.

2435854    6/4/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Preparing for hearing.
2435860    6/6/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Preparing for and attending hearing with court.
2435873   6/10/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Preparing for trial. Revising deposition designations
                                                                                                                                  and exhibit list.
2436107   6/11/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10   275       27.50 Reviewing and filing email communications.
2437178   6/12/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10   275       27.50 Reviewing and filing email communications.
2438105   6/15/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10   275       27.50 Reviewing and filing email communications.
2438218   6/15/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Reviewing emails.
2438970   6/11/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Revising deposition designations and exhibit list.
2438970   6/11/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Researching motions in limine.
2438982   6/12/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   575      287.50 Preparing for trial. Revising deposition designations
                                                                                                                                  and exhibit list.
2438987   6/13/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.80   575      460.00 Attending meet and confer re motions in limine.
2438987   6/13/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40   575      230.00 Revising deposition designations and exhibit list.
2439007   6/15/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Revising exhibit list and deposition designations.
2439700   6/18/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10   275       27.50 Reviewing and filing email communications.




                                                                                          Page 95 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 97 of 111 PageID:
                                                                     20013


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                 Hrs    Rate       Amt Narrative                                                    Fees
 2440074 6/19/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.20    275     330.00 Reviewing and organizing batch of trial exhibits to be
                                                                                                                                  removed from exhibit list per instructions from M.
                                                                                                                                  Musico. Reviewing and filing email communications.

2440567   6/19/2018 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   1,900   2,850.00 Beginning to review materials in preparation for trial.

2440568   6/20/2018 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.50   1,900   4,750.00 Beginning to review materials in preparation for trial.

2440687   6/20/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80    275      770.00 Reviewing additional exhibits to be cut from exhibit list
                                                                                                                                   and updating same accordingly per instructions from
                                                                                                                                   M. Musico. Re‐organizing defendant's exhibits per
                                                                                                                                   their updated list. Reviewing and filing email
                                                                                                                                   communications.
2440966   6/21/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.80    275      770.00 Managing exhibit lists for trial.
2441041   6/22/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10    275       27.50 Reviewing and filing email communications.
2441923   6/20/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Reviewing exhibits.
2442499   6/18/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Revising exhibit list and deposition designations.
                                                                                                                                   Preparing for trial.
2442505   6/19/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.00    575    2,875.00 Revising exhibit list and deposition designations.
2442505   6/19/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.00    575    1,725.00 Preparing for trial.
2442538   6/20/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Revising exhibit list and deposition designations.
2442544   6/21/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575      575.00 Attending meet and confer call.
2442544   6/21/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575      862.50 Revising exhibit list and deposition designations.
2442547   6/22/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   5.50    575    3,162.50 Revising pre‐trial order, exhibit list, and deposition
                                                                                                                                   designations. Filing revised pre‐trial order.

2444274   6/25/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575     575.00 Preparing for trial. Preparing objections to witnesses.

2444275   6/26/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50    575     862.50 Preparing objections to witnesses. Preparing for trial.

2444290   6/27/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.70    575     402.50 Attending meet and confer re witnesses.
2444290   6/27/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.90    575     517.50 Preparing for trial.
2444312   6/29/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50    575     287.50 Drafting meet and confer email. Preparing for trial.

2447156    7/6/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00    575     575.00 Reviewing filings.
2447436    7/9/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.40    275     110.00 Conferring with M. Musico re DX‐133 documents for
                                                                                                                                  Dr. Baer. Reviewing and filing email communications.

2447607    7/5/2018 2901 Carmody, Bill      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50   1,900    950.00 Attending to status issues.
2447689    7/2/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.50     575    287.50 Conferring with expert. Preparing for trial.




                                                                                          Page 96 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 98 of 111 PageID:
                                                                     20014


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                  Hrs   Rate        Amt Narrative                                              Fees
 2448143 7/10/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40   275      110.00 Organizing DX‐133 documents in new dropbox folder
                                                                                                                                   for review by Dr. Baer. Reviewing and filing email
                                                                                                                                   communications.
2448558   7/11/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30   275       82.50 Sharing DX‐133 documents with Dr. Baer per
                                                                                                                                   instructions from M. Musico. Reviewing and filing
                                                                                                                                   email communications.
2448979   7/12/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10   275       27.50 Reviewing and filing email communications.
2449911   7/16/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.30   275      357.50 Managing exhibit lists and deposition designations for
                                                                                                                                   trial.
2449996    7/9/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.90   575      517.50 Reviewing and preparing opposition to motion in
                                                                                                                                   limine.
2449996    7/9/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60   575      345.00 Preparing review of physician orders.
2450006   7/11/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Preparing review of physician orders.
2450006   7/11/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Preparing motions in limine.
2450009   7/12/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50   575    2,012.50 Researching and drafting motions in limine.
2450011   7/13/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   575    1,437.50 Researching and drafting motions in limine.
2450015   7/14/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   575      287.50 Researching and drafting motions in limine.
2450758   7/11/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   575    2,875.00 Drafting motion in limines.
2450764   7/12/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   575    4,600.00 Drafting motion in limines.
2450769   7/14/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   12.00   575    6,900.00 Drafting motion in limines.
2450772   7/15/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   575    2,875.00 Researching for motion in limine briefs.
2451111   7/17/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.80   275      220.00 Collecting and circulating documents requested by M.
                                                                                                                                   Gervais. Reviewing and filing email communications.

2451506   7/18/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40   275      110.00 Collecting and circulating various documents
                                                                                                                                   requested by M. Gervais. Reviewing and filing email
                                                                                                                                   communications.
2451796   7/19/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40   275      110.00 Collecting and circulating various documents
                                                                                                                                   requested by M. Gervais.
2451796   7/19/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40   275      110.00 Communicating with vendor re printing of DX exhibits
                                                                                                                                   and review of same.
2451796   7/19/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40   275      110.00 Reviewing and filing email communications.
2452100   7/16/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   575      862.50 Researching and drafting motions in limine
2452106   7/17/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.50   575    2,587.50 Researching and drafting motions in limine.
2452106   7/17/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   575      287.50 Participating in call with expert.
2452142   7/18/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50   575    3,162.50 Researching and drafting motions in limine.
2452148   7/19/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   575    2,875.00 Researching and drafting motions in limine.
2452148   7/19/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Preparing for trial.
2452153   7/20/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   575    3,450.00 Researching and drafting motions in limine.
2452153   7/20/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Preparing for trial.
2452158   7/22/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   575    2,875.00 Researching and drafting motions in limine.
2452158   7/22/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Preparing for trial.



                                                                                          Page 97 of 155
                                  Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 99 of 111 PageID:
                                                                     20015


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID      Date       Tkpr TKPR Name           Rank         Matter Matter Name                                  Hrs   Rate        Amt Narrative                                                Fees
 2453845 7/16/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   575    2,875.00 Researching for motion in limines.
 2453845 7/16/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   575    1,725.00 Reviewing exhibit list and pre‐trial order for motion in
                                                                                                                                   limines.
2453850   7/17/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   11.50   575    6,612.50 Researching and drafting motion in limine.
2454103   7/18/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   10.00   575    5,750.00 Drafting motion in limine.
2454104   7/19/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50   575    4,312.50 Drafting motion in limine.
2454111   7/20/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   575    2,875.00 Drafting motion in limine.
2454114   7/21/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.00   575    4,025.00 Drafting motion in limine.
2454317   7/24/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10   275       27.50 Reviewing and filing email communications.
2454762   7/25/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60   275      165.00 Reviewing pleadings for redacted filings of various
                                                                                                                                   deposition transcripts per instructions from M.
                                                                                                                                   Musico. Reviewing and filing email communications.

2455142   7/26/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10   275       27.50 Reviewing and filing email communications.
2456072   7/30/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30   275       82.50 Collecting and circulating various documents
                                                                                                                                   requested by M. Gervais. Reviewing and filing email
                                                                                                                                   communications.
2456172   7/26/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50   575      862.50 Reviewing and editing draft motion in limine.
2456172   7/26/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   575      287.50 Responding to emails.
2456172   7/26/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   575      287.50 Discussing trial strategy.
2457376   7/31/2018 5328 Polanco, Rodney    Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10   275       27.50 Reviewing and filing email communications.
2457633   7/23/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   575    2,300.00 Researching and drafting motions in limine.
2457648   7/24/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00   575    2,875.00 Researching and drafting motions in limine.
2457648   7/24/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   575    1,150.00 Revising exhibit list and deposition designations.
2457658   7/25/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00   575    1,725.00 Researching and drafting motions in limine.
2457658   7/25/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   575      575.00 Attending meet and confer with opposing counsel.

2457658   7/25/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20   575    1,265.00 Revising exhibit list and deposition designations.
2457668   7/26/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.20   575    2,415.00 Researching and drafting motions in limine.
2457668   7/26/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.80   575    1,035.00 Revising exhibit list and deposition designations.
2457672   7/27/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.50   575    3,162.50 Revising, finalizing, and finalizing opposition to claims
                                                                                                                                   motion in limine.
2457704   7/31/2018 4142 Musico, Mark       Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   575    2,300.00 Researching and drafting motions in limine.
2459181   7/20/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.30   600    2,580.00 Reviewing and editing response to BSNC motion in
                                                                                                                                   limine.
2459220   7/25/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.90   600    1,740.00 Reviewing and editing response to BSNC motion in
                                                                                                                                   limine
2459220   7/25/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60   600      360.00 Reviewing email with opposing counsel re meet and
                                                                                                                                   confer.
2459223   7/26/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.40   600    1,440.00 Reviewing and editing response to BSNC motion in
                                                                                                                                   limine.




                                                                                          Page 98 of 155
                                Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 100 of 111 PageID:
                                                                    20016


                                                       015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Fee Detail
ID      Date       Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs   Rate        Amt Narrative                                               Fees
 2459230 7/31/2018 4024 Connors, Jordan    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.20   600    1,320.00 Reviewing and editing response to BSNC motion in
                                                                                                                                 limine.
2460699    8/1/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   575    4,600.00 Researching and drafting motions in limine.
2460703    8/2/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   575    4,025.00 Researching and drafting motions in limine.
2460716    8/3/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Revising exhibit list and deposition designations.
2460718    8/5/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   4.50   575    2,587.50 Revising exhibit list and deposition designations.
2460760    8/7/2018 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.30   275      357.50 Managing trial exhibit list and conferring with R. Baer
                                                                                                                                 re same.
2461039    8/8/2018 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.30   275      907.50 Managing trial exhibit list.
2461770    8/9/2018 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.40   275      385.00 Reviewing Motions in Limine and identifying all
                                                                                                                                 exhibits to be filed therewith per instructions from M.
                                                                                                                                 Musico. Reviewing and filing email communications.

2461781   8/10/2018 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.60   275      165.00 Finalizing Motion in Limine Exhibits. Reviewing and
                                                                                                                                 filing email communications.
2462496    8/6/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   575    4,600.00 Researching and revising motions in limine.
2462500    8/7/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   8.00   575    4,600.00 Researching and revising motions in limine.
2462503    8/8/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   7.00   575    4,025.00 Researching and revising motions in limine.
2462503    8/8/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   3.50   575    2,012.50 Revising exhibit list and deposition designations.
2462505    8/9/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Researching and revising motions in limine.
2462509   8/10/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   9.00   575    5,175.00 Revising, finalizing, and filing motions in limine.
2463835   8/14/2018 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10   275       27.50 Reviewing and filing email communications.
2464497   8/16/2018 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10   275       27.50 Reviewing and filing email communications.
2464851   8/17/2018 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.10   275       27.50 Reviewing and filing email communications.
2466089   8/13/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.50   575      862.50 Reviewing and preparing opposition to motions in
                                                                                                                                 limine.
2466097   8/14/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Preparing opposition to motions in limine.
2466107   8/16/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Preparing oppositions to motions in limine. Preparing
                                                                                                                                 brief for filing.
2466112   8/17/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   2.00   575    1,150.00 Preparing for trial. Preparing oppositions to motions
                                                                                                                                 in limine.
2466935    8/9/2018 4024 Connors, Jordan   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif   2.30   600    1,380.00 Reviewing and editing motions in limine.
2467939   8/23/2018 5328 Polanco, Rodney   Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif   0.30   275       82.50 Reviewing correspondence file for documents
                                                                                                                                 requested by M. Musico.
2469377   8/20/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Researching and drafting oppositions to motions in
                                                                                                                                 limine.
2469388   8/21/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   1.00   575      575.00 Researching and drafting oppositions to motions in
                                                                                                                                 limine.
2469400   8/22/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Researching and drafting oppositions to motions in
                                                                                                                                 limine.
2469402   8/23/2018 4142 Musico, Mark      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif   6.00   575    3,450.00 Researching and drafting oppositions to motions in
                                                                                                                                 limine.



                                                                                         Page 99 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 101 of 111 PageID:
                                                                     20017


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                   Hrs    Rate        Amt Narrative                                                  Fees
 2469419 8/24/2018 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     5.50    575    3,162.50 Researching and drafting oppositions to motions in
                                                                                                                                      limine.
2469427   8/25/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     3.50    575    2,012.50 Researching and drafting oppositions to motions in
                                                                                                                                      limine.
2469428   8/26/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     6.00    575    3,450.00 Researching and drafting oppositions to motions in
                                                                                                                                      limine.
2470782   8/21/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     4.00   1,050   4,200.00 Working on motions in limine.
2470888   8/29/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.20     275     330.00 Reviewing additional documents to be cut from exhibit
                                                                                                                                      list and updating same accordingly. Reviewing and
                                                                                                                                      filing email communications.
2471198   8/30/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.80    275      220.00 Collecting and circulating various documents
                                                                                                                                      requested by M. Musico.
2471205   8/30/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.50    575      287.50 Reviewing filings.
2471540   8/27/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     5.00    575    2,875.00 Researching and revising oppositions to motions in
                                                                                                                                      limine.
2471542   8/28/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     3.50    575    2,012.50 Researching and revising oppositions to motions in
                                                                                                                                      limine.
2471542   8/28/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00    575      575.00 Revising exhibit list.
2471545   8/29/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     5.50    575    3,162.50 Revising exhibit list.
2471545   8/29/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00    575      575.00 Revising oppositions to motions in limine.
2471548   8/30/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.20    575      690.00 Revising exhibit list.
2471548   8/30/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     5.30    575    3,047.50 Revising, finalizing, and filing oppositions to motions in
                                                                                                                                      limine.
2471548   8/30/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     2.00    575    1,150.00 Preparing for hearing.
2471551   8/31/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     3.00    575    1,725.00 Reviewing defendant's motion responses. And
                                                                                                                                      preparing for hearing re same.
2471614   8/31/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.10    275       27.50 Reviewing and filing email communications.
2482492   9/25/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.10    275       27.50 Reviewing and filing email communications.
2483240   9/27/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.20    275       55.00 Reviewing and filing email communications.
2483711   9/28/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.20    275      330.00 Investigating CMS‐1500 forms issue bought to my
                                                                                                                                      attention by M. Gervais and ongoing communication
                                                                                                                                      re same.
2483808   9/25/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00    575      575.00 Reviewing and preparing response to in limine
                                                                                                                                      decision.
2483817   9/27/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.70    575      402.50 Preparing brief re claims data.
2483820   9/28/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.20    575      690.00 Researching and preparing brief re claims data.
2483824   9/30/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.50    575      862.50 Researching and preparing brief re claims data.
2484177   9/26/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     6.00    575    3,450.00 Reviewing motion in limine opinion. Reviewing prior
                                                                                                                                      filings and prior record.
2484179   9/27/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    12.00    575    6,900.00 Drafting brief in response to court's order.
2484181   9/28/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    13.00    575    7,475.00 Drafting brief in response to court's order.




                                                                                           Page 100 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 102 of 111 PageID:
                                                                     20018


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                                Fees
 2484182 9/29/2018 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    575    4,600.00 Drafting brief in response to court's order. Reviewing
                                                                                                                                     documents.
2486117   9/28/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Reviewing brief on supplemental motion in limine.

2486218   10/1/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.30    275    1,182.50 Reviewing claims data and collecting documents per
                                                                                                                                     instructions from M. Gervais.
2486370   10/2/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.40    275    1,210.00 Reviewing claims data and collecting documents per
                                                                                                                                     instructions from M. Gervais.
2486666   10/3/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40    275      110.00 Reviewing draft brief re CMS‐1550 forms. Reviewing
                                                                                                                                     and filing email communications.
2486974   10/4/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.80    275      220.00 Reviewing claims data and collecting documents per
                                                                                                                                     instructions from M. Gervais.
2486998   10/5/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    275      137.50 Reviewing finalized brief re CMS‐1500 forms.
                                                                                                                                     Reviewing and filing email communications.
2487446   10/8/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10    275       27.50 Reviewing and filing email communications.
2487844   10/1/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    575    3,450.00 Reviewing documents. Revising brief.
2487848   10/2/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    575      287.50 Reviewing edits to draft brief.
2487849   10/3/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575    1,150.00 Researching and Revising Brief re claims issue.
2487853   10/4/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575    1,150.00 Researching, revising, and finalizing brief re claims
                                                                                                                                     issue.
2487855   10/5/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575    1,150.00 Researching, revising, and finalizing brief re claims
                                                                                                                                     issue.
2487978 10/1/2018 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.80     575   1,035.00 Preparing brief re claims data.
2487980 10/2/2018 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20     575   1,265.00 Preparing brief re claims data.
2487982 10/2/2018 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60     575     345.00 Preparing brief re claims data.
2488031 10/4/2018 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60     575     345.00 Preparing brief re claims data.
2488033 10/5/2018 4142 Musico, Mark          Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30     575     172.50 Preparing and finalizing brief re claims data.
2489237 10/11/2018 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275      27.50 Reviewing and filing email communications.
2489456 10/2/2018 3315 Subramanian, Arun     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50   1,050   2,625.00 Reviewing brief on claim form issue.
2490350 10/12/2018 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275      27.50 Reviewing and filing email communications.
2490369 10/14/2018 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.30     275     357.50 Collecting and circulating various documents
                                                                                                                                     requested by M. Gervais. Investigating various
                                                                                                                                     inquiries re PX‐001 per instructions from M. Gervais.

2490412 10/15/2018 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.40    275      385.00 Reviewing claims data and collecting documents per
                                                                                                                                     instructions from M. Gervais.
2491354 10/12/2018 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    575      287.50 Drafting letter to court requesting trial date.
2491356 10/13/2018 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.70    575    2,127.50 Reviewing claims brief opposition and preparing reply
                                                                                                                                     re same.
2491356 10/13/2018 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.30    575    1,322.50 Reviewing data spreadsheets and expert reports.
2491357 10/14/2018 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    7.50    575    4,312.50 Drafting reply brief and researching points of law re
                                                                                                                                     same.



                                                                                           Page 101 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 103 of 111 PageID:
                                                                     20019


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID       Date       Tkpr TKPR Name          Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                                 Fees
 2491357 10/14/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.50    575    1,437.50 Reviewing data spreadsheets and expert reports.
 2491358 10/15/2018 2670 Gervais, Michael   Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    5.00    575    2,875.00 Drafting reply brief and researching points of law re
                                                                                                                                    same.
2491358 10/15/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00    575    1,725.00 Reviewing data spreadsheets and expert reports.
2491983 10/10/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    575      287.50 Preparing trial strategy.
2491987 10/12/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40    575      230.00 Reviewing claims brief opposition and preparing reply
                                                                                                                                    re same.
2492105 10/16/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.30    275      632.50 Reviewing claims data and collecting documents per
                                                                                                                                    instructions from M. Gervais.
2492453 10/17/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20    275       55.00 Reviewing and filing email communications.
2492887 10/18/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.80    275      220.00 Revising exhibits to be filed with reply per instructions
                                                                                                                                    from M. Gervais and ongoing communication re same.
                                                                                                                                    Reviewing and filing email communications.

2493197 10/19/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20    275       55.00 Reviewing and filing email communications.
2493875 10/22/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10    275       27.50 Reviewing and filing email communications.
2495261 10/23/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10    275       27.50 Reviewing and filing email communications.
2495325 10/16/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.00    575    1,725.00 Drafting reply brief and researching points of law re
                                                                                                                                    same.
2495325 10/16/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00    575      575.00 Reviewing data spreadsheets and expert reports.
2495327 10/17/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575    1,150.00 Finalizing and filing reply brief.
2495485 10/15/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70    575      402.50 Preparing reply brief.
2496198 10/26/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    575      287.50 Conferring with local cocounsel, G. McGuire re filing
                                                                                                                                    under seal.
2496198 10/26/2018 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    575      287.50 Drafting papers for filing under seal.
2499155 10/31/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.80    275      220.00 Reorganizing trial related materials in Dropbox.
                                                                                                                                    Reviewing and filing email communications.
2499491 10/30/2018 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30     575     172.50 Preparing motion to seal.
2502899 11/8/2018 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275      27.50 Reviewing and filing email communications.
2502942 11/8/2018 3315 Subramanian, Arun    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50   1,050     525.00 Sending email correspondence concerning settlement.

2503224 11/9/2018 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275      27.50 Reviewing and filing email communications.
2504279 11/7/2018 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30     575     172.50 Emailing re: revising and filing change of address.
2505254 11/13/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275      27.50 Reviewing and filing email communications.
2506166 11/14/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275      27.50 Reviewing and filing email communications.
2508620 11/12/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050   1,050.00 Sending email correspondence to lock down mediation
                                                                                                                                    date.
2509295 11/20/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275      27.50 Reviewing and filing email communications.
2513039 11/20/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050   2,100.00 Reviewing AP story re Precision System.
2513040 11/21/2018 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050   2,100.00 Reviewing AP story re Precision System.
2514476 11/29/2018 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275      27.50 Reviewing and filing email communications.




                                                                                          Page 102 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 104 of 111 PageID:
                                                                     20020


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                   Hrs    Rate        Amt Narrative                                                   Fees
 2528850   1/4/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.20    275       55.00 Collecting and circulating items requested by M.
                                                                                                                                      Gervais.
2528855    1/6/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.30    275       82.50 Searching for items requested by M. Gervais.
2529088    1/1/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     5.00    575    2,875.00 Drafting mediation statement.
2529098    1/2/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     8.00    575    4,600.00 Researching re mediation statement. Drafting
                                                                                                                                      mediation statement.
2529112    1/4/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    11.00    575    6,325.00 Drafting mediation statement. Circulating same to
                                                                                                                                      trial team.
2532917   1/11/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     6.00    575    3,450.00 Revising mediation statement.
2534341   1/18/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     3.30    275      907.50 Comparing and contrasting hot chronology to exhibit
                                                                                                                                      list and identifying related trial exhibit number for all
                                                                                                                                      documents in chronology per instructions from M.
                                                                                                                                      Gervais.
2536350   1/22/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.30    275      357.50 Reviewing draft mediation and collecting, organizing
                                                                                                                                      and circulating all exhibits referenced therein.

2537254   1/23/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.10    275       27.50 Reviewing and filing email communications.
2537699   1/24/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.10    275       27.50 Reviewing and filing email communications.
2537941   1/25/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.80    275      220.00 Finalizing documents to be submitted to mediator per
                                                                                                                                      instructions from M. Gervais.
2538065   1/16/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     9.40    575    5,405.00 Revising draft mediation statement.
2538065   1/16/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     2.60    575    1,495.00 Researching attorneys' fees issues.
2538068   1/18/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     4.00    575    2,300.00 Revising Bahnsen mediation statement and circulating
                                                                                                                                      to trial team.
2538068   1/18/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00    575      575.00 Emailing with R. Polanco re updating our chronology to
                                                                                                                                      reflect plaintiff exhibit numbers.
2538074   1/21/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00    575      575.00 Participating in trial team telephonic conference.
2538079   1/22/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     5.00    575    2,875.00 Revising mediation statement.
2538094   1/24/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     5.00    575    2,875.00 Finalizing mediation statement and materials.
2538435   1/28/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.10    275       27.50 Reviewing and filing email communications.
2538950   1/25/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00    575      575.00 Finalizing mediation statement and materials, sent to
                                                                                                                                      mediator and opposing counsel.
2539940   1/24/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     4.00   1,050   4,200.00 Reviewing and revising mediation brief.
2540903   1/31/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.10     275      27.50 Reviewing and filing email communications.
2541441   1/29/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     3.00     575   1,725.00 Reviewing mediation statement. Drafting response to
                                                                                                                                      same.
2541460   1/30/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     3.00     575   1,725.00 Drafting responsive mediation statement.
2541479   1/31/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     5.00     575   2,875.00 Drafting response to mediation statement.
2543277    2/1/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     6.50     575   3,737.50 Drafting mediation statement.
2543579    2/5/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.10     275      27.50 Reviewing and filing email communications.
2544268    2/7/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.10     275      27.50 Reviewing and filing email communications.
2544527    2/5/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     2.00   1,050   2,100.00 Preparing mediation brief.



                                                                                           Page 103 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 105 of 111 PageID:
                                                                     20021


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                  Hrs     Rate         Amt Narrative                                                  Fees
 2544533   2/6/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050     2,100.00 Preparing mediation brief.
 2544535   2/7/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050     2,100.00 Preparing mediation brief.
 2544656   2/8/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.80     275       220.00 Reviewing claims data and communicating with trial
                                                                                                                                       team re same.
2545578   2/11/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.60    275        440.00 Reviewing reply mediation statement and
                                                                                                                                       collecting/organizing all materials referenced therein.
                                                                                                                                       Reviewing and filing email communications.

2546945   2/12/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275        27.50 Reviewing and filing email communications.
2547057    2/8/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050     1,050.00 Conducting research on excessive fines clause.
2547058   2/11/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050     2,100.00 Composing mediation brief.
2548497   2/15/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275        27.50 Reviewing and filing email communications.
2549075   2/11/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00     575     1,150.00 Revising and finalizing mediation brief.
2549087   2/15/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.70     575       402.50 Preparing for mediation.
2549499   2/15/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050     1,050.00 Preparing for mediation.
2550194   2/19/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275        27.50 Reviewing and filing email communications.
2550681   2/20/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.70     275       467.50 Providing document and claims data support in
                                                                                                                                       advance of mediation.
2551379   2/21/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275        27.50 Reviewing and filing email communications.
2551914   2/22/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275        27.50 Reviewing and filing email communications.
2552392   2/20/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050     8,400.00 Preparing for mediation.
2552393   2/21/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050     1,050.00 Preparing for mediation.
2552393   2/21/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   1,050     6,300.00 Traveling to California.
2552393   2/21/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050     1,050.00 Meeting with clients.
2552394   2/22/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050     8,400.00 Attending mediation.
2552395   2/23/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,050     8,400.00 Traveling back to New York.
2552444   2/22/2019 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00   1,900    15,200.00 Attending mediation.
2552457   2/25/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275        27.50 Reviewing and filing email communications.
2552980   2/19/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50     575       287.50 Conferring by phone with mediator.
2552980   2/19/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00     575       575.00 Preparing for mediation.
2552988   2/20/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    3.50     575     2,012.50 Preparing for mediation.
2553002   2/21/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50     575       287.50 Preparing for mediation.
2553002   2/21/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00     575     3,450.00 Traveling to Los Angeles for mediation.
2553002   2/21/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00     575       575.00 Meeting with clients.
2553003   2/22/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00     575     2,300.00 Attending mediation.
2553003   2/22/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00     575     3,450.00 Traveling to New York.
2554034   2/26/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275        27.50 Reviewing and filing email communications.
2554488   2/27/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.20     275       605.00 Compiling data re litigation per M. Musico instructions.

2554830   2/27/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.50    575        862.50 Reviewing email correspondence and related
                                                                                                                                       materials.
2555676   2/28/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10    275         27.50 Reviewing and filing email communications.



                                                                                           Page 104 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 106 of 111 PageID:
                                                                     20022


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID       Date       Tkpr TKPR Name           Rank         Matter Matter Name                                   Hrs     Rate         Amt Narrative                                              Fees
 2555964 2/25/2019 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.50     575       287.50 Following up on mediation.
 2555978 2/27/2019 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.50     575       862.50 Following up on mediation.
 2556712 2/28/2019 3315 Subramanian, Arun    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     2.00   1,050     2,100.00 Sending email correspondence to mediator.
 2557249   3/1/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.10     275        27.50 Reviewing and filing email communications.
 2557271   3/1/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.10     275        27.50 Reviewing and filing email communications.
 2559537 3/11/2019 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.10     275        27.50 Reviewing and filing email communications.
 2561324   3/5/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     2.00   1,050     2,100.00 Attending to settlement issues.
 2564593 3/13/2019 2901 Carmody, Bill        Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     0.50   1,900       950.00 Attending to status issues.
 2564593 3/13/2019 2901 Carmody, Bill        Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     0.50   1,900       950.00 Attending to settlement issues.
 2564772 3/21/2019 5328 Polanco, Rodney      Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     2.20     275       605.00 Identifying motion documents to compile binder for
                                                                                                                                        upcoming hearing and printing and organizing multiple
                                                                                                                                        copies of same. Reviewing and filing email
                                                                                                                                        communications.
2566037   3/21/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.50    275        137.50 Preparing additional binder for Monday's hearing for
                                                                                                                                        M. Gervais. Reviewing and filing email
                                                                                                                                        communications.
2566616   3/25/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.70    275        192.50 Collecting, organizing and circulating caselaw from
                                                                                                                                        various pleadings. Copying and organizing various
                                                                                                                                        documents for today's hearing per instructions from A.
                                                                                                                                        Subramaian.
2567253   3/23/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     4.00   1,050     4,200.00 Preparing for hearing on motions in limine.
2567255   3/24/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     8.00   1,050     8,400.00 Preparing for hearing on motions in limine.
2567257   3/25/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     8.00   1,050     8,400.00 Preparing for and attending hearing on motions in
                                                                                                                                        limine.
2567610   3/22/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     7.00    575      4,025.00 Traveling to New York City for trial team meeting.
                                                                                                                                        Preparing for motion in limine hearing.
2567619   3/23/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.50    575        862.50 Participating in trial team meeting.
2567619   3/23/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    11.50    575      6,612.50 Preparing for motion in limine hearing.
2567630   3/24/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     5.00    575      2,875.00 Preparing for motion in limine hearing.
2567646   3/25/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     9.00    575      5,175.00 Preparing for hearing. Travelling to and from hearing.
                                                                                                                                        Attending hearing on motions.
2568021   3/25/2019 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     8.00   1,900    15,200.00 Preparing for and attending pretrial hearing.
2568056   3/26/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.30     275       357.50 Ongoing communication with trial team re number of
                                                                                                                                        claims and investigating same. Reviewing and filing
                                                                                                                                        email communications.
2568636   3/27/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     3.30    275        907.50 Reviewing claims data.
2568698   3/20/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00    575        575.00 Preparing for final pretrial conference and argument.

2568708   3/22/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     3.50    575      2,012.50 Preparing for final pretrial conference and argument.

2568709   3/23/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     5.00    575      2,875.00 Preparing for final pretrial conference and argument.




                                                                                           Page 105 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 107 of 111 PageID:
                                                                     20023


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                   Hrs    Rate        Amt Narrative                                                  Fees
 2568710 3/24/2019 4142 Musico, Mark         Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     4.50    575    2,587.50 Preparing for final pretrial conference and argument.

2569015   3/28/2019 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00   1,900   1,900.00 Attending to trial issues.
2569020   3/27/2019 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00   1,900   1,900.00 Attending to trial issues.
2569146   3/28/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     4.80     275   1,320.00 Reviewing claims data.
2569610   3/29/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     5.70     275   1,567.50 Reviewing claims data.
2569619   3/30/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00     275     275.00 Communicating with multiple vendors requesting final
                                                                                                                                      outstanding invoices. Reviewing and filing email
                                                                                                                                      communications. Finalizing all time entries for all work
                                                                                                                                      done this past week per instructions from A.
                                                                                                                                      Subramanian.
2569659   3/26/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     7.00   1,050   7,350.00 Preparing for trial.
2569659   3/26/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00   1,050   1,050.00 Attending settlement discussions.
2569660   3/27/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     7.00   1,050   7,350.00 Preparing for trial.
2569660   3/27/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00   1,050   1,050.00 Attending settlement discussions.
2569661   3/28/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     6.50   1,050   6,825.00 Preparing for trial.
2569661   3/28/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     1.50   1,050   1,575.00 Attending settlement discussions.
2569662   3/29/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     6.00   1,050   6,300.00 Preparing for trial.
2569662   3/29/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     2.00   1,050   2,100.00 Attending settlement discussions.
2569707   3/25/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    10.00     575   5,750.00 Preparing for and attending final pretrial conference
                                                                                                                                      and argument. Traveling to and from Newark.

2569716   3/26/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     2.00    575    1,150.00 Researching supplemental claims brief. Preparing for
                                                                                                                                      trial.
2569721   3/27/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     3.50    575    2,012.50 Researching supplemental claims brief.
2569725   3/28/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     2.00    575    1,150.00 Reviewing and following up on court's motion in limine
                                                                                                                                      orders.
2569725   3/28/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     2.00     575   1,150.00 Conducting claims research.
2569725   3/28/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     2.20     575   1,265.00 Preparing for trial.
2569741   3/29/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.60     575     345.00 Conducting claims research.
2569741   3/29/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.60     575     345.00 Conferring with clients and team re settlement.
2570447   3/29/2019 2901 Carmody, Bill       Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     1.00   1,900   1,900.00 Attending to settlement issues. Attending calls with
                                                                                                                                      clients and mediator.
2571110   3/27/2019 4074 Lusztig, Tamar      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.90    575      517.50 Conferring with trial team. Reviewing documents.

2571146   3/28/2019 4074 Lusztig, Tamar      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     2.10    575    1,207.50 Conferring with trial team. Reviewing documents.

2571150   3/29/2019 4074 Lusztig, Tamar      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif     0.50    575      287.50 Reviewing and responding to email.
2571639   3/26/2019 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     2.40    600    1,440.00 Reviewing claims data.
2571639   3/26/2019 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     0.50    600      300.00 Conferring with counsel for Noridian re claims data
                                                                                                                                      issue.
2571639   3/26/2019 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif     0.50    600      300.00 Conferring with R. Baer re claims data issue.



                                                                                           Page 106 of 155
                                Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 108 of 111 PageID:
                                                                    20024


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                              Fees
 2571639 3/26/2019 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.40    600    1,440.00 Researching points of law re ICN codes.
 2571646 3/27/2019 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30    600      180.00 Reviewing claims data.
 2571646 3/27/2019 4024 Connors, Jordan      Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    600      300.00 Conferring with counsel for Noridian re claims data
                                                                                                                                     issue.
2571646   3/27/2019 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50     600     300.00 Conferring with R. Baer re claims data issue.
2571646   3/27/2019 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00     600   1,200.00 Researching points of law re ICN codes.
2571656   3/28/2019 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.60     600     360.00 Reviewing claims data.
2571656   3/28/2019 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40     600     240.00 Conferring with R. Baer re claims data issue.
2571656   3/28/2019 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00     600     600.00 Researching points of law re ICN codes.
2573541    4/4/2019 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    5.10     600   3,060.00 Reviewing time and expense entries                     Fees
2573542    4/5/2019 4024 Connors, Jordan     Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.20     600   2,520.00 Reviewing time and expense entries                     Fees
2573599    4/1/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050   1,050.00 Attending discussion with mediator concerning          Fees
                                                                                                                                     settlement agreement.
2573600    4/1/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050   1,050.00 Conducting research concerning fee petition.           Fees
2573602    4/2/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050   1,050.00 Conducting research concerning numerous cases          Fees
                                                                                                                                     showing that fees larger than a recovery are
                                                                                                                                     warranted where, as here, defendant refuses to
                                                                                                                                     engage in reasonable discovery practices or settlement
                                                                                                                                     discussions for years.
2575046    4/2/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00     575     575.00 Addressing and researching fee dispute.                Fees
2576220    4/2/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050   4,200.00 Corresponding re settlement. Discussing with
                                                                                                                                     Department of Justice terms of settlement.
2576229    4/9/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050   2,100.00 Reviewing time entries for production to BSNC.         Fees
2578666   4/15/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.50     575   4,887.50 Drafting mediation statement re attorneys' fees.       Fees
                                                                                                                                     Researching re same.
2579648   4/16/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050   1,050.00 Discussing settlement positions.
2581485   4/22/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275      27.50 Reviewing and filing email communications.
2582319   4/16/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00     575   4,600.00 Performing research. Drafting mediation statement. Fees

2582336   4/17/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30     575     172.50 Reviewing mediation statement.                        Fees
2583241   4/17/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050   1,050.00 Attending discussion with mediator and email          Fees
                                                                                                                                     correspondence.
2583249   4/22/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050   2,100.00 Drafting of mediation statement. Reviewing            Fees
                                                                                                                                     settlement documents.
2583259   4/23/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275      27.50 Reviewing and filing email communications.
2585195   4/29/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275      27.50 Reviewing and filing email communications.
2585715   4/28/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00     575   1,150.00 Researching re attorneys' fees.                       Fees
2586769   4/25/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050   2,100.00 Preparing for mediation session on fees and           Fees
                                                                                                                                     correspondence with Judge Phillips re same.
2586770   4/26/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050   2,100.00 Preparing for mediation session on fees and           Fees
                                                                                                                                     correspondence with Judge Phillips re same.




                                                                                           Page 107 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 109 of 111 PageID:
                                                                     20025


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                  Hrs     Rate        Amt Narrative                                                Fees
 2586771 4/29/2019 3315 Subramanian, Arun    Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   1,050    6,300.00 Attending mediation on finalization of settlement        Fees
                                                                                                                                      documents and attempt to mediate attorneys' fees
                                                                                                                                      (BSNC refuses to discuss fees in any meaningful way).

2586773   4/30/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00   1,050    2,100.00 Finalizing settlement documents and pointless
                                                                                                                                      exchange with R. Robinson, who would not give us 24
                                                                                                                                      hours to review final settlement agreements after
                                                                                                                                      sending us wrong versions previous day, which
                                                                                                                                      required phone call for him to relent.

2586932   4/22/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40     575      230.00 Reviewing and revising mediation statement.          Fees
2586974   4/30/2019 4142 Musico, Mark        Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20     575      115.00 Revising settlement agreements.
2588845    5/1/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10     275       27.50 Reviewing and filing email communications.
2590622    5/1/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050    1,050.00 Finalizing settlement agreements and sending
                                                                                                                                      correspondence with clients.
2590626    5/3/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050    1,050.00 Sending correspondence related to settlement
                                                                                                                                      agreements.
2590629    5/7/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050    1,050.00 Sending correspondence related to settlement
                                                                                                                                      agreements.
2591074    5/8/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.10    275        27.50 Reviewing and filing email communications.
2594046   5/14/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.30    275        82.50 Communication with database vendor to shutdown
                                                                                                                                      database and completing related forms. Reviewing and
                                                                                                                                      filing email communications.

2594576    5/8/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    1.00   1,050    1,050.00 Sending correspondence concerning settlement
                                                                                                                                      agreements.
2594581   5/13/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00   1,050    6,300.00 Preparing motion for fees and costs.                 Fees
2594585   5/14/2019 3315 Subramanian, Arun   Partner      015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00   1,050    4,200.00 Preparing motion for fees and costs.                 Fees
2595088   5/17/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40     275      110.00 Ongoing communication with M. Gervais re final count Fees
                                                                                                                                      of produced documents searching emails for prior
                                                                                                                                      communications re same.
2596297   5/10/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    2.00    575     1,150.00 Drafting memorandum re relators' share of award.     Fees

2596373   5/18/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    575     4,600.00 Conducting researching re attorneys' fees. Drafting       Fees
                                                                                                                                      attorney fee petition.
2596383   5/19/2019 2670 Gervais, Michael    Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    8.00    575     4,600.00 Conducting research re attorneys' fees. Drafting          Fees
                                                                                                                                      attorney fee petition.
2597496   5/21/2019 5328 Polanco, Rodney     Paralegal    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40    275       110.00 Identifying materials to be sent for storage off‐site and
                                                                                                                                      coordinating same with admins.
2598742   5/13/2019 4074 Lusztig, Tamar      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.20    575       115.00 Reviewing and responding to email.                        Fees
2598743   5/14/2019 4074 Lusztig, Tamar      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.70    575     2,702.50 Researching fees issue. Reviewing and responding to Fees
                                                                                                                                      email.



                                                                                           Page 108 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 110 of 111 PageID:
                                                                     20026


                                                         015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                          Fee Detail
ID      Date       Tkpr TKPR Name            Rank         Matter Matter Name                                  Hrs    Rate        Amt Narrative                                               Fees
 2599757 5/20/2019 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    4.00    575    2,300.00 Drafting fee petition.                                  Fees
 2599780 5/23/2019 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.50    575      287.50 Reviewing A. Subramanian's edits.                       Fees
 2599805 5/26/2019 2670 Gervais, Michael     Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    6.00    575    3,450.00 Conducting research for attorneys' fee motion.          Fees
                                                                                                                                     Revising attorneys' fee motion. Drafting declaration in
                                                                                                                                     support of attorneys' fee motion.
2600434   5/27/2019 4074 Lusztig, Tamar      Associate    015079 Bahnsen, Wendy, et al v. Boston Scientif    0.40    575      230.00 Reviewing and responding to email.                      Fees
                                             Associate                                                                               Conducting additional research for fee petition.        Fees
                                                                                                                                     Revising fee petition. Revising and updating draft
2602183   5/28/2019 2670 Gervais, Michael                  15079 Bahnsen, Wendy, et al v. Boston Scientif       6    575    3,450.00 declaration in support of fee petition.
                                             Associate                                                                               Researching, reviewing and revising fee application.    Fees
2603079   5/29/2019 4142 Musico, Mark                      15079 Bahnsen, Wendy, et al v. Boston Scientif     3.5    575    2,012.50
                                             Associate                                                                               Revising fee application and reviewing underlying       Fees
2603084   5/30/2019 4142 Musico, Mark                      15079 Bahnsen, Wendy, et al v. Boston Scientif       2    575    1,150.00 supporting materials.
2603095   5/31/2019 4142 Musico, Mark        Associate     15079 Bahnsen, Wendy, et al v. Boston Scientif     0.2    575      115.00 Revising fee application.                               Fees
                                             Associate                                                                               Reviewing and responding to email. Researching fees Fees
2604146   5/28/2019 4074 Lusztig, Tamar                    15079 Bahnsen, Wendy, et al v. Boston Scientif     6.3    575    3,622.50 issue.
                                             Associate                                                                               Reviewing and responding to email regarding fee         Fees
2604156   5/29/2019 4074 Lusztig, Tamar                    15079 Bahnsen, Wendy, et al v. Boston Scientif     0.4    575      230.00 application.
                                             Paralegal                                                                               Reviewing file for materials in support of fee          Fees
                                                                                                                                     application per instructions from M. Musico and
2606209    6/6/2019 5328 Polanco, Rodney                   15079 Bahnsen, Wendy, et al v. Boston Scientif     0.8    275      220.00 ongoing communication re same.
                                             Paralegal                                                                               Reviewing file for materials in support of fee          Fees
                                                                                                                                     application per instructions from M. Musico and
2606809    6/7/2019 5328 Polanco, Rodney                   15079 Bahnsen, Wendy, et al v. Boston Scientif     0.8    275      220.00 ongoing communication re same.
                                             Paralegal                                                                               Gathering materials in support of fee application per Fees
2607243   6/10/2019 5328 Polanco, Rodney                   15079 Bahnsen, Wendy, et al v. Boston Scientif     1.7    275      467.50 instructions from M. Musico.
                                             Associate                                                                               Reviewing emails and drafting documents for             Fees
2607429    6/6/2019 2670 Gervais, Michael                  15079 Bahnsen, Wendy, et al v. Boston Scientif     1.5    575      862.50 attorneys' fee application.
                                             Associate                                                                               Revising fee application and preparing supporting       Fees
2608244    6/2/2019 4142 Musico, Mark                      15079 Bahnsen, Wendy, et al v. Boston Scientif     0.8    575      460.00 declaration.
                                             Associate                                                                               Revising fee application and preparing supporting       Fees
                                                                                                                                     declaration. Conducting additional research re fee
2608260    6/5/2019 4142 Musico, Mark                      15079 Bahnsen, Wendy, et al v. Boston Scientif       2    575    1,150.00 application.
                                             Associate                                                                               Revising fee application and preparing supporting       Fees
                                                                                                                                     declaration. Conducting additional research re fee
2608267    6/6/2019 4142 Musico, Mark                      15079 Bahnsen, Wendy, et al v. Boston Scientif     1.5    575      862.50 application.
                                             Associate                                                                               Revising fee application and supporting declaration.    Fees
2608269    6/7/2019 4142 Musico, Mark                      15079 Bahnsen, Wendy, et al v. Boston Scientif     3.5    575    2,012.50
                                             Paralegal                                                                               Collecting and circulating various documents            Fees
                                                                                                                                     requested by M. Musico in support of fee application.
2608717   6/11/2019 5328 Polanco, Rodney                   15079 Bahnsen, Wendy, et al v. Boston Scientif     0.3     275      82.50
2608875    6/5/2019 3315 Subramanian, Arun   Partner       15079 Bahnsen, Wendy, et al v. Boston Scientif       1   1,050   1,050.00 Working on fees submission.                             Fees



                                                                                           Page 109 of 155
                                 Case 2:11-cv-01210-JMV-SCM Document 469-12 Filed 06/21/19 Page 111 of 111 PageID:
                                                                     20027


                                                        015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Fee Detail
ID        Date      Tkpr TKPR Name          Rank         Matter Matter Name                                 Hrs   Rate      Amt Narrative                                                Fees
                                            Paralegal                                                                           Collecting and circulating materials in support of fee   Fees
2609104    6/12/2019 5328 Polanco, Rodney                 15079 Bahnsen, Wendy, et al v. Boston Scientif    0.8   275    220.00 application per instructions from M. Musico.




                                                                                          Page 110 of 155
